          Supreme Judicial Court for the Commonwealth   Full Court: SJC-13663   Filed: 9/24/2024 1:16 PM
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                      COMMONWEALTH OF MASSACHUSETTS
                          SUPREME JUDICIAL COURT

Suffolk, ss.                                                                             No. SJC-13663


                                        COMMONWEALTH,
                                            Appellee

                                                        v.

                                           KAREN READ,
                                         Defendant-Appellant.


         On Appeal from Reservation and Report of G.L. c. 211, § 3 Petition



            RECORD APPENDIX OF APPELLANT KAREN READ


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                     COMMONWEALTH OF MASSACHUSETTS
                         SUPREME JUDICIAL COURT

Suffolk, ss.                                                      No. SJ-2024-


                                 KAREN READ,
                                   Petitioner

                                       v.

                     COMMONWEALTH OF MASSACHUSETTS,
                               Respondent.


                PETITION FOR RELIEF PURSUANT TO G.L. c. 211, § 3


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       Now comes the Defendant Karen Read, who was aggrieved by an August 23, 2024,

Memorandum of Decision and Order (“Order”) denying her motion to dismiss on Double

Jeopardy grounds in Commonwealth v. Karen Read, No. 22-00117 (Norfolk County Superior

Court, Hon. Beverly J. Cannone). The Order, as it currently stands, will result in Ms. Read being

retried on January 27, 2025, for the same two alleged crimes, including second-degree murder,

that a jury of her peers has already unanimously agreed the Commonwealth failed to prove

beyond a reasonable doubt following trial. Because the jury reached a final, unanimous decision

to acquit Ms. Read on those charges, and because there was no manifest necessity supporting the

declaration of a mistrial with respect to charges on which the jury unanimously agreed, retrial on

such counts would violate the Double Jeopardy protections of both the federal and state

constitutions and the common law decisions of this Court enforcing the protections of Double

Jeopardy.

       Ms. Read seeks relief from this Court through its discretionary superintendence powers

under G.L. c. 211, § 3. In support of this petition, the defense has submitted a Memorandum of

Law incorporated herein and has attached a record including the following documents:

       a. Full docket report (R. 1-44);

       b. Norfolk County Superior Court Indictment numbers 2282CR00117-001, 002, and 003
          (R. 45-50);

       c. Transcript of the charge to the jury, June 25, 2024 (R. 51-113);

       d. Transcript of jury trial, June 26, 2024 (R. 114-36);

       e. Defendant’s motion to amend the jury verdict slip associated with Count 2 and
          supporting affidavit, filed June 26, 2024 (R. 137-45);

       f. Transcript of jury trial, June 27, 2024 (R. 146-52);

       g. Transcript of jury trial, June 28, 2024 (R. 153-63);




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       h. Transcript of jury trial, July 1, 2024 (R. 164-77);

       i. Defendant’s motion to dismiss and supporting affidavits, filed July 8, 2024 (R. 178-
          94);

       j. Defendant’s supplemental memorandum in support of her motion to dismiss and
          supporting affidavit, filed July 10, 2024 (R. 195-200);

       k. Commonwealth’s opposition to defendant’s post-trial motion to dismiss, filed July 12,
          2024 (R. 201-15);

       l. Defendant’s reply to the Commonwealth’s opposition to her motion to dismiss, filed
          July 15, 2024 (R. 216-25);

       m. Defendant’s second supplemental memorandum in support of her motion to dismiss
          and supporting affidavit, filed July 18, 2024 (R. 226-30);

       n. Commonwealth’s post-trial notice of disclosure, filed August 1, 2024 (R. 231-32);

       o. Defendant’s third supplemental memorandum in support of her motion to dismiss and
          supporting affidavit, filed August 5, 2024 (R. 233-37);

       p. Transcript of non-evidentiary hearing on motion to dismiss, August 9, 2024 (R. 238-
          93); and

       q. Memorandum of decision and order on defendant’s motion to dismiss, issued August
          23, 2024 (R. 294-314).

       Under G.L. c. 211, § 3, the Supreme Judicial Court has

               general superintendence of all courts of inferior jurisdiction to
               correct and prevent errors and abuses therein if no other remedy is
               expressly provided; and it may issue all writs and processes to such
               courts . . . which may be necessary to the furtherance of justice and
               to the regular execution of the laws.

“[A] criminal defendant who raises a double jeopardy claim of substantial merit is entitled to

review of the claim before [s]he is retried,” and “G.L. c. 211, § 3, is the appropriate route for

obtaining that review.” Papp v. Commonwealth, 491 Mass. 1019, 1019 (2023) (citation

omitted). “[B]ecause the double jeopardy right is a right not to be tried,” this Court has “held

that appellate review of [the denial of a motion to dismiss on that basis] after trial and conviction




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would not provide adequate relief if the defendant were to prevail . . . .” Flood v.

Commonwealth, 465 Mass. 1015, 1016 (2013) (citation omitted); see also Abney v. United

States, 431 U.S. 651, 660-61 (1977) (“[T]he rights conferred on a criminal accused by the

Double Jeopardy Clause would be significantly undermined if appellate review of double

jeopardy claims were postponed until after conviction and sentence. . . . [T]his Court has long

recognized that the Double Jeopardy Clause protects an individual against more than being

subjected to double punishments. It is a guarantee against being twice put to trial for the same

offense.”).

                              REQUEST FOR ORAL ARGUMENT

        Ms. Read respectfully requests that the Court hold oral argument on this petition.

                                         INTRODUCTION

        The ancient right to a jury trial is no mere “procedural formalit[y] but [rather a]

fundamental reservation[] of power to the American people.” Erlinger v. United States, 144 S.

Ct. 1840, 1850 (2024) (citation omitted). “By requiring the Executive Branch to prove its

charges to a unanimous jury beyond a reasonable doubt, the Fifth and Sixth Amendments seek to

mitigate the risk of prosecutorial overreach and misconduct, including the pursuit of ‘pretended

offenses’ and ‘arbitrary convictions.’” Id. (quoting The Federalist No. 83, p. 499 (C. Rossiter ed.

1961)). “Prominent among the reasons colonists cited in the Declaration of Independence for

their break with Great Britain was the fact Parliament and the Crown had ‘depriv[ed] [them] in

many cases, of the benefits of Trial by Jury.’” Id. at 1848 (citation omitted). “After securing

their independence, the founding generation sought to ensure what happened before would not

happen again. As John Adams put it, the founders saw representative government and trial by

jury as ‘the heart and lungs’ of liberty.” Id. (citation omitted). It follows that a jury acquittal is




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entitled to the utmost respect in our criminal justice system. See Commonwealth v. Taylor, 486

Mass. 469, 481 (2020) (“Perhaps the most fundamental rule in the history of double jeopardy

jurisprudence has been that [a] verdict of acquittal . . . could not be reviewed, on error or

otherwise, without putting [a defendant] twice in jeopardy, and thereby violating the

Constitution.” (quoting United States v. Martin Linen Supply Co., 430 U.S. 564, 571 (1977)).

       “The Double Jeopardy Clause provides that no person shall ‘be subject for the same

offence to be twice put in jeopardy of life or limb.’” Blueford v. Arkansas, 566 U.S. 599, 605

(2012) (quoting U.S. Const., Amdt. 5). “The underlying idea, one that is deeply ingrained in at

least the Anglo-American system of jurisprudence, is that the State with all its resources and

power should not be allowed to make repeated attempts to convict an individual for an alleged

offense.” Green v. United States, 355 U.S. 185, 187 (1957). “Even if the first trial is not

completed, a second prosecution may be grossly unfair. It increases the financial and emotional

burden on the accused, prolongs the period in which [s]he is stigmatized by an unresolved

accusation of wrongdoing, and may even enhance the risk that an innocent defendant may be

convicted. . . . Consequently, as a general rule, the prosecutor is entitled to one, and only one,

opportunity to require an accused to stand trial.” Arizona v. Washington, 434 U.S. 497, 504-05

(1978) (internal footnotes omitted); see also Martin Linen, 430 U.S. at 569 (“At the heart of this

policy is the concern that permitting the sovereign freely to subject the citizen to a second trial

for the same offense would arm Government with a potent instrument of oppression.”); Blueford,

566 U.S. at 605 (“The Clause guarantees that the State shall not be permitted to make repeated

attempts to convict the accused, thereby subjecting h[er] to embarrassment, expense and ordeal

and compelling h[er] to live in a continuing state of anxiety and insecurity, as well as enhancing

the possibility that even though innocent [s]he may be found guilty.” (citation omitted)).




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       Here, the very day after the trial court declared a mistrial, counsel for Ms. Read began

receiving unsolicited communications from five of the twelve deliberating jurors (in four

instances, directly from the jurors themselves) indicating in no uncertain terms that the jury had a

firm and unwavering 12-0 agreement that Ms. Read is not guilty of two of the three charges

against her, including the charge of murder in the second degree. Crucially, neither the

Commonwealth, which frankly acknowledged receiving communications from one juror to the

same effect, nor the Superior Court judge, who expressly credited the veracity of juror statements

relayed in affidavits by counsel, disputed the factual basis for the defense motion in any

meaningful respect. Given the central importance that acquittals have held in our criminal

justice system for hundreds of years, the defense respectfully submits that the jury’s unanimous

agreement precludes re-prosecution of Ms. Read on Counts 1 and 3 and mandates dismissal of

those charges. This presents an issue of first impression for this Court, as does the defense’s

alternative contention that Ms. Read was entitled to a post-verdict inquiry to substantiate her

claim and that this Court’s precedents permitting such inquiry regarding claims of racial bias

should be extended to the present context.

       Independently, while a jury deadlock constitutes manifest necessity to support a mistrial,

there is no authority for the proposition that disagreement as to some counts constitutes manifest

necessity for the declaration of a mistrial with respect to all counts. Put another way, there was

no deadlock as to two of the counts on which the trial court declared a mistrial. The trial court’s

finding that Ms. Read’s counsel consented to the mistrial is contrary to both the factual record

and the clear binding caselaw placing the burden of establishing manifest necessity solely and

exclusively on the prosecution. The trial court also failed to address the two guiding principles

set forth by this Court in Taylor – that before a mistrial is declared “(1) counsel must [have been]




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given full opportunity to be heard and (2) the trial judge must [have given] careful consideration

to alternatives to a mistrial.” 486 Mass. at 484 (citation omitted). Thus, whether the jury

acquitted Ms. Read or, alternatively, was merely not deadlocked on the relevant counts, the

Constitution requires the same result: dismissal. The Commonwealth’s response on this issue,

arguing that inquiry regarding partial verdicts should be prohibited under case law involving

lesser included offenses within a single count (unlike the present case), raises an important issue

regarding the interaction between that lesser included offense case law and Mass. R. Crim. P.

27(b), which plainly permits, and in fact requires, the court, before declaring a mistrial, to inquire

of a jury whether there exist partial verdicts where multiple offenses are charged in separate

counts.

                                    PROCEDURAL HISTORY

          On June 9, 2022, Ms. Read was charged in three separate indictments with second-degree

murder in violation of G.L. c. 265, § 1 (Count 1); manslaughter while operating under the

influence of alcohol in violation of G.L. c. 265, § 13½ (Count 2); and leaving the scene of a

collision resulting in death in violation of G.L. c. 90, § 24(2)(a½)(2). (R. 45-50). A jury trial

began on April 16, 2024.

          On June 25, 2024, the jury began deliberations after receiving instructions from the trial

court. The court instructed the jurors, “You should continue deliberating until you have reached

a final verdict on each charge.” June 25, 2024 Tr. at 46 (R. 96). It also noted that Count 2

contained “lesser include[d] charge[s]” of involuntary manslaughter and motor vehicle homicide,

which the jury should consider “even if [the Commonwealth] fail[ed] to prove the greater charge

of manslaughter while operating a motor vehicle under the influence of liquor.” Id. at 35, 38 (R.

85, 88).




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       The following day, on June 26, 2024, outside the presence of the jury, counsel for Ms.

Read raised an issue regarding the verdict form. With respect to Count 2, the original verdict

slip provided only one option to find Ms. Read not guilty before going on to ask whether Ms.

Read was guilty of the offense charged, or guilty of one of the two lesser included offenses. See

Exhibit B to Affidavit in Support of Motion to Amend Jury Verdict Slip (R. 145). Counsel asked

that the form be amended to provide “not guilty options for the subordinate charges under Count

2.” June 26, 2024 Tr. at 5 (R. 118). The trial court initially indicated its disagreement with

counsel’s request. See id. at 8 (R. 121). However, after considering the matter further, the court

agreed to provide supplemental instructions and an amended verdict slip. See id. at 9-14 (R.

122-27). Later that day, the court provided the supplemental instructions, telling jurors that

“Count 2 encompasses three separate charges, the most serious of which is manslaughter while

operating a vehicle under the influence of liquor.” Id. at 16 (R. 129). The jury should first focus

on that “lead charge” and, “if the Commonwealth . . . failed to prove that crime beyond a

reasonable doubt, then . . . consider the remaining lesser included offenses in descending order.”

Id. (R. 129).

       On June 28, 2024, the jury sent the following note to the court: “I am writing to inform

you on behalf of the jury that despite our exhaustive review of the evidence and our diligent

consideration of all disputed evidence, we have been unable to reach a unanimous verdict.” June

28, 2024 Tr. at 4 (R. 156). The court asked counsel for their views “on whether there ha[d] been

due and thorough deliberations” sufficient to support the giving of a so-called Tuey-Rodriguez

charge. Id. at 5 (R. 157); see also G.L. c. 234A, § 68C (permitting charge “[i]f a jury, after due

and thorough deliberation, returns to court without having agreed on a verdict”). The

Commonwealth responded that the charge should not be given because there “simply ha[d]n’t




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been sufficient time yet.” June 28, 2024 Tr. at 5 (R. 157). Counsel for Ms. Read disagreed,

requesting that the court “read the Tuey-Rodriguez model instruction and go from there.” Id. at 6

(R. 158). The trial court sided with the Commonwealth ruling, “I am not prepared to find that

there have been due and thorough deliberations at this point. So I am going to send them back

out.” Id. at 7 (R. 159).

       On July 1, 2024, the jury presented another note, stating:

               despite our commitment to the duty entrusted to us, we find
               ourselves deeply divided by fundamental differences in our
               opinions and state of mind. The divergence in our views are not
               rooted in a lack of understanding or effort but deeply held
               convictions that each of us carry, ultimately leading to a point
               where consensus is unattainable. We recognize the weight of this
               admission and the implications it holds.

July 1, 2024 Tr. at 7 (R. 170). Upon being asked by the court, the parties reiterated their same

previously expressed views, with the Commonwealth taking the position that due and thorough

deliberations had not yet occurred and Ms. Read’s counsel arguing that the court should give a

Tuey-Rodriguez instruction. See id. at 4-6 (R. 167-69). This time, the trial court decided to give

the requested instruction.

       Later that day, the jury sent yet another note. Thereafter, without reading the note to

counsel, and without providing counsel with either an opportunity to be heard or an opportunity

to consult with their client about the implication of a potential mistrial on one or more charges,

the trial court simply stated, “The jury is at an impasse” and called in the jurors. Id. at 10 (R.

173). It then read the note on the record:

               despite our rigorous efforts, we continue to find ourselves at an
               impasse. Our perspectives on the evidence are starkly divided.
               Some members of the jury firmly believe that the evidence
               surpasses the burden of proof, establishing the elements of the
               charges beyond a reasonable doubt. Conversely, others find the
               evidence fails to meet this standard and does not sufficiently



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               establish the necessary elements of the charges. The deep division
               is not due to a lack of effort or diligence but, rather, a sincere
               adherence to our individual principles and moral convictions. To
               continue to deliberate would be futile and only serve to force us to
               compromise these deeply held beliefs.

Id. at 11 (R. 174).

        After reading the note, and without soliciting the views of counsel in any respect, the trial

court stated, “I am not going to do that to you, folks. Your service is complete. I am declaring a

mistrial in this case.” Id. (R. 174). The jury was then excused and ordered to leave the

courtroom. Counsel was not invited to speak during this entire interaction. See id. (R. 174).

        The following day, on July 2, 2024, unsolicited by any party, one of the jurors (“Juror

A”) contacted one of the attorneys for Ms. Read, Alan Jackson. Juror A stated that s/he

“wish[ed] to inform [Attorney Jackson] of the true results” of the jury’s deliberations. Affidavit

of Alan J. Jackson ¶ 4 (R. 192). According to Juror A, “the jury unanimously agreed that Karen

Read is NOT GUILTY of Count 1 (second degree murder). Juror A was emphatic that Count 1

(second degree murder) was ‘off the table,’ and that all 12 of the jurors were in agreement that

she was NOT GUILTY of such crime.” Id. ¶ 5 (R. 193). “[T]he jury also unanimously agreed

that Karen Read is NOT GUILTY of Count 3 (leaving the scene with injury/death).” Id. ¶ 6 (R.

193).

        One day later, on July 3, 2024, another attorney for Ms. Read, David Yannetti, was

contacted by “two different individuals (hereinafter, ‘Informant B’ and ‘Informant C’) who had

received information from two distinct jurors (hereinafter ‘Juror B’ and ‘Juror C’) both of whom

were part of the deliberating jury in this case.” Affidavit of David R. Yannetti ¶ 2 (R. 189).

        Informant B sent Attorney Yannetti “a screenshot he/she had received from someone

(hereinafter, ‘Intermediary B’) of text messages that Intermediary B had received from Juror B.




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In that screenshot, Juror B texted the following to Intermediary B: ‘It was not guilty on second

degree. And split in half for the second charge. . . . I thought the prosecution didn’t prove the

case. No one thought she hit him on purpose or even thought she hit him on purpose [sic].’” Id.

¶ 4 (R. 189). Juror B later placed an unsolicited phone call to Attorney Yannetti, confirming that

the information contained in the publicly filed Affidavit was accurate. See Supplemental

Affidavit of David R. Yannetti ¶ 4 (R. 236). “Juror B clarified, however, that he/she meant to

write, ‘No one thought she hit him on purpose or even knew that she had hit him.’” Id. (R. 236-

37). Juror B further told Attorney Yannetti s/he “believe[d] that every member of the jury, if

asked, w[ould] confirm that the jury reached Not-Guilty verdicts on indictments (1) and (3).” Id.

¶ 5 (R. 237).

       Informant C had been in contact with another individual (“Intermediary C”) who is a co-

worker and friend of Juror C and joined a Zoom meeting during which Juror C discussed the

trial. Informant C sent Attorney Yannetti the below screenshots of his/her text messages with

Intermediary C regarding what Juror C revealed in the Zoom meeting:


                Intermediary C:       “no consideration for murder 2. manslaughter
                                      started polling at 6/6 then ended deadlock @
                                      4no8yes.”

                ....

                Informant C:          “interesting. if it was no consideration for
                                      murder two, shouldn’t she have been acquitted
                                      on that count. and hung on the remaining
                                      chargers [sic] goes back to the jury verdict
                                      slip that was all confusing”

                Intermediary C:       “she should’ve been acquitted I agree. Yes, the
                                      remaining charges were what they were hung
                                      on. and that instruction paper was very
                                      confusing.”




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Affidavit of David R. Yannetti ¶ 10 (R. 190-91).

       Ms. Read moved to dismiss Counts 1 and 3 on Double Jeopardy grounds, contending (1)

that the jury reached a final, unanimous decision to acquit her on those charges; and (2) that there

was no manifest necessity supporting the mistrial given the evidence that the jury was not

deadlocked, but was instead in agreement, on those counts.

       In the ensuing days, after the filing of Ms. Read’s initial motion to dismiss, but before the

Superior Court hearing on that motion, Attorney Jackson was contacted by two other deliberating

jurors. The first, “Juror D,” stated “that the jury reached NOT GUILTY verdicts on Count 1 and

Count 3, and that the disagreement was solely as to Count 2 and its lesser offenses.”

Supplemental Affidavit of Alan J. Jackson ¶ 5 (R. 199). S/he recounted that, “after the jury was

excused and aboard the bus, many of the jurors appeared uncomfortable with how things ended,

wondering, Is anyone going to know that we acquitted [Karen Read] on Count 1 and 3?” Id. ¶ 8

(R. 199). Juror D unequivocally told counsel, “Every one of us will agree and acknowledge that

we found [Karen Read] NOT GUILTY of Counts 1 and 3. Because that’s what happened.” Id.

¶ 10 (R. 199). “Juror E” similarly stated “that the jury was ‘unanimous on 1 and 3’ that Karen

Read was NOT GUILTY of those charges.” Second Supplemental Affidavit of Alan J. Jackson

¶ 4 (R. 229).

         The Commonwealth filed a Post-Trial Notice of Disclosure informing the Court that,

“[o]n Sunday July 21, 2024, Assistant District Attorney Adam Lally received an unsolicited

voicemail on his office’s phoneline from an individual, who identified their self as a juror by full

name and seat number.” Commonwealth Notice at 1 (R. 231). The message stated, “it is true

what has come out recently about the jury being unanimous on charges 1 and 3.” Id. (R. 231).

ADA Lally received a subsequent message from the same individual stating he could “confirm




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unanimous on charges one and three, as not guilty and as of last vote 9-3 guilty on the

manslaughter charges . . . .” Id. (R. 231). The Commonwealth additionally “received emails

from three individuals who identified themselves as jurors” and “indicated they wished to speak

anonymously.” Id. (R. 231). The Commonwealth declined to substantively respond to the voice

messages or emails, instead claiming in responsive emails that it was ethically prohibited from

discussing such matters. See id. (R. 231).

       After hearing oral argument on August 9, 2024, on August 23, the trial court issued an

order denying Ms. Read’s motion to dismiss. The court “accept[ed],” “for the purposes of” the

motion to dismiss, that the juror statements quoted in the defense affidavits were “true and

accurate.” Order at 9 (R. 302) (emphasis added). It went on to hold, however, that “[b]ecause

there was no open and public verdict affirmed in open court rendered in this case, the defendant

was not acquitted of any of the charges.” Id. at 10 (R. 303). The court similarly rejected the

defense argument regarding lack of manifest necessity, finding that (a) Ms. Read’s counsel

consented to a mistrial via their failure to object; and (b) the jury notes reflecting an “impasse”

established the requisite manifest necessity. See id. at 15-16 (R. 308-09). The court did not

address the Taylor test for declaring a mistrial based on manifest necessity, nor did it address Ms.

Read’s contention that the burden of demonstrating manifest necessity is squarely on the

prosecutor. The court instead erroneously equated a request for a Tuey-Rodriguez instruction,

which is designed to encourage a verdict, with consent to a mistrial. Finally, the court rejected

the defense’s alternative request for a post-trial inquiry on these issues on the grounds that the

request implicated “the substance of the jury’s deliberations.” Id. at 20 (R. 313).

       Ms. Read’s retrial is currently scheduled to begin on January 27, 2025. (R. 8).




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                                  MEMORANDUM OF LAW

I.     The Jury’s Unanimous Conclusion Following Trial that Ms. Read Is Not Guilty on
       Counts 1 and 3 Constitutes an Acquittal and Precludes Re-Prosecution

       “[W]hat constitutes an ‘acquittal’ is not to be controlled by the form” of the action in

question. Taylor, 486 Mass. at 482 (quoting Martinez v. Illinois, 572 U.S. 833, 841-42 (2014)).

“Rather, [the Court] must determine whether” the action “actually represents a resolution, correct

or not, of some or all of the factual elements of the offense charged.” Commonwealth v. Babb,

389 Mass. 275, 281 (1983) (quoting Martin Linen, 430 U.S. at 571). The mere presence or

absence of “checkmarks on a form” is not dispositive. Taylor, 486 Mass. at 482 (citation

omitted).

       Here, the affidavits by Attorneys Jackson and Yannetti reflect statements by five

deliberating jurors that the jury had reached a final, unanimous conclusion that Ms. Read is not

guilty of Counts 1 and 3. There was nothing tentative about the jurors’ statements. To the

contrary, they were definitive in describing the result of the jury’s deliberations. See Affidavit of

Alan J. Jackson ¶ 5 (R. 193) (“Juror A was emphatic that Count 1 (second degree murder) was

‘off the table,’ and that all 12 of the jurors were in agreement that she was NOT GUILTY of

such crime.”); Affidavit of David R. Yannetti ¶ 4 (R. 189) (reflecting text message from Juror B,

“It was not guilty on second degree. . . . No one thought she hit him on purpose or even [knew

that she had hit him]”); Id. ¶ 10 (R. 190-91) (reflecting Juror C’s statement, relayed by

Intermediary C, that there was “no consideration for murder 2” and Ms. Read “should’ve been

acquitted” on that count); Supplemental Affidavit of Alan J. Jackson ¶ 10 (R. 199) (“Juror D,

without hesitation, said in substance, Every one of us will agree and acknowledge that we found

[Karen Read] NOT GUILTY of Counts 1 and 3. Because that’s what happened.”); Second

Supplemental Affidavit of Alan J. Jackson ¶ 4 (R. 229) (“Juror E explained that the jury was



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‘unanimous on 1 and 3’ that Karen Read was NOT GUILTY of those charges.”). As noted

above, the trial court accepted the foregoing averments as true facts. See Order at 9 (R. 302).1

       In rejecting Ms. Read’s claim of acquittal, the court relied solely upon the lack of an

“open and public verdict affirmed in open court.” Order at 10 (R. 303). This reasoning is rooted

in a formalism that has been consistently rejected by the United States Supreme Court and

Supreme Judicial Court in a string of precedents spanning more than one hundred years. See

supra page 13 (citing cases); Ball v. United States, 163 U.S. 662, 671 (1896) (“However it may

be in England, in this country a verdict of acquittal, although not followed by any judgment, is a

bar to a subsequent prosecution for the same offense.”); Hudson v. Louisiana, 450 U.S. 40, 41 &

n.1 (1981) (holding that judicial grant of new trial prohibited retrial on Double Jeopardy grounds,

notwithstanding that the state “Code of Criminal Procedure d[id] not authorize trial judges to

enter judgments of acquittal in jury trials”).

       Indeed, under the trial court’s reasoning, affidavits executed by all 12 jurors attesting to a

final, unanimous decision to acquit would not be sufficient to mount a successful Double

Jeopardy challenge. Surely, that cannot be the law. Indeed, it must not be the law. And, in the

context of this highly publicized case, it strains credulity to suggest that, if the unequivocal

statements of five jurors quoted above did not, in fact, represent the unanimous view of all 12,

the remaining jurors would allow the inaccuracy to go uncorrected. Instead, they would




1
 Just days ago, an article was published online reflecting an interview with an anonymous juror
quoted as saying, “It was very clear on charge 1 and 3. Murder was decided on day one. She did
not have an intent to murder.” Aidan Kearney, Canton Coverup Part 397: Karen Read Juror
Says They Switched on Manslaughter Verdict, Confirms Murder Acquittal, Says Jurors Couldn’t
Ask Judge Cannone Questions About 2 Verdicts (Sept. 6, 2024), available at
https://tbdailynews.com/canton-coverup-part-397-karen-read-juror-says-they-switched-on-
manslaughter-verdict-confirms-murder-acquittal-says-jurors-couldnt-ask-judge-cannone-
question-about-2-verdicts/.


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predictably have notified the Commonwealth or the court of their own recollection. Here, to the

contrary, the Commonwealth has received the exact same information as the defense regarding

the jury’s unanimous agreement to acquit Ms. Read on Counts 1 and 3.

        The United States Supreme Court’s decision in Blueford is not to the contrary, as it is

factually distinguishable from the instant case. There, the foreperson had reported during

deliberations that the jury “was unanimous against” the charges of capital murder and first-

degree murder but split on manslaughter. 566 U.S. at 603-04. The court sent the jury back to

continue deliberations and, when the jury remained unable to reach a verdict, declared a mistrial.

See id. at 604. The Supreme Court rejected the defendant’s argument that the Double Jeopardy

Clause prohibited re-prosecution for capital and first-degree murder. In doing so, the Court

relied heavily upon the lack of finality of the juror’s report. “[T]he jury’s deliberations had not

yet concluded,” and it “went back to the jury room to deliberate further.” Id. at 606. “The

foreperson’s report was not a final resolution of anything,” and there was no indication at the

conclusion of deliberations that “it was still the case that all 12 jurors believed [the defendant]

was not guilty of capital or first-degree murder.” Id. Here, by contrast, the jurors’ statements

reflect a final and indelible determination that persisted through the end of deliberations and

following.

        The contrast with A Juvenile v. Commonwealth, 392 Mass. 52 (1984), is even clearer. In

that case, after the conclusion of trial, a court officer found four verdict slips in the deliberation

room, two of which reflected entries of “not guilty.” There was no indication as to when the

entries were made or in what circumstances, much less that they reflected a final, unanimous

conclusion of all jurors.




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       Neither the Commonwealth nor the trial court has cited any case in which a defendant

was forced to stand trial a second time for an offense a previous jury had found her not guilty of

simply because such final, unanimous agreement was not announced in open court. See Aug. 9,

2024 Tr. at 18 (R. 255) (counsel arguing that Commonwealth had not cited “a single case with

facts like this [that] have been ignored. Not a single precedent have they raised, nationwide,

State Courts, murder cases, 50 States, [f]ederal, where there’s been this kind of demonstration

that we were silent when we shouldn’t be, but she was acquitted”).2 The instant case squarely

presents that issue, and the defense respectfully submits that this Court should hold that any lack

of formality does not supersede the defendant’s fundamental constitutional protections. This

issue is one of existential importance—not merely to Ms. Read, but to the very foundation of the

constitutional safeguards that protect her.

II.    Alternatively, the Defense Is at Least Entitled to Conduct Post-Verdict Inquiry

       The law is clear that, at least in the context of “juror bias,” an affidavit by counsel is

sufficient to entitle the defendant to a “post-verdict inquiry” on the issue. Commonwealth v.

McCalop, 485 Mass. 790, 798 (2020) (citation omitted). No less than the right to an unbiased

jury, it is “a fundamental tenet of our system of justice” that a defendant may not be retried for a

crime of which she was previously acquitted by a jury, and the defense submits that post-verdict




2
  Other cases cited by the trial court on this issue did not involve Double Jeopardy challenges at
all. See Commonwealth v. Zekirias, 443 Mass. 27, 31-34 (2004); Commonwealth v. Floyd P.,
415 Mass. 826, 830-32 (1993). Instead, these cases both vacated convictions where courts
responded to ambiguous communications by jurors in such a way as to improperly influence the
return of guilty verdicts. Given the gravity of criminal conviction, it makes sense to insist on
observance of procedural formalities before taking away a defendant’s liberty. However, in light
of the fundamental constitutional prohibition on Double Jeopardy, refusing to give effect to a
verdict of acquittal due to lack of formality is another matter altogether for which neither the
Commonwealth nor the trial court has cited any precedent. Additionally, unlike in Zekirias and
Floyd P., there is nothing ambiguous or tentative about the post-trial evidence of verdicts here.


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inquiry is equally warranted in the present context. Id. Other than generally noting that this case

does not involve an allegation of juror bias, the trial court did nothing to distinguish McCalop.

       But there is no apparent reason to limit a defendant’s entitlement to a post-trial inquiry to

the issue of racial bias alone. Recently, in United States v. Tsarnaev, 96 F.4th 441, 449 (1st Cir.

2024), the First Circuit Court of Appeals remanded the matter for further proceedings in the

Boston Marathon bombing case due to two jurors’ postings on social media “regarding the

bombings and the district court proceedings,” which came to light after the jurors had been

provisionally selected to serve. Id. at 449. The comments did not reflect racial bias in any way,

but rather possible bias specific to the defendant. See id. at 454, 461. The comments were also

inconsistent with the jurors’ assurances that they had not discussed the case online. See id. at

455, 461. The First Circuit held that the district court erred by failing to inquire about these

issues with the jurors. See id. at 458, 462. Given that “[t]he right to an impartial jury is a

constitutional bedrock[,] . . . when there is a plausible claim that a prospective juror lied in a

manner that may reveal bias, a court need conduct some inquiry reasonably calculated to

determine whether the prospective juror did lie and, if so, why.” Id. at 458 (citation omitted).

       Crucially for present purposes, the First Circuit ordered the district court to voir dire the

jurors. In doing so, the court acknowledged, “[n]o doubt any juror would have strong incentives

to avoid admitting having committed perjury during voir dire. We also expect that most jurors,

having taken time out of their daily lives to receive evidence at trial, deliberate with other jurors,

and reach a verdict that they believe is just, would prefer not to have that verdict disturbed –

especially as a result of their own actions. . . . . [W]e have no doubt that the able district court

judge can do what judges regularly do – form a considered opinion about the sufficiency of the

jurors’ explanations once those explanations are given and explored.” Id. at 464.




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       In another high-profile case, the South Carolina Supreme Court recently agreed to hear

claims by Alex Murdaugh that, during his murder trial, the clerk of court improperly influenced

deliberating jurors. See State v. Murdaugh, No. 2023-000392 (Aug. 13, 2024), Order attached

hereto as Exhibit A. Jurors came forward after the clerk published a book about the trial

describing her “efforts to obtain” a “guilty verdict through improper jury tampering.” Brief of

Appellant (attached hereto as Exhibit B) at 2. The clerk allegedly told jurors after the defense

began its case “not to let the defense ‘throw you all off,’ or ‘distract you or mislead you,’” and

warned them “‘not to be fooled’ by Mr. Murdaugh’s testimony in his own defense.” Id. The

trial court held an evidentiary hearing on the motion for new trial, including testimony by jurors.

See id. at 4-8. As in Tsarnaev, the issue was not racial bias, but nonetheless implicated

fundamental constitutional rights like Ms. Read’s right not to be retried for offenses of which she

has already been acquitted.

       The trial judge dismissed Ms. Read’s reliance upon Tsarnaev and Murdaugh in a brief

footnote, simply stating that the circumstances “are readily distinguishable” from those at issue

here. Order at 21 (R. 314). But this misses the forest for the trees. While it is certainly true that

all three cases raise different issues, the fundamental point remains the same: a defendant who

comes forward with credible evidence of a serious constitutional violation post-trial is entitled to

an opportunity to prove those claims. There is no apparent reason to artificially limit the

availability of such constitutional inquiry to the singular context of racial bias.

       The defense request does not, in any manner, infringe upon “the substance of the jury’s

deliberations.” Order at 20 (R. 313). To the contrary, the motion to dismiss was predicated

solely upon the result of such deliberations, namely a unanimous decision that Ms. Read is not

guilty of murder in the second degree. The relevant inquiry could be accomplished by a single




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“yes” or “no” question posed to jurors: did you unanimously acquit Karen Read of the charges in

Counts 1 and 3? Of course, the results of a jury’s deliberations are not secret. They are, in fact,

routinely announced in open court. Here, the defense has learned post-trial that the jury reached

a verdict that was not so announced. It was at least entitled to the opportunity to substantiate that

fact in order to ensure Ms. Read is not unconstitutionally forced to stand trial for criminal

offenses of which she has already been acquitted. Such inquiry in no way intrudes on the

deliberative process of the jury.

       Indeed, it was the trial court, not the defense, that injected issues regarding jury

deliberations into the inquiry. It is simply not true that, “given the content of the jury’s final note

to the Court, . . . [a]ny inquiry would necessarily require the Court to understand why the jury’s

final note communicated a deadlock on charges when post-trial, certain deliberating jurors are

purportedly stating that the jury was, in fact, unanimous on most of the charges.” Order at 20 (R.

313). As explained infra pages 28-29, in light of the trial court’s instructions repeatedly

characterizing the lesser included offenses within Count 2 as discrete “charges,” the jury’s note

is readily susceptible to interpretation consistent with the post-trial evidence supporting the

defense motion.3 In any event, if the jurors state that they acquitted Ms. Read, no further inquiry




3
  This distinguishes the case from A Juvenile, where the jury foreman had expressly indicated
“that the jurors were deadlocked on the complaint which charged murder,” and the jurors
subsequently reaffirmed that fact in open court. 392 Mass. at 53. In these circumstances, a post-
trial subpoena to the foreman regarding verdict slips recovered from the deliberation room after
trial regarding that very count “could only be aimed” at impermissible “impeachment, months
after the fact, of the jury’s report to the judge in open court.” Id. at 57. Here, by contrast, no
statement or inquiry was made regarding whether the impasse related to any specific count. Cf.
also Fuentes v. Commonwealth, 448 Mass. 1017, 1018 (2007) (jury note expressly “stated that
the jury could not reach a unanimous verdict as to either” of the two indictments).


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regarding the contents of the jury note could possibly remove the clear constitutional

implications of such acquittal.4

III.    Re-Prosecution Is Independently Barred Because There Was No Manifest Necessity
        to Declare a Mistrial on Counts on which the Jury Was Not Deadlocked

        Absent the defendant’s consent, “State and Federal double jeopardy protections bar, ‘as a

general rule,’ retrial of a defendant whose initial trial ends . . . without a conviction.” Ray v.

Commonwealth, 463 Mass. 1, 3 (2012) (quoting Washington, 434 U.S. at 505). This rule is

rooted in “the importance to the defendant of being able, once and for all, to conclude h[er]

confrontation with society through the verdict of a tribunal [s]he might believe to be favorably

disposed to h[er] fate.” Cruz v. Commonwealth, 461 Mass. 664, 670 n.9 (2012) (quoting United

States v. Jorn, 400 U.S. 470, 486 (1971) (plurality opinion)); see also Taylor, 486 Mass. at 483

(“[T]he [d]ouble [j]eopardy [c]lause affords a criminal defendant a ‘valued right to have h[er]

trial completed by a particular tribunal.’” (quoting Oregon v. Kennedy, 456 U.S. 667, 671-72

(1982)). “Thus, where a mistrial is entered ‘without the defendant’s request or consent,’ retrial is

impermissible unless there was a manifest necessity for the mistrial.” Id. (quoting United States

v. Dinitz, 424 U.S. 600, 606-07 (1976)).

        Importantly, the “heavy” burden of establishing “manifest necessity” to justify a mistrial

is exclusively on the Commonwealth. Commonwealth v. Nicoll, 452 Mass. 816, 818 (2008)

(quoting Washington, 434 U.S. at 505); see also Commonwealth v. Steward, 396 Mass. 76, 79

(1985). And this burden remains solely upon the Commonwealth regardless of whether or not a



4
  In Commonwealth v. DiBenedetto, 94 Mass. App. Ct. 682, 688 (2019), the defense argument
that the jury’s verdict (which had just been announced in open court) was not, in fact, unanimous
depended upon “juror testimony concerning internal deliberations,” namely “that they
misunderstood the unanimity instruction.” DiBenedetto also preceded this Court’s opinion in
McCalop, and therefore must be disregarded to the extent the Court perceives an inconsistency
between the two.


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defendant objects to the declaration of a mistrial. See Nicoll, 452 Mass. at 818; Commonwealth

v. Horrigan, 41 Mass. App. Ct. 337, 340 (1996). Before a court declares a mistrial for manifest

necessity, “(1) counsel must [have been] given full opportunity to be heard and (2) the trial judge

must [have given] careful consideration to alternatives to a mistrial.” Taylor, 486 Mass. at 484

(citation omitted).

        Here, the defense respectfully submits that the lack of opportunity to be heard, alone, is

dispositive. Upon receiving the final jury note, the court declared a mistrial and excused the jury

without consulting counsel. This action “was sudden, brief, and unexpected, neither preceded

nor accompanied by discussion with counsel.” Horrigan, 41 Mass. App. Ct. at 341; see also

Picard v. Commonwealth, 400 Mass. 115, 118-19 (1987) (finding no manifest necessity where

“[n]o opportunity was given counsel to argue the propriety of the question or of the necessity of

a mistrial”); Steward, 396 Mass. at 79 (finding no manifest necessity where “the trial judge . . .

first ruled that he was going to declare a mistrial and then, almost as an afterthought,

unenthusiastically asked whether counsel objected”). The defense was provided no opportunity

to object to the declaration of a mistrial, or to advise the court of the imperatives of Mass. R.

Crim. P. 27(b), request that the jury be polled, or discuss the issue with Ms. Read.

        The defense respectfully submits that, given the importance of Double Jeopardy

protections and the profound implications of a retrial for a criminal defendant, an opportunity to

be heard must, in order to be meaningful, occur after a reasonable opportunity for counsel to

consult with their client. Cf. Gonzalez v. United States, 553 U.S. 242, 250-51 (2008) (observing

that “some basic trial choices,” including the choices “to plead guilty, waive a jury, testify in . . .

her own behalf, or take an appeal,” “are so important that an attorney must seek the client’s

consent in order to waive the right.” (citation omitted)); see also Aug. 9, 2024 Tr. at 24 (R. 261)




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(arguing that counsel had “no opportunity . . . to speak to Ms. Read, after all, it’s her rights, not

theirs”). Counsel for Ms. Read clearly had no such opportunity here.5 Whether or not the trial

court was obligated to obtain Ms. Read’s personal consent,6 its failure to at least ensure that

counsel had an opportunity to consult with Ms. Read on the issue undermines the existence of

manifest necessity.

         The record is independently lacking on the second prong, as it reflects no “careful

consideration” of “alternatives to a mistrial.” Taylor, 486 Mass. at 484 (citation omitted). Here,

there was one obvious alternative: to simply ask the jury to specify the charge(s) on which it was

deadlocked. This option is apparent from the face of Mass. R. Crim. P. 27(b) which states that

“[t]he judge may declare a mistrial as to any charges upon which the jury cannot agree upon a

verdict; provided, however, that the judge may first require the jury to return verdicts on those

charges upon which the jury can agree and direct that such verdicts be received and recorded.”

(Emphasis added). In fact, the reporter’s notes expressly indicate that such reception of partial

verdicts is required before a mistrial may be declared for manifest necessity. See Mass. R. Crim.

P. 27, reporter’s notes (“This rule also provides that the court may declare a mistrial in cases

where the jury is unable to reach a verdict. However, it must first receive and record the verdicts

which the jury can agree upon.” (Emphasis added)). Had the court inquired as to the existence of

any partial verdicts, and the jury articulated its verdict consistent with the statements of Juror A,

Juror B, Juror C, Juror D, and Juror E, the Double Jeopardy implications would have been clear



5
 Notably, the trial judge did ensure that Ms. Read was personally consulted regarding less
weighty matters. For example, on May 24, 2024, the court called Ms. Read to sidebar and
personally asked her to verbally consent to Attorney Jackson’s absence on the Tuesday following
Memorial Day, and that co-counsel, Attorney Yannetti, could represent her on that day. See May
24, 2024 Tr. at 3-5.
6
    But see Daniels v. Commonwealth, 441 Mass. 1017, 1018 & n.2 (2004).


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and decisive. “[I]ndeed, with virtual unanimity, the cases have applied collateral estoppel to bar

the Government from relitigating a question of fact that was determined in defendant’s favor by

a partial verdict.” United States v. Mespoulede, 597 F.2d 329, 336 (2d Cir. 1979); see also

Wallace v. Havener, 552 F.2d 721, 724 (6th Cir. 1977) (“When the jury hands down a partial

verdict, a final judgment is rendered on the counts upon which the jury has reached agreement.”).

       In denying the motion to dismiss, the trial court erred by relying primarily upon the lack

of objection by defense counsel. In doing so, it utterly neglected to acknowledge the clear and

longstanding caselaw placing the burden of establishing manifest necessity squarely on the

prosecution. Nicoll provides a helpful analogue.

       The defendant in Nicoll was charged with operating a vehicle under the influence of

alcohol. Only six jurors were empaneled and, after trial began, one juror recognized a witness

“and informed the trial judge that he might not be able to be impartial.” 452 Mass. at 817. The

judge excused the juror. “Left with five jurors, the judge and attorneys briefly discussed how to

proceed. Defense counsel expressed his frustration over the empanelment of only six jurors and

then stated, ‘I don’t think we can go forward with five jurors, can we?’ The judge responded,

‘Not in a criminal case. . . . Okay, I’m going to declare a mistrial.’” Id. After a retrial was

scheduled, the defendant moved to dismiss on Double Jeopardy grounds. The trial judge allowed

the motion finding “that contrary to his initial understanding, Massachusetts procedural rules

would have allowed the trial to continue with five jurors (albeit with [defendant’s] consent).” Id.

The judge therefore found that he “had failed to give careful consideration to the alternative of

proceeding with the trial before less than a full jury,” and, accordingly, “there had been no

‘manifest necessity’ for the mistrial.” Id. (internal quotation marks omitted).




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       On appeal, this Court began from the premise that, “[d]ue to the importance of the double

jeopardy protection, the Commonwealth bears the ‘heavy’ burden of proving that a mistrial

rested on manifest necessity.” Id. at 818 (quoting Washington, 434 U.S. at 505). The Court then

agreed with the trial judge that the defendant could waive his right to a trial by a jury of at least

six. See id. at 821. It rejected the Commonwealth’s argument that the defendant in the case at

hand had not provided such a waiver observing, “the question is not whether [defendant]

executed a valid waiver, but whether there was a ‘manifest necessity’ for declaring a mistrial.

Such necessity would have presented itself if [defendant] had declined to execute a waiver, but

the record is clear that neither the judge nor counsel was aware of or even considered the

option.” Id. at 821-22. “In these circumstances, the Commonwealth [wa]s unable to satisfy its

heavy burden of proving that there was a ‘manifest necessity’ for declaring a mistrial.” Id. at

822 (emphasis added).

       The defense respectfully submits that the same result is required here. It is the

prosecution’s burden alone to ensure that the declaration of a mistrial is supported by manifest

necessity. Even where, unlike in the present case, defense counsel was expressly offered the

opportunity to be heard on how to proceed, and explicitly shared the judge’s mistaken view that

the trial could not continue with fewer than six jurors, this Court held that the alternative to

declaring a mistrial was not adequately considered. Here, there is no doubt that the Court was

permitted to accept a partial verdict. See, e.g., Mass. R. Crim. P. 27(b). But the record simply

reflects no consideration of that option. Accordingly, as in Nicoll, the charges in this matter

must be dismissed.

       Neither Ms. Read nor her counsel consented to the declaration of a mistrial. Consent

may be implied “where a defendant had the opportunity to object but failed to do so.” Pellegrine




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v. Commonwealth, 446 Mass. 1004, 1005 (2006) (citation omitted). But the law is clear that

such consent may not be inferred from counsel’s silence alone. See Commonwealth v. Edwards,

491 Mass. 1, 13 (2022) (rejecting argument “that the defendant consented to the declaration of a

mistrial because he did not object when the judge ordered the case dismissed”); Commonwealth

v. Phetsaya, 40 Mass. App. Ct. 293, 297-98 (1996) (holding that, where “the trial judge did not

ask defense counsel to comment on the possible declaration of a mistrial,” “the lack of an

objection from defense counsel cannot be construed as consent” to such action). Here, no such

consent was sought, nor was it given.

       The trial court’s ruling that Ms. Read’s counsel impliedly consented to the mistrial was

based primarily upon counsel’s requests for a Tuey-Rodriguez instruction. Of course, whether

the jury has engaged in “due and thorough deliberation” to support a Tuey-Rodriguez instruction

and whether there is manifest necessity to declare a mistrial are distinct legal questions. In fact,

the Tuey-Rodriguez charge is “designed to urge the jury to reach a verdict,” not to avoid one.

Commonwealth v. Semedo, 456 Mass. 1, 20 (2010). Unsurprisingly, neither the Commonwealth

nor the trial court cited any case finding a defendant’s consent to a mistrial can be based on a

prior request for a Tuey-Rodriguez charge.7 Here, defense counsel’s requests did not reflect any

implicit concession that the jury was deadlocked on all counts, nor did they commit the defense

to any position regarding whether the court should sua sponte declare a mistrial. It is true that, if



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  In Ray, 463 Mass. at 2-3, after the jury reported a deadlock, “the judge indicated that he was
inclined to declare a mistrial.” The parties responded by “request[ing] that the court give the
jury a Tuey-Rodriguez instruction” as an alternative. Id. at 3. The judge “declined to give this
instruction and declared a mistrial over the defendant’s objection.” Id. In these circumstances,
where the request for a Tuey-Rodriguez charge came in response to a judge’s statement of intent
to declare a mistrial, it was a fair “inference that both parties were provided an opportunity to be
heard on possible alternatives to a mistrial.” Id. at 4. In the present case, by contrast, the Tuey-
Rodriguez instruction was requested before any suggestion of a mistrial, not as a possible
alternative thereto.


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the jury reports an impasse after a Tuey-Rodriguez instruction, they “shall not be sent out again

without their own consent.” G.L. c. 234A, § 68C. That fact, however, does nothing to

undermine the alternative of simply inquiring, pursuant to Mass. R. Crim. P. 27(b), whether the

jury had reached any partial verdict. Doing so would not require the jury to be “sent out again.”

The trial court was in error in equating a request for a Tuey-Rodriguez charge with any

acceptance of or acquiescence to a mistrial.

       Moreover, the trial court’s characterization of the jury’s final note as “making it clear that

[the jurors] would not consent to continuing their deliberations,” is belied by case law cited in

the court’s Order. Order at 13 (R. 306). In Commonwealth v. Jenkins, 416 Mass. 736, 739

(1994), the jury similarly reported, after a Tuey charge, “that they felt strongly that there was no

hope of progress and requested further instructions.” The court responded by telling the jury, “I

cannot force you to continue deliberations unless you agree to continue deliberations,” but then

asking them “to retire and decide whether further deliberations on the next day would be

fruitful.” Id. The jury “promptly reached a verdict.” Id. at 740. This Court held that “[t]he

object of” the statutory prohibition on sending the jury back out without consent “was fulfilled

because the jury consented to continue their work. . . . [T]he jury’s return of a verdict after

sending their last note implicitly satisfied the statutory requirement of jury consent.” Id. Thus,

another alternative to a mistrial (which the trial court did not consider) in this case would have

been to (a) inform the jury that it could not be required to continue deliberations without its

consent and (b) ask it to retire to consider whether it was prepared to return any partial verdict.

       Here, neither Ms. Read nor her counsel were provided an opportunity to object to the

declaration of a mistrial (as opposed to the appropriateness of a Tuey-Rodriguez instruction). All

of the cases cited by the trial court on this issue are readily distinguishable on that basis. For




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example, in Pellegrine, a witness testified at trial to incriminating evidence that had not been

disclosed to the defense. This Court held that the defense had an opportunity to object given that

“[t]he mistrial was declared after a voir dire [of the witness] and colloquy after the jury were

cleared from the court room.” 446 Mass. at 1005. Here, by contrast, the defense did not learn of

the contents of the jury note, or the court’s intention to declare a mistrial, until the judge called

the jury in and stated the declaration of mistrial on the record. Counsel was never shown the

note from the jury. The judge indisputably never informed counsel of its intent to declare a

mistrial, much less solicited counsel’s views on the matter. Compare United States v. McIntosh,

380 F.3d 548, 555 (1st Cir. 2004) (ruling, in case where “defense counsel at one point implored

the district court to declare a mistrial because the jury was deadlocked,” “[i]t would be

Kafkaesque–and wrong– . . . to allow parties freely to advocate on appeal positions diametrically

opposite to the positions taken by those parties in the trial court”); United States v. You, 382 F.3d

958, 962 (9th Cir. 2004) (after co-defendant moved for mistrial, the “court subsequently stated

that it was going to declare [one]” and “asked the attorneys if either wished ‘to make any

record?’”); United States v. Goldstein, 479 F.2d 1061, 1067 (2d Cir. 1973) (“Defendants had

moved for a mistrial a scant two hours before one was declared, at the first suggestion of jury

deadlock . . . .”).

        As the Appeals Court has explained in an analogous factual context, the suggestion that

counsel could or should have immediately objected to the sua sponte declaration of a mistrial

“underestimates or ignores the difficulty of reaching a decision (in which the defendant has an

evident personal stake) whether the defense would be advantaged or the opposite by a second

trial: the possibilities ahead (such as the appearance of a new prosecution witness) cannot be

instantly calculated. Therefore, to equate silence with ‘consent’ when the occasion comes




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abruptly and unexpectedly seems quite unwise.” Horrigan, 41 Mass. App. Ct. at 342 (emphasis

added).

          The trial court’s suggestion that defense counsel had an opportunity to object to the

declaration of a mistrial after it had occurred and the jury had been discharged is mistaken. The

judge expressly told jurors, “Your service is complete. I am declaring a mistrial in this case.”

July 1, 2024 Tr. at 11 (R. 174).

          Given counsel’s lack of an opportunity to be heard and the court’s lack of consideration

of alternatives, the defense respectfully submits that the prosecution has not satisfied its high

burden of establishing manifest necessity for the mistrial. While the trial court correctly

observed that jury deadlock may be grounds for a mistrial, see, e.g., Ray, 463 Mass. at 3, it cited

no precedent for the counter-intuitive proposition that a deadlock with respect to some but not all

counts constitutes manifest necessity for the declaration of a mistrial as to all. Compare Fuentes

v. Commonwealth, 448 Mass. 1017, 1018 (2007) (affirming declaration of mistrial where note

expressly “stated that the jury could not reach a unanimous verdict as to either” of the two

indictments). This lack of precedential support is no accident: such a rule would run counter to

the important interests underlying the constitutional safeguards against Double Jeopardy.

          Contrary to the trial court’s suggestion, there was nothing in the jury’s notes that

“directly contradict[ed]” the post-trial affidavits by counsel. Order at 9 n.4 (R. 302). As an

initial matter, there is a facial tension between this observation by the court and its stated

acceptance of the affidavits as true for purposes of the motion to dismiss. And the jury’s

reference to “charges” is easily reconciled with the post-trial affidavits affirming that the only

deadlock related to the lesser included offenses of Count 2. Indeed, the court repeatedly referred

to those lesser included offenses as distinct “charge[s],” both in its initial and supplemental




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instructions to the jury. See June 25, 2024 Tr. at 35, 38 (R. 85, 88); June 26, 2024 Tr. at 16 (R.

129). In this context, the jury’s note was facially susceptible to two alternative interpretations:

(1) that the jury had reached an impasse as to all charges, or (2) that the deadlock applied to only

some of those charges (e.g., on multiple lesser included allegations within a single count such as

Count 2). The information received from jurors post-trial proves the latter interpretation was

correct. The jury’s failure to expressly mention its agreement on Counts 1 and 3 is

understandable in light of the court’s instruction that it “should continue deliberating until” it had

“reached a final verdict on each charge.” June 25, 2024 Tr. 46 (R. 96).

       This Court’s holding, in Commonwealth v. Roth, 437 Mass. 777 (2002), that courts

should not request partial verdicts on lesser included offenses charged in a single count does not

pertain here. Roth was rooted in the belief that “[i]nquiry concerning partial verdicts on lesser

included offenses” that have not been separately charged “carries a significant potential for

coercion.” Id. at 791; see also Blueford, 566 U.S. at 609-10 (declining to require court “to

consider giving the jury new options for a verdict” in the form of partial verdicts on lesser

included offenses where, “under Arkansas law, the jury’s options . . . were limited to two: either

convict on one of the offenses, or acquit on all”). Such inquiry, in effect, implies that the jury

should consider conviction on the lesser count. No similar danger is present where, as here, the

jury was asked to return three separate verdicts on three separate counts. See Roth, 437 Mass. at

793 n.13 (distinguishing situation “where a defendant has been charged in separate indictments

or complaints, each with a separate verdict slip”); A Juvenile, 392 Mass. at 55 n.1 (“Where a

complaint or indictment, in multiple counts, charges multiple crimes . . . a general verdict could

be returned as to one of the counts, despite deadlock on the other counts.”). In this circumstance,

where the jury reports a deadlock without specifying the count(s) on which it has reached an




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impasse, it is a straightforward (and, the defense contends, constitutionally required) follow-up

to ask whether the deadlock relates to some as opposed to all counts. Contrary to the trial court’s

suggestion, an inquiry regarding whether the jury had reached a partial verdict on any of the

three separately charged counts would not necessitate any forbidden inquiry on the lesser

included offenses contained within Count 2. See Order at 18 (R. 311). There is simply nothing

coercive about asking a jury reporting a deadlock that fails to specify which counts the deadlock

relates to the single question of whether its deadlock is on certain but not all counts and if it has

reached a unanimous verdict on any counts. See Commonwealth v. Foster, 411 Mass. 762, 766

(1992) (affirming trial judge’s taking of partial verdicts on two of four separate indictments and

observing, “[t]o conclude that the jury could have felt pressure to convert provisional verdicts

against the defendant into final ones and to abandon all doubts that they may have privately

entertained runs counter to the clear instructions of the judge and amounts to mere speculation

without any support in the record”); Roth, 437 Mass. at 788 (noting, in the context of deadlocked

jury, that “rule 27(b) permits taking verdicts on less than all of the charges set forth in . . .

separate indictments”); Commonwealth v. LaFontaine, 32 Mass. App. Ct. 529, 534-35 (1992)

(affirming partial verdicts taken after judge asked jury whether it had “reached a verdict on any

of the indictments”); Commonwealth v. Garteh, 98 Mass. App. Ct. 1103, at *3 (2020)

(unpublished) (holding that “the judge’s decision to take a partial verdict and encourage the jury

to agree on the remaining charges was sound where the jury indicated they were able to reach a

consensus on some charges but not others”).

        The inflexible prohibition on judicial inquiry regarding partial verdicts advocated by the

Commonwealth would inevitably undermine defendants’ important, and constitutionally

protected, interest in “being able, once and for all, to conclude [their] confrontation[s] with




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society through the verdict of a tribunal [they] might believe to be favorably disposed to [their]

fate.” Cruz, 461 Mass. at 670 n.9 (quoting Jorn, 400 U.S. at 486 (plurality opinion)). And “[t]he

danger of . . . unfairness to the defendant” from multiple prosecutions “exists when[] a trial is

aborted before it is completed,” as well as when the defendant is actually acquitted. Washington,

434 U.S. at 504. The Commonwealth’s proposed rule would also undoubtedly hinder law

enforcement interests by precluding courts from asking whether a jury may have reached a guilty

verdict on some but not all stand alone counts.

          It is uncontroverted that, according to the jury of her peers, following trial Ms. Read was

unanimously found not guilty of Counts 1 and 3. That undisputed fact must not be lost in this

analysis. It bears repeating that “[a]t the heart of this policy [against Double Jeopardy] is the

concern that permitting the sovereign freely to subject the citizen to a second trial for the same

offense would arm Government with a potent instrument of oppression.” Martin Linen, 430 U.S.

at 569.

                                           CONCLUSION

          For the foregoing reasons, Ms. Read respectfully requests that this Honorable Court

reverse the trial court and Order that Counts 1 and 3 must be dismissed.



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Dated: September 11, 2024




                                CERTIFICATE OF SERVICE

       I, Martin G. Weinberg, do hereby certify that on this day, September 11, 2024, I have
served a copy of this Petition, as well as all supporting exhibits and the record appendix, via
email on Assistant District Attorney Adam Lally.


                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg




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                    Exhibit B




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                                         THE STATE OF SOUTH CAROLINA
                                            IN THE SUPREME COURT
                                                                                                                Aug 13 2024
                                                   COLLETON COUNTY
                                                  Court of General Sessions

                               The Honorable Jean Hoefer Toal, Chief Justice (Ret.)



                                                    Case No. 2024-000576



THE STATE, .................................................................................................................. RESPONDENT,

                                                                   V.

RICHARD ALEXANDER MURDAUGH, ............................................................................... APPELLANT.



                                          INITIAL BRIEF OF APPELLANT


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                              STATEMENT OF ISSUES ON APPEAL

        1.      Is prejudice to the defendant’s right to a fair trial presumed when a state official1

secretly advocates a guilty verdict in the jury room during a criminal trial?

        2.      Is prejudice to a defendant’s right to a fair trial proven when it is found that a state

official tampered with the jury and a juror testifies that the jury tampering influenced her verdict?

        3.      Is secret advocacy for a guilty verdict in the jury room by a state official during a

criminal trial a structural error in the trial?

                                    STATEMENT OF THE CASE

        Richard “Alex” Murdaugh is a disgraced former attorney and drug addict. Once a

prominent member of the Bar, Mr. Murdaugh stole millions from his law firm, from his clients,

and from others who trusted him. His law firm confronted him about his thievery on September

3, 2021. He resigned from the firm and, after a failed suicide attempt assisted by his drug dealer,

entered drug rehabilitation. He was arrested immediately upon leaving a rehabilitation facility and

has been incarcerated ever since.

        Three months earlier, on June 7, 2021, Mr. Murdaugh’s wife, Maggie Murdaugh, and

younger son, Paul Murdaugh, were brutally murdered at the dog kennels on their rural family

property in Colleton County. Mr. Murdaugh was indicted for the murders and for related firearms

offenses on July 14, 2022, and the jury trial commenced on January 23, 2023. The Honorable

Clifton B. Newman presided. The State claimed Mr. Murdaugh was confronted at his law firm


1
  In trial court proceedings the State has objected to referring to former Colleton County Clerk of
Court Rebecca Hill as a “state official.” Mr. Murdaugh does not mean that her improper motives
or conduct should be imputed to the prosecution or law enforcement in this case. But it is
inarguable that Ms. Hill acted in this case as an official of the State of South Carolina: She held an
elected office created by Section 24 of Article V of the South Carolina Constitution, her duties
included summoning, impaneling, and managing the jury (see S.C. Code tit. 14 ch. 7), and she was
able to interact with the jurors in Mr. Murdaugh’s murder trial only by virtue of her office.


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earlier that day about missing attorney’s fees, and that he came home and killed his wife and son

to distract a bookkeeper investigating those fees and to reduce his financial exposure in a negligent

entrustment suit filed over two years earlier regarding a boat which Paul allegedly operated while

intoxicated, resulting in the horrible death of a young woman. Mr. Murdaugh has admitted all

allegations of theft, but vehemently denies murdering his family.

        After six weeks of trial, the case was submitted to the jury at about 3:45 pm on March 2,

2023. The verdict was returned early that evening. Jurors’ television interviews indicate the actual

deliberations took less than one hour. Mr. Murdaugh timely appealed the verdict. That appeal is

separate from the instant appeal. State v. Murdaugh, Appellate Case No. 2023-000392.

        On August 1, 2023, the then-Colleton County Clerk of Court, Rebecca Hill, published a

book, Behind the Doors of Justice, about Mr. Murdaugh’s trial. She had been planning to write a

book about the trial even before it began. Evid. Hr’g Tr. 181:11–183:19. She repeatedly said that

a guilty verdict would sell more books, and that she needed to sell books because “she needed a

lake house.” Id. 181:20–183:1. The book caused some jurors to come forward to describe Ms.

Hill’s efforts to obtain her desired guilty verdict through jury tampering during trial. Jurors stated

that after the State rested and the defense began its case, Ms. Hill entered the jury rooms often,

telling jurors not to let the defense “throw you all off,” or “distract you or mislead you,” and telling

them “not to be fooled” by Mr. Murdaugh’s testimony in his own defense. Id. 52:7–18, 203:18–

25, 209:25–210:18; Mot. New Trial Ex. A (Juror 630 Aff., Aug. 14, 2023) & Ex. H (Juror 785 Aff.,

Aug. 13, 2023); Juror 741 Aff., Jan. 29, 2024.

        On September 5, 2023, Mr. Murdaugh filed a motion to suspend his appeal and for leave

to file a motion for a new trial based on the evidence of Ms. Hill’s jury tampering. The Court of

Appeals granted the motion and Mr. Murdaugh filed his motion for a new trial on October 27. On




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November 1, he petitioned the Court for a writ of prohibition to prohibit Judge Newman from

adjudicating the new trial motion, based on public statements Judge Newman made after the jury

returned guilty verdicts. On November 15, the Court denied the petition as moot because Judge

Newman recused himself from hearing the new trial motion. On December 18, the Chief Justice

appointed retired Chief Justice Jean H. Toal to serve as the circuit judge hearing Mr. Murdaugh’s

motion for a new trial.

       The trial court ordered an evidentiary hearing, and the parties submitted extensive briefing

in advance of the hearing. The trial court held a “prehearing procedure” on January 16, 2024, to

determine, inter alia, “[w]ho has the burden of proof in this matter, and what must be shown to

meet that burden of proof, and what must then be shown to contest what has been shown and

proved?” Prehearing Hr’g Tr. 3:1–2, 5:22–25. At this initial hearing, the trial court ruled that Mr.

Murdaugh bears the burden of proving actual prejudice in the verdict rendered. Id. 21:9–20. It

further ruled Mr. Murdaugh would not be permitted to call any witnesses, including eyewitnesses

to Ms. Hill’s jury tampering, or to examine any jurors called by the court. Id. 51:9–54:2. Instead,

the trial court would call and itself examine each juror; the only other witness would be Ms. Hill

and any cross-examination of her would be strictly limited. Id. 41:22–42:2, 43:3–45:14, 46:25–

51:7, 49:22–23.

       On January 24, 2024, the trial court communicated its proposed questions to jurors to the

parties. Mr. Murdaugh’s counsel objected to the questions and to the rulings made at the hearing

by letter dated January 25, 2024. Ltr. from R. Harpootlian to Ret. Chief Justice Toal, Jan. 25, 2024.

The trial court reconsidered its prior rulings and allowed Mr. Murdaugh to call the alternate juror

and Barnwell County Clerk Rhonda McElveen and allowed the parties an opportunity for cross-

examination of witnesses who were not deliberating jurors.




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        The evidentiary hearing was held on January 29, 2024. A single juror testified one business

day earlier, on January 26, to accommodate a scheduling conflict. The jurors (identified by

anonymous letters) testified as follows:

        Jurors C, F, L, E, O, Y, W, Q, and K testified that they did not hear Ms. Hill comment on

the merits of the case before the verdict.

        Juror P testified that he heard Ms. Hill tell jurors, regarding Mr. Murdaugh’s decision to

testify in his own defense, to “watch his body language.” Evid. Hr’g Tr. 77:22–78:7. Juror P

testified the comment did not affect his verdict.

        Juror X testified that she heard Ms. Hill comment, regarding Mr. Murdaugh’s decision to

testify in his own defense, that it was rare for a defendant to testify in a criminal case and that “this

is an epic day.” Id. 23:9–24:3. Juror X testified the comments did not affect her verdict.

        Juror Z testified that she heard Ms. Hill comment, regarding Mr. Murdaugh’s decision to

testify in his own defense, to watch Mr. Murdaugh’s actions and to watch him closely. Juror Z

testified that the comments did affect her verdict:

        Q. All right. Was your verdict influenced in any way by the communications of the
        clerk of court in this case[?]

        A. Yes, ma’am.

        Q. And how was it influenced?

        A. To me, it felt like she made it seem like he was already guilty.

        Q. All right, and I understand that, that that’s the tenor of the remarks she made.
        Did that affect your finding of guilty in this case?

        A. Yes, ma’am.

Id. 46:6–15. The trial court then examined Juror Z regarding her affidavit attached to Mr.

Murdaugh’s motion for a new trial, and she affirmed each paragraph therein, including averments

that during trial Ms. Hill “told the jury ‘not to be fooled’ by the evidence presented by Mr.


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Murdaugh’s attorneys, which I understood to mean that Mr. Murdaugh would lie when he

testified,” and that Ms. Hill “instructed the jury to ‘watch him [Mr. Murdaugh] closely’

immediately before he testified, including ‘look at his actions’ and ‘look at his movements,’ which

I understood to mean that he was guilty.” Mot. New Trial Ex. A ¶¶ 2–3.

       The trial court then asked,

       Juror Z, I asked you previously was your verdict on March 2, 2023, influenced in
       any way by communications from Becky Hill, the clerk of court. You answered
       that question yes. In light of what you said in the affidavit, which is:

            I had questions about Mr. Murdaugh’s guilt but voted guilty because I felt
            pressured by the other jurors.

       Is that answer that I just read a more accurate statement of how you felt?

       MR. HARPOOTLIAN: Object to the form, Your Honor.

       THE COURT: Overruled.

       A. Yes, ma’am.

       Q. All right. So, you do stand by the affidavit?

       A. Yes, ma’am.

       Q. Very good.

Evid. Hr’g Tr. 55:1–56:7. After Juror Z left the courtroom, Mr. Murdaugh’s counsel

objected:

       MR. HARPOOTLIAN: Your Honor, we objected to the questioning because this
       juror gave two statements under oath, one in an affidavit and one here to you today.
       The one here to you today was Becky Hill influenced her verdict.

       THE COURT: Yes.

       MR. HARPOOTLIAN: The one she gave in an affidavit six months ago was based
       on jurors. It could be both. Your Honor picked out the one in the affidavit from six
       months ago and said is that a more accurate statement. That presupposes and
       suggests to her what she should say. And we believe that this, this juror’s testimony
       -- and, Your Honor, I’m afraid what you're going to say is, well, she said the



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       affidavit was more accurate than what she testified under oath here today and,
       therefore, I’m not going to consider her testimony, and I think that’s where we’re
       heading here.

       I’d ask you to bring her back in, explain to her there’s nothing wrong with it both
       being true.

       THE COURT: I decline to do that and overrule the objection.

Id. 58:2–22. Later during the hearing, Juror Z, through her own counsel, provided an affidavit

averring,

       1. I would like to clarify my testimony today.

       2. As I testified, I felt influenced to find Mr. Murdaugh guilty by reason of Ms.
          Hill’s remarks, before I entered the jury room.

       3. Once deliberations began as I stated in paragraph 10 of my earlier affidavit, I
          felt further, additional pressure to reach the guilty verdict.

Juror Z Aff., January 29, 2024. Although the trial court introduced Juror Z’s prehearing affidavit

into evidence on its own motion, it refused to allow Juror Z’s affidavit of that day into evidence or

to allow any further testimony from Juror Z.

       Ms. Hill testified after the jurors. She denied engaging in any jury tampering. She also

denied stating that she wanted a guilty verdict to promote book sales. She admitted she plagiarized

portions of her book and that her profits from its sale in the six months before it was withdrawn

from publication because of her plagiarism were approximately $100,000. Evid. Hr’g Tr. 133:8–

12. She admitted the book contained unfounded statements included for “poetic license” or

“literary ease.” Id. 125:18–20, 137:17–19. Examination by the trial court revealed that Ms. Hill’s

denial, during direct examination, of questioning a juror during the murder trial was not truthful,

and that she did want a guilty verdict. Id. 146:18–159:3.




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       Barnwell County Clerk of Court Rhonda McElveen testified next to rebut Ms. Hill’s denial

that she wanted a guilty verdict to promote book sales. Ms. McElveen was assisting in the

courtroom during the murder trial. She testified,

       Q. And did she discuss with you -- what, if anything, did she discuss with you about
       how she felt the verdict should turn out to be in the Murdaugh trial vis a vis in
       reference to the book, what would help the book?

       A. A guilty verdict.

       Q. Tell the judge and, and me what exactly she said to you that you remember. This
       is prior to the trial.

       A. Okay. Well, first of all, she said we might want to write a book because she
       needed a lake house and I needed to retire, and from then, further conversation was
       that a guilty verdict would sell more books, and we left it at that. This was before
       even in December.

       Q. And, and when, when -- did she ever say that again to you during this -- the, the
       weeks you spent there?

       A. Several times. It could be said -- it was, you know, amongst friends in her office
       or we might be having dinner, that kind of stuff, but that's about it.

       Q. That she needed a guilty verdict to sell more books?

       A. That would be the best way to sell books, yes, sir.

       Q. The best way to sell books.

       Now, during this -- during this process, did she ever express to you an opinion on
       whether or not, in fact, was Mr. Murdaugh guilty of the murders of his son and his,
       his wife?

       A. Yes, sir.

       Q. Tell me. Tell me what she said and if you remember when.

       A. I don’t exactly remember when. I know it’s over half of the trial had already
       happened, but the evidence was coming forth that it looked like he might be guilty.
       She made a comment that guilty verdict would be better for the sale of books.




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Id. 181:20–183:1. She also testified that Ms. Hill made comments to her, like “‘[d]on’t be fooled

by the evidence presented by Mr. Murdaugh’s attorneys,” identical to statements reported by some

jurors. Id. 184:25–185:18. And she testified that Ms. Hill insisted on allowing a book writer (who

wrote the forward to Ms. Hill’s book) to sit in the well of the court during trial, where she could

see sealed exhibits, under the subterfuge of being a Sunday school teacher. Id. 186:12–190:10.

       The final witness was the alternate juror, Juror 741. She testified that Ms. Hill told jurors

“the defense is about to do their side” and “[t]hey’re going to say things that will try to confuse

you” but “[d]on’t let them confuse you or convince you or throw you off.” Id. 203:18–204:3.

       At the conclusion of the hearing, the trial court ruled from the bench:

       Did Clerk of Court Hill make comments to any juror which expressed her opinion
       what the verdict would be? Ms. Hill denies [doing so] and so the question becomes
       was her denial credible.

       I find that the clerk of court is not completely credible as a witness. Ms. Hill was
       attracted by the siren call of celebrity. She wanted to write a book about the trial
       and expressed that as early as November 2022, long before the trial began. She
       denies that this is so, but I find that she stated to the clerk of court Rhonda McElveen
       and others her desire for a guilty verdict because it would sell books. She made
       comments about Murdaugh’s demeanor as he testified, and she made some of those
       comments before he testified to at least one and maybe more jurors.

       ...

       The clerk of court allowed public attention of the moment to overcome her duty.

Id. 251:13–252:1, 23–24.

       The trial court nevertheless denied the motion for a new trial, reasoning that there is no

presumption of prejudice from tampering with jurors during a trial about the matter pending before

the jury and Mr. Murdaugh failed to prove that Ms. Hill’s comments changed the jury’s verdict.

The trial court discounted the testimony Juror Z, who said Ms. Hill’s comments did affect her

verdict, because she “was ambivalent in her testimony.” Id. 252:13. In a State-drafted written




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order entered 66 days after the ruling from the bench, the trial court further ruled in passing that

“this Court also find[s] that any possible presumption of prejudice was overcome,” without any

reference to any evidence presented at the evidentiary hearing. Order 24, Apr. 4, 2024. Mr.

Murdaugh timely appealed the order on April 11, 2024.

       On March 25, 2024, Ms. Hill resigned from office. In May 2024 it was reported that the

State Ethics Commission had referred ethics complaints against her for criminal prosecution.

       On July 10, 2024, Mr. Murdaugh moved for certification of this appeal for review by this

Court before it is determined by the Court of Appeals. On August 13, 2024, the Court granted the

motion for certification. (Order Granting Certification, Aug. 13, 2024.)

                                   STANDARD OF REVIEW

       “The decision whether to grant a new trial rests within the sound discretion of the trial

court” and is reviewed for an abuse of discretion. State v. Mercer, 381 S.C. 149, 166, 672 S.E.2d

556, 565 (2009). “An abuse of discretion arises in cases in which the judge issuing the order was

controlled by some error of law or where the order, based upon factual, as distinguished from legal,

conclusions, is without evidentiary support.” Stewart v. Floyd, 274 S.C. 437, 440, 265 S.E.2d 254,

255 (1980).

       When it is asserted the trial court’s order was controlled by an error of law, “a question of

law is presented” and the “standard of review is plenary” and “without deference to the trial court.”

State v. Cochran, 369 S.C. 308, 312–13, 631 S.E.2d 294, 297 (Ct. App. 2006) (citing S.C. Const.

art. V, § 5 & 9; S.C. Code §§ 14-3-320, 14-3-330, & 14-8-200); Crossmann Communities of N.C.,

Inc. v. Harleysville Mut. Ins. Co., 395 S.C. 40, 47, 717 S.E.2d 589, 592 (2011).

       When reviewing the trial court’s decision, the appellate court may not make its own

findings of fact if the trial court’s findings are “reasonably supported by the evidence.” Cochran,




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369 S.C. at 312–13, 631 S.E.2d at 297. “The appellate court does not re-evaluate the facts based

on its own view of the evidence but simply determines whether the trial judge’s ruling is supported

by any evidence.” State v. Kirton, 381 S.C. 7, 23, 671 S.E.2d 107, 114 (Ct. App. 2008). But “[i]n

reviewing mixed questions of law and fact, where the evidence supports but one reasonable

inference, the question becomes a matter of law for the court.” State v. Moore, 343 S.C. 282, 288,

540 S.E.2d 445, 448 (2000).

                                            ARGUMENT

        The trial court found Ms. Hill tampered with the jury during Mr. Murdaugh’s murder trial.

Evid. Hr’g Tr. 251:13–252:1, 23–24. The only evidence the State presented contradicting sworn

testimony describing the tampering was Ms. Hill’s own denial, which the trial court found not

credible. Id. The trial court found she was motivated by a desire to sell books. Id. The trial court

found she was “attracted by the siren call of celebrity” and she “allowed public attention of the

moment to overcome her duty.” Id. And one juror testified that Ms. Hill’s tampering did influence

her verdict. Id. 46:6–15.

        But the trial court nonetheless denied the motion for a new trial, by committing legal error

and by abusing its discretion. The trial court erred when it refused to presume jury tampering

during trial, by a state official advocating a guilty verdict, is prejudicial to the right of the accused

to a fair trial. The trial court abused its discretion when finding that the jury’s verdict was not

affected by Ms. Hill’s tampering despite a juror’s uncontradicted testimony that her verdict was

affected. And the trial court erred when it held that deliberate jury tampering by a state official

seeking a guilty verdict was harmless because, in its opinion, the correct verdict was rendered

regardless. The Court therefore should reverse the trial court’s order denying Mr. Murdaugh’s




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motion for a new trial, vacate Mr. Murdaugh murder and firearms convictions, and remand for a

new trial.

I.     THERE IS AN IRREBUTTABLE PRESUMPTION OF PREJUDICE WHEN A
       STATE OFFICIAL SECRETLY ADVOCATES A GUILTY VERDICT IN THE JURY
       ROOM DURING A CRIMINAL TRIAL.

       The trial court identified the wrong legal standard to decide Mr. Murdaugh’s motion for a

new trial. When a state official communicates with jurors about a criminal case during trial, the

law presumes the tampering was prejudicial to the defendant’s right to a fair trial, unless the

communication was completely innocuous.            The burden shifts to the state to show the

communication was harmless. The State can meet that burden by, for example, showing the

communication did not concern the merits of the case, that it was favorable to the defendant, or

that it never reached a deliberating juror—but not by a counterfactual argument that some

hypothetical trial before the same jury but without the jury tampering would have had the same

verdict. But where it is proven there was an improper communication by a court official to jurors

about the merits of the case before them—ex parte advocacy by a state official—the presumption

is irrebuttable. State v. Cameron, 311 S.C. 204, 207–08, 428 S.E.2d 10, 12 (Ct. App. 1993) (Where

“‘[t]here was the private communication of the court official to members of the jury, an occurrence

which cannot be tolerated if the sanctity of the jury system is to be maintained . . . a new trial must

be granted unless it clearly appears that the subject matter of the communication was harmless and

could not have affected the verdict.’” (quoting Holmes v. United States, 284 F.2d 716, 718 (4th Cir.

1960)) (emphasis added)).

       The trial court, however, rejected the correct legal standard and applied an erroneous

standard of its own invention: that Mr. Murdaugh, in addition to proving that Ms. Hill did tamper

with the jury about the merits of his case during trial, must also prove what the verdict would have

been but for that tampering. The Court should hold that in so doing, the trial court abused its


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discretion. Identification of the correct legal standard is a question of law subject to the Court’s

plenary review and Justice Toal’s legal error is entitled to no deference.

A.     The U.S. Supreme Court holds that in a criminal case jury tampering is presumptively
       prejudicial.

       The trial court erred by ruling that South Carolina courts should disregard binding

precedent of the U.S. Supreme Court that requires it to presume jury tampering is prejudicial to

the defendant. In Remmer v. United States, the U.S. Supreme Court held, unanimously,

       In a criminal case, any private communication, contact, or tampering directly or
       indirectly, with a juror during a trial about the matter pending before the jury is, for
       obvious reasons, deemed presumptively prejudicial, if not made in pursuance of
       known rules of the court and the instructions and directions of the court made
       during the trial, with full knowledge of the parties. The presumption is not
       conclusive, but the burden rests heavily upon the Government to establish, after
       notice to and hearing of the defendant, that such contact with the juror was harmless
       to the defendant.

347 U.S. 227, 229 (1954). The Fourth Circuit holds Remmer is still “clearly established federal

law.” Barnes v. Joyner, 751 F.3d 229, 243 (4th Cir. 2014). The trial court, however, instead ruled

that State v. Green, 432 S.C. 97, 851 S.E.2d 440 (2020), directs South Carolina courts to ignore

Remmer:

       THE COURT: [The] South Carolina Supreme Court said very clearly we do not go
       by the guidance of the 1950s case of US v. Remmer.

       MR. HARPOOTLIAN: That’s -- we do not believe that’s what Justice Kittredge
       has said in [State v. Green] ---

       THE COURT: He said it straight out as clear as a bell can be, but I’ve ruled on that.

Evid. Hr’g Tr. 100:19–25.

       The Court however has not split with the Fourth Circuit to instruct South Carolina courts

to disregard Remmer. In Green the Court merely “decline[d] to adopt the Remmer presumption of

prejudice in every instance of an inappropriate bailiff communication to a juror” because “not

every inappropriate comment by a bailiff to a juror rises to the level of constitutional error,”


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including the inappropriate comments at issue in Green, which “did not touch the merits, but dealt

only with the procedural question of how the judge might handle a jury impasse that apparently

never materialized.” 432 S.C. at 100–01, 851 S.E.2d at 44. Green accords perfectly with recent

Fourth Circuit authority: Under Remmer “any private communication, contact, or tampering

directly or indirectly, with a juror during a trial about the matter pending before the jury is deemed

presumptively prejudicial,” but “[t]o trigger this presumption, a defendant must introduce

‘competent evidence of extrajudicial juror contacts’ that are ‘more than innocuous interventions.’”

United States v. Elbaz, 52 F.4th 593, 606 (4th Cir. 2022) (Richardson, J.) (internal quotation marks

omitted), cert. denied, 144 S. Ct. 278 (2023).

       If the Remmer presumption of prejudice ever applies, it must apply where, as here, an

elected state official advocates for a guilty verdict in the jury room during trial so that she can

personally profit from selling books about a guilty verdict.           That is not an “innocuous

intervention.”

       But the trial court nevertheless held that when there is tampering with a juror during a trial

about the matter pending before the jury, prejudice is never presumed but instead always must be

proven by the defendant. Prehearing Hr’g Tr. 20:25–21:20; Order 4–5. In doing so, the trial court

adopted the State’s argument that Remmer was abrogated by Smith v. Phillips, 455 U.S. 209 (1982),

and United States v. Olano, 507 U.S. 725 (1993). Resp’t’s Br. 6–7.

       The trial court agreed, ruling from the bench:

       I am not conducting a Remmer hearing. Remmer is a 1954 decision of the United
       States Supreme Court that deals with question of influence of the jury and a motion
       for a new trial on the basis of after-discovered evidence of that influence. I rely on
       the South Carolina decision of our Supreme Court authored by Justice Kittredge,
       State v. Green, and the Green decision specifically says that Remmer is not the
       guidance that South Carolina trial judges should look to in conducting hearings on
       after-discovered evidence.




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Prehearing Hr’g Tr. 11:1–10; see also Evid. Hr’g Tr. 100:19–21 (“[The] South Carolina Supreme

Court said very clearly we do not go by the guidance of the 1950s case of US v. Remmer.”). Its

State-drafted order entered months after the evidentiary hearing, however, hides its reasoning,

stating only that “Murdaugh argues . . . prejudice must be presumed under Remmer” while the

State “argues that the overwhelming weight of South Carolina case law is clear that . . . the burden

is on the defendant to show not only that the improper influence occurred but also resulting

prejudice.” Order 4–5. The trial court’s order then proceeds to review South Carolina cases, some

of which are arguably irrelevant (e.g., cases dealing with external influences not touching on the

merits of the case before the jury or alternate jurors participating in deliberations) and some of

which are inarguably irrelevant (e.g., cases dealing with internal jury influences),2 without

attempting to explain why Remmer is not good law. Id. 5–8.

       To be sure, the continued viability of Remmer is not universally agreed. There is a three-

way federal circuit split on the issue. The majority position, adopted by the First, Second, Third,

Fourth, Seventh, Ninth, Eleventh, and D.C. Circuits and at least 28 states presumes prejudice under

Remmer, although many, like the Fourth Circuit (and as the Court did in Green) decline to apply

it categorically to “innocuous” contacts with jurors. E.g., United States v. Pagán-Romero, 894

F.3d 441, 447 (1st Cir. 2018); United States v. Greer, 285 F.3d 158, 173 (2d Cir. 2002); United

States v. Claxton, 766 F.3d 280, 299 (3d Cir. 2014); Barnes, 751 F.3d at 245; United States v.

Turner, 836 F.3d 849, 867 (7th Cir. 2016); Godoy v. Spearman, 861 F.3d 956, 968 (9th Cir. 2017);

Ward v. Hall, 592 F.3d 1144, 1180 (11th Cir. 2010); United States v. Gartmon, 146 F.3d 1015, 1028




2
  The Remmer presumption does not apply to internal influences on the jury, Barnes, 751 F.3d at
245–46, and Mr. Murdaugh has not sought any relief based on any alleged improper internal
influence on the jury.


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(D.C. Cir. 1998). The Fifth,3 Sixth, and Tenth Circuits and at least fourteen states decline to apply

Remmer and instead require defendants to prove prejudice, as the trial court held. Eighth Circuit

and at least seven states leave the question entirely to judicial discretion.

          As the State argued, the question driving the split is whether Remmer was narrowed or

overruled by Smith v. Phillips and United States v. Olano. The Court should decline the State’s

invitation to join the minority position on that question for three reasons.

          First, the argument that Olano or Phillips abrogated Remmer is unpersuasive—which may

explain why that argument remains the minority position 30 and 40 years after those decisions,

respectively. In Phillips, a juror applied for employment with the district attorney’s office during

trial, but the prosecution did not disclose the fact until after the trial. 455 U.S. at 213–14. In

Olano, the trial court permitted alternate jurors to attend but not to participate in jury deliberations.

507 U.S. at 728–29. In each case the Supreme Court held that a new trial was not required. But

neither case involved an “external” influence on the jury from anyone other than alternate jurors.

Both cases cited Remmer with approval. Olano, 507 U.S. at 738; Phillips, 455 U.S. at 215. Olano

even stated “[t]here may be cases where an intrusion should be presumed prejudicial,” citing

Turner v. Louisiana, 379 U.S. 466 (1965), as an example of such a case. 507 U.S. at 739. In

Turner, prejudice was presumed where the jury was in the charge of sheriff’s deputies who were

also prosecution witnesses, a fact pattern with a close similarity to the present case. 4 379 U.S.

at 474.



3
  The Fifth Circuit may have since moved back to the majority position. See United States v.
Jordan, 958 F.3d 331, 335 (5th Cir. 2020) (“To be entitled to a new trial based on an extrinsic
influence on the jury, a defendant must first show that the extrinsic influence likely caused
prejudice” and “[t]he government then bears the burden of proving the lack of prejudice.”)
4
 Like the deputies in Turner, Ms. Hill had the jury in her charge. She was not a prosecution
witness, but like a prosecution witness she made statements to the jury advocating a guilty verdict.


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       Second, only the U.S. Supreme Court can decide whether it has overruled its decision in

Remmer: “‘[I]t is this Court’s prerogative alone to overrule one of its precedents.’” Bosse v.

Oklahoma, 580 U.S. 1, 3 (2016) (quoting United States v. Hatter, 532 U.S. 557, 567 (2001)). This

Court cannot decide that the U.S. Supreme Court has overruled a precedential decision by

implication from later decisions that appear to use inconsistent reasoning: “‘Our decisions remain

binding precedent until we see fit to reconsider them, regardless of whether subsequent cases have

raised doubts about their continuing vitality.’” Id. (quoting Hohn v. United States, 524 U.S. 236,

252–53 (1998)).

       Third, the Court should defer to the Fourth Circuit’s interpretation of a question of federal

constitutional law, especially when it adopts the majority position, see Limehouse v. Hulsey, 404

S.C. 93, 108–09, 744 S.E.2d 566, 575 (2013),5 and the Fourth Circuit’s position is clear:

       Some courts have suggested that post-Remmer developments—Smith v. Phillips,
       455 U.S. 209, 215 (1982), United States v. Olano, 507 U.S. 725, 738–39 (1993),
       and Federal Rule of Evidence 606(b)—narrowed or overturned Remmer’s
       presumption of prejudice. See, e.g., United States v. Sylvester, 143 F.3d 923, 934
       (5th Cir. 1998) (“[T]he Remmer presumption of prejudice cannot survive Phillips
       and Olano.”). But the Fourth Circuit continues to adhere to a Remmer presumption
       when the contact goes beyond the innocuous.

Elbaz, 52 F.4th at 606 n.9; see also United States v. Johnson, 954 F.3d 174, 179–80 (4th Cir. 2020)

(holding that where “an unauthorized contact was made” with jurors “of such a character as to

reasonably draw into question the integrity” of the trial proceedings, the defendant “is entitled

under Remmer: (1) to a rebuttable presumption that the external influence prejudiced the jury’s



5
 Although South Carolina’s courts are not subject to the mandate of the Fourth Circuit, they must
follow what the Fourth Circuit says is “clearly established” federal law regarding the rights of
criminal defendants in this State or writs of habeas corpus may be granted. See 28 U.S.C. §
2254(d)(1) (providing for a habeas writ where state court proceedings “resulted in a decision that
was contrary to, or involved an unreasonable application of, clearly established Federal law, as
determined by the Supreme Court of the United States”).


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ability to remain impartial” (internal quotation marks omitted)); Barnes, 751 F.3d at 243 (holding

Remmer is “clearly established federal law”); United States v. Lawson, 677 F.3d 629, 642 (4th Cir.

2012) (“At issue in this debate are the Supreme Court’s decisions in Smith v. Phillips and United

States v. Olano . . . . This Court’s decisions addressing such external influences on a jury’s

deliberations reflect that the Remmer rebuttable presumption remains [a]live and well in the Fourth

Circuit.” (citations omitted)). “To determine whether a contact with a juror is innocuous or triggers

the Remmer presumption we look to whether there was (1) any private communication; (2) any

private contact; (3) any tampering; (4) directly or indirectly with a juror during trial; (5) about the

matter before the jury.” Elbaz, 52 F.4th at 607 (internal quotation marks omitted).

       Two years before the Fourth Circuit’s Elbaz decision (its most recent published decision

affirming Remmer), the Court in Green considered a case in which a juror asked a bailiff what

would happen if the jury deadlocked, and the bailiff responded that the judge probably would give

an Allen charge and ask them to stay later. The Court held,

       The trial court questioned each juror and the bailiff, which proved “there was no
       reasonable possibility the [bailiff’s] comments influenced the verdict.” Our
       unwillingness to categorically apply the Remmer presumption of prejudice stems
       from our view that not every inappropriate comment by a bailiff to a juror rises to
       the level of constitutional error. In Remmer, a juror was approached by a “person
       unnamed” and told “that [the juror] could profit by bringing in a verdict favorable
       to the [defendant].” The federal district court, without holding a hearing, denied
       the defendant’s motion for a new trial. Ultimately, the Supreme Court recognized
       the presumption of prejudice from the highly improper juror contact and remanded
       to the federal district court “to hold a hearing to determine whether the incident
       complained of was harmful to the [defendant].”

       The attempted bribery of a juror in Remmer—conduct which goes to the heart of
       the merits of the case on trial—is a far cry from the circumstances presented in this
       case. The bailiff’s actions here—though improper—did not touch the merits, but
       dealt only with the procedural question of how the judge might handle a jury
       impasse that apparently never materialized.




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432 S.C. at 100, 851 S.E.2d at 441 (2020) (citations omitted). The trial court read that language

to hold that South Carolina courts never apply the Remmer presumption of prejudice in any

circumstances. Prehearing Hr’g Tr. 11:1–10; Evid. Hr’g Tr. 100:19–21.

       Green is the only reported South Carolina appellate decision discussing Remmer,6 and the

trial court’s reading of it is plainly erroneous. “While we decline to adopt the Remmer presumption

of prejudice in every instance of an inappropriate bailiff communication to a juror” does not mean

“we decline to adopt the Remmer presumption of prejudice in any instance of inappropriate

communication to a juror,” nor does “[o]ur unwillingness to categorically apply the Remmer

presumption of prejudice stems from our view that not every inappropriate comment by a bailiff

to a juror rises to the level of constitutional error” mean “no inappropriate comment to a juror ever

rises to the level of constitutional error.” Green, 432 S.C. at 100–01, 851 S.E.2d at 441. A more

reasonable reading is that the Court’s opinion is identical to the Fourth Circuit’s opinion expressed

in Elbaz two years later: prejudice is presumed unless the contact is “innocuous” or does not “touch

the merits.” Compare 52 F.4th at 606 with Green, 432 S.C. at 100, 851 S.E.2d at 441.

       That is also consistent with the earlier opinion of the Court of Appeals in Cameron:

       In this case, there was the private communication of the court official to members
       of the jury, an occurrence which cannot be tolerated if the sanctity of the jury system
       is to be maintained. When there has been such a communication, a new trial must
       be granted unless it clearly appears that the subject matter of the communication
       was harmless and could not have affected the verdict.

311 S.C. at 208, 428 S.E.2d at 12. The trial court refused even to consider Cameron because it is

a Court of Appeals decision, Prehearing Hr’g Tr. 21:25–22:3 (“I do not regard State v. Cameron as

the guidance that needs to be used by me in making a determination about this case. It’s a Court



6
 The only other South Carolina appellate case citing Remmer is State v. Bryant, 354 S.C. 390, 395,
581 S.E.2d 157, 160 (2003), which cites Remmer once in a string citation without any discussion.


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of Appeals case.”), and because, in its view, the later Green decision held Remmer is no longer

good law, id. 22:3–10.

        Similarly, in Bryant, the only South Carolina case other than Green to cite Remmer, the

Court held the defendant must prove “actual juror bias,” which he did by proving “the questioning

of jurors’ family members by Horry County Police detectives in a case in which the victim was a

Horry County Police Department Officer was, at minimum, an attempt to influence the jury” that

“could have been perceived as an attempt to intimidate jurors.” 354 S.C. at 395, 581 S.E.2d at

160–01 (2003). That jury intimidation was the actual prejudice the defendant had the burden to

prove. There was no suggestion that having proven law enforcement officers engaged in jury

intimidation, the defendant then needed to prove what the verdict would have been but for the

intimidation.

B.      The presumption of prejudice is irrebuttable when a state official tampers with the jury
        during a criminal trial about the merits of the case.

        Having proven that Ms. Hill communicated with at least one deliberating juror about the

evidence presented during his murder trial, Mr. Murdaugh has established that he is entitled to a

new trial. “A defendant in a criminal prosecution is constitutionally guaranteed a fair trial by an

impartial jury, and in order to fully safeguard this protection, it is required that the jury render its

verdict free from outside influence.” State v. Johnson, 302 S.C. 243, 250, 395 S.E.2d 167, 170

(1990) (internal quotation marks omitted). Where “[t]here was the private communication of the

court official to members of the jury, an occurrence which cannot be tolerated if the sanctity of the

jury system is to be maintained . . . a new trial must be granted unless it clearly appears that the

subject matter of the communication was harmless and could not have affected the verdict.”

Cameron, 311 S.C. at 207–08, 428 S.E.2d at 12 (internal quotation marks omitted). South Carolina




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case law requires the “subject matter” of the communication between an official and a juror to be

harmless—clearly harmless. Id. Otherwise, a new trial must be granted.

       When, as here, it is proven that a state official has told jurors not to believe the defendant

when he testifies, the State cannot rebut the presumption of prejudice by arguing what the outcome

would have been without that tampering. Ms. Hill was a state official who used her official

authority to argue the merits of the evidence outside of the presence of the court, the Defendant,

and his counsel. This is, fortunately, a rare event, but it is one that requires a new trial. The

distinction in Cameron between a particular communication itself being harmless in a particular

case and the subject matter of the communication being harmless and its requirement that a new

trial be granted unless the latter is established recognizes that deliberate jury tampering by a court

official cannot be cured or excused by the strength of the evidence presented at trial.

       The U.S. Supreme Court addressed this exact issue almost sixty years ago when it held the

Sixth Amendment right to a trial before an impartial jury is incorporated to the states via the

Fourteenth Amendment. In Parker v. Gladden, a bailiff told a juror in a murder trial “that wicked

fellow, he is guilty.” 385 U.S. 363, 363 (1966) (per curiam). The Supreme Court of Oregon held

the statement did not require a new trial because it was not shown the statement changed the

outcome of the trial. The U.S. Supreme Court reversed, holding “[t]he evidence developed against

a defendant shall come from the witness stand in a public courtroom where there is full judicial

protection of the defendant’s right of confrontation, of cross-examination, and of counsel,” and

“[w]e have followed the undeviating rule, that the rights of confrontation and cross-examination

are among the fundamental requirements of a constitutionally fair trial.” Id. at 364–65 (internal

quotation marks and citations omitted).




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       In Parker, the state also argued that the bailiff’s statement was harmless because ten

members of the jury never heard his statement and Oregon law at that time allowed a guilty verdict

by ten affirmative votes of the twelve jurors. It argued, as the State does here, that the jury

tampering did not require a new trial because the defendant did not show the verdict would have

been different but for the improper communication. In Parker, that was almost mathematically

certain—ten jurors never heard the communication at issue and the vote of ten jurors was at that

time enough to convict. Id. at 365.

       Yet the Supreme Court rejected that reasoning, and, after questioning whether the factual

record supported that argument, stated that in “any event, petitioner was entitled to be tried by 12,

not 9 or even 10, impartial and unprejudiced jurors.” Id. at 366. That reasoning accords with the

Court of Appeal’s reasoning in Cameron 27 years later—the right being protected is not the right

to a “correct” verdict but the constitutional right to trial before a fair and impartial jury free from

state officials’ improper influences.

       The Court more recently touched on this point in Green. In Green, the Court of Appeals

held that the bailiff’s comments were presumptively prejudicial because of his official position,

but that the State rebutted that presumption by showing for various reasons that the remark did not

in fact influence the outcome of the jury’s deliberations. 427 S.C. 223, 236, 830 S.E.2d 711, 717

(Ct. App. 2019), aff’d as modified, 432 S.C. 97, 851 S.E.2d 440 (2020) (citation omitted). The

Court affirmed but modified the decision to correct the reasoning. The communication was not

prejudicial because the subject matter of the communication was harmless: “The bailiff’s actions

here—though improper—did not touch the merits, but dealt only with the procedural question of

how the judge might handle a jury impasse that apparently never materialized.” Green, 432 S.C.

at 100, 851 S.E.2d at 441. A bailiff presuming to tell the jury that if it is deadlocked, the judge




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will instruct them to keep deliberating is improper but likely harmless because the subject matter

is procedural or logistical, rather than to the merits of the case. Here, by contrast, the extensive,

deliberate, and self-interested jury tampering which it has been proven Ms. Hill committed far

exceeds the simple bailiff mistakes that forced a retrial in Cameron, where “a bailiff’s misleading

response to a juror’s question about sentencing options compromised the jury’s impartiality

because it left the impression that their verdict could not affect the trial court’s sentencing

discretion,” or in Blake by Adams v. Spartanburg General Hospital, where a bailiff told a juror

“that the trial judge ‘did not like a hung jury, and that a hung jury places an extra burden on

taxpayers.’” See State v. Green, 427 S.C. at 237, 830 S.E.2d at 717–18 (citing Cameron, 311 S.C.

at 208, 428 S.E.2d at 12 and quoting Blake by Adams, 307 S.C. 14, 16, 413 S.E.2d 816,

817 (1992)).

       Finally, state and federal courts have “found the authority of the speaker to be relevant to

Sixth Amendment analyses” of improper external communications with jurors during trial. Utah

v. Soto, 513 P.3d 684, 695 (2022). In Parker, the U.S. Supreme Court noted that the state’s

argument that no harm could have resulted from a bailiff’s comments on the merits “overlooks the

fact that the official character of the bailiff—as an officer of the court as well as the State—beyond

question carries great weight with a jury which he had been shepherding for eight days and nights.”

385 U.S. at 365. For that reason, “undue contact with a juror by a government officer almost

categorically risks influencing the verdict.” Tarango v. McDaniel, 837 F.3d 936, 947 (9th Cir.

2016). Here, the improper communications about the merits of the case did not come from a bailiff

acting as a security guard or as a message courier. They came from an elected official—someone

whose name nearly every one of the jurors presumably had seen on the same ballot that they used




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to vote for the President of the United States7—holding an office established by the state

constitution. It was the very person who summoned the jurors to serve, who impaneled them and

administered their oath, who administered the oath to the witnesses presented to them for their

consideration, who told when and where to report for each day of their service, and who read their

verdict in the courtroom.

        The trial court committed legal error by not presuming Mr. Murdaugh’s right to a fair trial

was prejudiced by Ms. Hill’s jury tampering. Applying the correct legal standard, the evidence—

that an elected state official deliberately advocated for a guilty verdict in the jury room during trial

so she could personally profit from it—supports only one reasonable inference—the presumption

of prejudice to Mr. Murdaugh’s right to a fair trial is irrebuttable. The Court therefore should

reverse the trial court and vacate Mr. Murdaugh’s convictions.

C.      The trial court’s “finding” that Ms. Hill’s comments to jurors that were “not overt as to
        opinion” is unsupported by and contrary to the evidence in the record.

        At the evidentiary hearing the trial court examined Juror Z about her affidavit describing

Ms. Hill’s jury tampering, and she testified,

        [The Court] Q. Very good. The second -- the first paragraph, of course, is the
        statement that you were in the case. Second paragraph says:

                Toward the end of the trial, after the Presidents’ Day break but
                before Mr. Murdaugh testified, the clerk of court, Rebecca Hill, told
                the jury, quote, not to be fooled, unquote, by the evidence presented
                by Mr. Murdaugh’s attorneys, which I understood to mean that Mr.
                Murdaugh would lie when he testifies.

        Is that what your recollection is of that statement?

        [Juror Z] A. Yes, ma’am.



7
 Ms. Hill was elected in 2020; the voter turnout in the 2020 general election in Colleton County
was over 73% of all registered voters. 2020 Statewide General Election Results, S.C. Election
Comm’n, https://www.enr-scvotes.org/SC/Colleton/ 106517/Web02.264677/#/.


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       Q. Is there anything in the statement that on reflection you think is not correct?

       A. No, ma’am.

Evid. Hr’g Tr. 5:4–18. When ruling from the bench that same day, the trial court ruled:

       Did Clerk of Court Hill make comments to any juror which expressed her opinion
       what the verdict would be? Ms. Hill denies, A, and so the question becomes was
       her denial credible.

       I find that the clerk of court is not completely credible as a witness. . . . I find that
       she stated to the clerk of court Rhonda McElveen and others her desire for a guilty
       verdict because it would sell books. She made comments about Murdaugh’s
       demeanor as he testified, and she made some of those comments before he testified
       to at least one and maybe more jurors.

Id. 251:13–252:1.

       That seems clear enough. But the State-drafted order the trial court entered months later

slips in the statement “This Court further finds that the improper comments made by Clerk Hill as

expressed by Jurors Z and P were limited in subject and not overt as to opinion . . . .” Order 22.

That offhand finding is unsupported by and, indeed, contradicted by, the evidence in the record

and it contradicts the ruling the trial court from the bench the same day it received the juror’s

testimony. Juror Z testified that Ms. Hill said “not to be fooled” by evidence presented in Mr.

Murdaugh’s defense. Evid. Hr’g Tr. 5:4–18. The alternate juror testified that Ms. Hill told jurors

“the defense is about to do their side” and “[t]hey’re going to say things that will try to confuse

you” but “[d]on’t let them confuse you or convince you or throw you off.” Id. 203:18–204:3. No

reasonable person can say those statements are “not overt as to opinion.” Certainly, that is not

what Justice Toal said when ruling on the motion for a new trial later that same day.8




8
  Mr. Murdaugh concedes the statements were “limited in subject”—the subject of his testimony
in his own defense at trial. The trial court does not identify any other subject to which the
statements purportedly were “limited.” See Order 22.


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       Allowing the State to insert a “finding” contradicted by all evidence in the record and by

the trial court’s own ruling from the bench, simply to shore up its position on appeal, was an abuse

of discretion by the trial court. The Court therefore should disregard the finding that Ms. Hill’s

statements were not “overt as to opinion.” See State v. Simmons, 279 S.C. 165, 167, 303 S.E.2d

857, 859 (1983) (holding the trial court abused its discretion when denying a motion for a new

trial where its decision was based on a factual finding but “the record is in all respects void of

evidence to support [that] finding”). Ms. Hill’s statements as set forth in sworn testimony,

uncontroverted by anyone except Ms. Hill (whom the trial court found not credible), speak for

themselves. To the extent it is necessary to characterize those statements in a legal analysis, it is a

mixed question of law and fact and “[i]n reviewing mixed questions of law and fact, where the

evidence supports but one reasonable inference, the question becomes a matter of law for the

court.” Moore, 343 S.C. at 288, 540 S.E.2d at 448. The only reasonable inference here is that Ms.

Hill’s statements to jurors overtly expressed her opinion that Mr. Murdaugh should be found guilty.

D.     Even if the presumption of prejudice were rebuttable, the State did not rebut—or even
       attempt to rebut—any presumption of prejudice in this case.

       At the evidentiary hearing, the State failed to meet its burden to overcome the presumption

that Ms. Hill’s conduct was prejudicial to Mr. Murdaugh’s right to a fair trial before an impartial

jury that considers only the evidence and argument presented in open court. It was impossible to

do so, so it did not even try to argue any presumption was overcome. See, e.g., Evid. Hr’g Tr.

230:18–239:19 (closing argument of S. Creighton Waters for the State).

       Nevertheless, the trial court nonetheless held that Ms. Hill’s jury tampering could not “in

any way undermine the fairness and impartiality of [the] six-week trial with its extensive

evidentiary presentations, arguments from counsel, and instructions from the trial court” and that

“any possible presumption of prejudice was overcome by these facts.” Order 24. That finding is



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unsupported by any evidence in the record. The trial court does not cite or refer to any evidence

presented at the evidentiary hearing to support that finding—for which the State did not even argue.

        The evidence presented at the hearing was that nine jurors testified that they did not hear

Ms. Hill comment on the merits of the case before the verdict, three jurors (P, X, and Z) and the

alternate juror testified that Ms. Hill commented to the jury about Mr. Murdaugh’s testimony in

his own defense, one deliberating juror and the alternate juror testified that Ms. Hill told jurors not

to believe or be fooled by the defense—and that deliberating juror testified that Ms. Hill’s

comments influenced her decision on the verdict, and the Barnwell County Clerk of Court who

participated in the trial nearly every day testified that Ms. Hill made similar comments to her and

that Ms. Hill repeatedly stated that a guilty verdict would help her book sales. Statement of the

Case, supra, at 4–8. Further, the trial court did not examine Juror 785, who was impaneled from

the start of the murder trial until the very last day, even though she was at the courthouse and

available to testify. Evid. Hr’g Tr. 173:11–19. Juror 785 has also given a sworn statement that she

too heard Ms. Hill say that jurors should not be “fooled by” the defense. Mot. New Trial Ex. H

¶ 2.

        That record provides no support whatsoever for a finding that the State overcame any

presumption of prejudice. Based on the trial court’s commentary in same paragraph of order in

which it presents this finding about the “six-week trial with its extensive evidentiary presentations”

(Order 24) and its unusual action to summon the gallery back to the courtroom after the

adjournment of the evidentiary hearing to proclaim, “I agree that the evidence was overwhelming

and the jury verdict not surprising” (Evid. Hr’g Tr. 254:3–16, 255:19–20), it appears that its finding

that “any possible presumption of prejudice was overcome” is based solely on its own opinion that

the correct verdict was rendered at trial. That was an abuse of discretion. Because no evidence




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supports the trial court’s finding that “any possible presumption was overcome,” this Court should

disregard it.

        Finally, the throwaway line in the state-drafted order that “any comments [from Ms. Hill

to jurors] that occurred were cured by the trial court’s extensive instructions,” Order 22, has no

merit whatsoever. During trial, Judge Newman was unaware of Ms. Hill’s jury tampering so of

course he gave no curative instructions regarding her tampering. He only gave the usual jury

instructions given in every trial—do not discuss the case with anyone, do not seek outside

information or watch news reports about the case, and consider only the evidence presented in the

courtroom when deliberating. Order 22–23. Jury instructions given to every jury, from a trial

judge unaware that any jury tampering is taking place, cannot “cure” jury tampering by a state

official going into the jury room to advocate for a guilty verdict so she can sell books about it. See

Remmer, 347 U.S. at 229 (jury tampering in a criminal case is presumptively prejudicial);

Cameron, 311 S.C. at 207-08, 428 S.E.2d at 12 (holding “the private communication of the court

official to members of the jury” means “a new trial must be granted unless it clearly appears that

the subject matter of the communication was harmless”). The trial court’s citation to State v.

Grovenstein, 335 S.C. 347, 517 S.E.2d 216 (1999), in support of its conclusion that the standard

jury instruction not to consider external influences cures all jury tampering, known or unknown,

is completely off-point. Grovenstein involved a curative instruction specific to the external

influence at issue given by the trial judge to the jury after he learned of the external influence—

which was nothing more than the alternate juror remaining with the jury for 20 or 30 minutes after

the case was submitted. 335 S.C. at 353, 517 S.E.2d at 219.

        Because the undisputed evidence admits only one reasonable inference, that no

presumption was (or could have been) overcome, this Court should hold the presumption of




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prejudice to Mr. Murdaugh’s right to a fair trial was not rebutted, vacate his convictions, and

remand for a new trial.

II.    PREJUDICE WAS PROVEN AT THE EVIDENTIARY HEARING.

       As noted above, in Parker v. Gladden the U.S. Supreme Court held that the Supreme Court

of Oregon erred in holding a bailiff’s statement to a juror that the defendant “is guilty” did not

require a new trial because the defendant did not prove the comment affected the verdict. 385 U.S.

at 366. The Supreme Court ruled “‘the “evidence developed” against a defendant shall come from

the witness stand in a public courtroom where there is full judicial protection of the defendant’s

right of confrontation, of cross-examination, and of counsel.’” Id. at 364 (quoting Turner, 379

U.S. at 472–473). It further ruled the state’s argument that the defendant did not show the comment

prejudiced him ignored the “official character of the bailiff—as an officer of the court as well as

the State.” Id. at 365. Here, Mr. Murdaugh’s motion for a new trial asserted a much higher-ranking

official made equally direct comments (and more of them) to jurors during a criminal trial. Parker

therefore would seem to control if the comments were made. The State’s prehearing brief

implicitly admitted this point:

       Finally, Murdaugh cites to Parker v. Gladden, 385 U.S. 363 (1966), and argues it
       represents that the statement of “that wicked fellow, he is guilty” cannot be
       harmless. However, Parker is factually distinguishable because he was able to do
       what Murdaugh cannot: ‘one of the jurors testified that she was prejudiced by the
       statements[.]’ . . . In this case, Murdaugh has presented an affidavit from a single
       juror who deliberated, and that juror prescribed her verdict to pressure from other
       jurors—not anything Clerk Hill allegedly said.

Resp’t’s Prehearing Br. 10.

       That point blew up at the evidentiary hearing.9 Not only did Mr. Murdaugh prove the

comments were made, but a juror also testified they influenced the verdict. In Parker, the juror


9
 That was not the only instance in which the State’s return to the motion was overtaken by events.
In its return, the State also claimed Mr. Murdaugh’s allegations that Ms. Hill committed


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only testified, regarding the bailiff’s statement, that “all in all it must have influenced me. I didn’t

realize it at the time.” Parker, 385 U.S. at 366 n.3. At the evidentiary hearing, Juror Z gave much

more definitive testimony:

        Q. All right. Was your verdict influenced in any way by the communications of the
        clerk of court in this case[?]

        A. Yes, ma’am.

        Q. And how was it influenced?

        A. To me, it felt like she made it seem like he was already guilty.

        Q. All right, and I understand that, that that’s the tenor of the remarks she made.
        Did that affect your finding of guilty in this case?

        A. Yes, ma’am.

Evid. Hr’g Tr. 46:6–15. In Parker, the juror testified “it must have influenced me,” but in this case

the juror testified “it did influence me.”

        Parker therefore controls this case. If a bailiff stating, “that wicked fellow, he is guilty,”

to a juror who later testifies that statement “must have influenced me,” requires a new trial, then a

much more senior court official saying not to be “fooled by” evidence presented by the defense

and not to believe the defendant when he testifies to a juror who later testifies those statements did

influence her, must require a new trial. The prejudice is proven. And there is no question about

the continued viability of Parker—it is a landmark case that incorporated the Sixth Amendment

right to an impartial jury to the states. 385 U.S. at 364.




wrongdoing were not “even remotely plausible” and that he was merely “projecting his own
calculating, manipulative psyche onto a dedicated public servant”—ironically referring to Ms.
Hill. State’s Return to Mot. New Trial 18. After that filing, Ms. Hill’s ethics commissions
complaints were referred for criminal prosecution, her book was withdrawn for publication due to
plagiarism, and she resigned from office in disgrace.


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       Although Mr. Murdaugh’s counsel argued Parker in, inter alia, his pretrial brief, his reply

pretrial brief, and his written objections to the trial court’s proposed questions to the jurors, the

trial court studiously avoided the case. Instead, the trial court erroneously required that Mr.

Murdaugh, in addition to proving that Ms. Hill did tamper with the jury about the merits of his

case during trial, must also prove that tampering affected the deliberating jurors’ subjective

decision to vote for a guilty verdict.

       Of course, questioning jurors about what motivated them to vote in a certain way when

rendering their verdict is improper, and the defense objected. E.g., Ltr. from R. Harpootlian to

Ret. Chief Justice Toal, at 1–2; Evid. Hr’g Tr. 49:9–51:3. Rule 606(b) of the South Carolina Rules

of Evidence provides,

       Upon an inquiry into the validity of a verdict or indictment, a juror may not testify
       as to any matter or statement occurring during the course of the jury’s deliberations
       or to the effect of anything upon that or any other juror’s mind or emotions as
       influencing the juror to assent to or dissent from the verdict or indictment or
       concerning the juror’s mental processes in connection therewith, except that a juror
       may testify on the question whether extraneous prejudicial information was
       improperly brought to the jury’s attention or whether any outside influence was
       improperly brought to bear upon any juror.

“Thus, juror testimony or affidavits are admissible to prove an allegation of extraneous information

or influence,” State v. Zeigler, 364 S.C. 94, 110, 610 S.E.2d 859, 867 (Ct. App. 2005), but not to

prove the “effect” of that information “upon that or any other juror’s mind or emotions as influence

the juror to assent to or dissent to the verdict,” Rule 606(b), SCRE. “[I]nquiry into the motives of

individual jurors and conduct during deliberations is never permissible; any investigation must

focus solely on whether the jury was exposed to external influences and, from an objective

perspective, whether such influence was likely to have affected the jury’s verdict.” Mahoney v.

Vondergritt, 938 F.2d 1490, 1492 (1st Cir. 1991) (emphasis added) (construing substantively

identical federal Rule 606(b)); see also Minnesota v. Cox, 322 N.W.2d 555, 559 (Minn. 1982)



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(“Therefore, the proper procedure for reviewing a jury verdict is to determine from juror testimony

what outside influences were improperly brought to bear upon the jury and then estimate their

probable effect on a hypothetical average jury.” (citing United States ex rel. Owen v. McMann, 435

F.2d 813, 820 (2d Cir. 1970) & Massachusetts v. Fidler, 385 N.E.2d 513, 519 (Mass. 1979)).

       The “probable effect on a hypothetical average jury” of being told not to believe the

defendant when he testifies in his own defense, by the elected official who administered the oath

to them when they were impaneled, is prejudice against the defendant. So, the State requested the

trial court instead to ask jurors whether Ms. Hill’s comments affected their decision to vote guilty

in this case. The State requested this because it thought it knew what the answer would be, as

evident by the statement in its prehearing brief that “Parker is factually distinguishable because

he was able to do what Murdaugh cannot: ‘one of the jurors testified that she was prejudiced by

the statements[.]’” Resp’t’s Prehearing Br. 10.

       But when Juror Z unexpectedly testified that she was prejudiced by Ms. Hill’s statements,

the State was cornered. Even under the incorrect legal standard adopted by the trial court, Mr.

Murdaugh prevailed. He proved the verdict was influenced by Ms. Hill’s jury tampering. One

deliberating juror did testify that her verdict was influenced by Ms. Hill’s jury tampering. And no

evidence was presented to controvert Juror Z’s testimony or to show any bias or motive

for falsehood.

       The only way out was for the trial court to decide that Juror Z’s uncontroverted testimony

in open court about her own state of mind and her own mental processes was not credible:

       Juror Z, I asked you previously was your verdict on March 2, 2023, influenced in
       any way by communications from Becky Hill, the clerk of court. You answered
       that question yes. In light of what you said in the affidavit, which is:

           I had questions about Mr. Murdaugh’s guilt but voted guilty because I felt
           pressured by the other jurors.



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       Is that answer that I just read a more accurate statement of how you felt?

       MR. HARPOOTLIAN: Object to the form, Your Honor.

       THE COURT: Overruled.

       A. Yes, ma’am.

       Q. All right. So, you do stand by the affidavit?

       A. Yes, ma’am.

       Q. Very good.

Evid. Hr’g Tr. 55:1–56:7. After Juror Z left the courtroom, Mr. Murdaugh’s counsel objected that

there was no inconsistency with being influenced both by Ms. Hill’s comments during the

presentation of evidence at trial and by other jurors during deliberations. Id. 58:2–22. Juror Z

attempted to make this point herself, but the trial court would not permit any further testimony or

examination of her. So, through her own counsel, she provided an affidavit that day averring,

       1. I would like to clarify my testimony today.

       2. As I testified, I felt influenced to find Mr. Murdaugh guilty by reason of Ms.
          Hill’s remarks, before I entered the jury room.

       3. Once deliberations began as I stated in paragraph 10 of my earlier affidavit, I
          felt further, additional pressure to reach the guilty verdict.

Juror Z Aff., January 28, 2024. The trial court nevertheless held “this Court does not find credible

Juror Z's ambivalent and self-contradicted statements to the contrary that her verdict was in any

way affected by any comments from Clerk Hill.” Order 21.

       Because the trial court elected to disregard Rule 606(b), we do not have an objective inquiry

into whether Ms. Hill’s comments likely would have affected a jury, but instead have a credibility

determination about whether those comments affected this jury. That determination is based on a

court-conducted, inquisitorial inquiry into a juror’s own internal mental processes, a subject the



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trial court was forbidden by law to inquire into, and based on the strange reasoning that if a juror

testifies she was influenced by external tampering, she has violated her oath to follow the judge’s

instructions not to based her verdict on anything but the evidence presented in court, and therefore

her testimony that she was influenced should be disregarded. See Order at 20–21. Or that if she

testifies that she was influenced by other deliberating jurors during deliberations, any testimony

that she also was influenced by events that happened during trial before deliberations should be

disregarded. Id.

       This is a bizarre and legally untenable result. Juror Z, who has direct knowledge of her

own mental processes, said those mental processes were influenced by Ms. Hill’s comments that

she should not be fooled by the defense. The trial judge—who knows nothing of Juror Z’s mental

processes other than how Juror Z describes them—presumed to tell Juror Z that she was mistaken,

and that Ms. Hill did not influence her. It is extraordinary that the trial judge believed she knew

Juror Z’s mental processes better than Juror Z.

       Juror Z did not ask to be placed in this situation. She sat in a courtroom, isolated from her

normal life and work, for six weeks because someone she did not know was accused of committing

a crime that had nothing to do with her. That is a tremendous public service for which she has not

been compensated in any meaningful way. She has maintained her anonymity. She has not

“cashed-in” with media appearances. She is not, as the State has scurrilously argued, an ally or

advocate for Mr. Murdaugh. See Resp’t’s Prehearing Br. 18 (accusing Juror Z’s lawyer of being

“an agent of Murdaugh”). She voted to convict him of murder. She has no reason to lie. She has

simply been honest about what Ms. Hill did during the trial and the effect it had on her own

deliberations.




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        It was an abuse of discretion for the trial court to disregard Juror Z’s testimony about her

own mental processes simply because her testimony met a legal standard the State thought that

Mr. Murdaugh could not possibly satisfy. The trial judge’s characterization of her testimony as

“ambivalent” is unsupported by any evidence in the record. When asked, “Was your verdict

influenced in any way by the communications of the clerk of court in this case[?]” she answered,

“Yes, ma’am.” Evid. Hr’g Tr. 46:6–14. When asked, “And how was it influenced?” she answered,

“To me, it felt like she made it seem like he was already guilty.” Id. When asked, “Did that affect

your finding of guilty in this case?” she answered “Yes, ma’am.” Id. No reasonable person can

say that is “ambivalent” testimony.

         The only reasonable inference from the record is that Ms. Hill’s jury tampering did

influence at least one juror’s decision to vote for a guilty verdict. The Court therefore should

reverse the trial court and vacate the murder and firearms convictions.

III.    SECRET ADVOCACY FOR A GUILTY VERDICT IN THE JURY ROOM DURING
        A CRIMINAL TRIAL BY A STATE OFFICIAL IS A STRUCTURAL ERROR IN
        THE TRIAL THAT CANNOT BE HARMLESS.

        Sustaining a conviction based on the trial judge’s opinion that the strength of the evidence

against the accused regardless of improper external influences on the jury from court officials

about the merits of the case is effectively a directed verdict for the prosecution—a statement that

whatever happened at trial simply does not matter because the evidence can admit only one result

regardless. That would be structural error. Cf. Neder v. United States, 527 U.S. 1, 34 (1999)

(Scalia, J., concurring in part) (noting that even if “the judge certainly reached the ‘right’ result,”

“a directed verdict against the defendant . . . would be per se reversible no matter how

overwhelming the unfavorable evidence,” because “[t]he very premise of structural-error review

is that even convictions reflecting the ‘right’ result are reversed for the sake of protecting a basic

right” (emphasis in original)).


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       When the jury returned guilty verdicts in this case, the trial court congratulated the jury

that “certainly the verdict that you have reached is supported by the evidence, circumstantial

evidence, direct evidence, all of the evidence pointed to only one conclusion, that’s the conclusion

you all have reached. So, I applaud you all for . . . coming to a proper conclusion.” Trial Tr.

5877:17–23. Even before Ms. Hill’s misconduct was known, the trial court foreshadowed the

outcome of the “harmless error” analysis it applied to Mr. Murdaugh’s new trial motion: The trial

court held that Ms. Hill’s jury tampering could not “in any way undermine the fairness and

impartiality of [the] six-week trial with its extensive evidentiary presentations, arguments from

counsel, and instructions from the trial court” and “any possible presumption of prejudice was

overcome by these facts.” Order 24.

       But, again, the prejudice at issue, whether it is presumed or must be proven, is not an

incorrect verdict. Jury tampering is prejudicial if it denies the accused a fair trial. The strength of

the State’s evidence against the accused cannot cure the denial of his right to a fair trial. See, e.g.,

Parker, 385 U.S. at 363–65. Thus, the rule for deciding whether to grant Mr. Murdaugh a new

trial is not whether the trial court believes the outcome of the trial would have been the same had

Ms. Hill’s jury tampering not occurred. If that were the case, the trial court should deny a motion

for a new trial even if she paid the jury to vote guilty, because, in the trial court’s opinion, “all of

the evidence pointed to only one conclusion”—the guilt of the accused. As explained above, Rule

606(b) forbids asking jurors to give their own opinions as to whether jury tampering influenced

them and then basing a decision for a new trial on that testimony. Courts instead must determine

what tampering occurred and then undertake an objective analysis of whether that tampering would

bias a jury. See, e.g., Manley v. AmBase Corp., 337 F.3d 237, 252 (2d Cir. 2003) (“[C]ourts must

apply an ‘objective test,’ . . . focusing on two factors: (1) ‘the nature’ of the information or contact




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at issue, and (2) ‘its probable effect on a hypothetical average jury.’”); United States v. Lloyd, 269

F.3d 228, 238 (3d Cir. 2001) (“[W]e must conduct ‘an objective analysis by considering the

probable effect of the allegedly prejudicial information on a hypothetical average juror.’”); Haugh

v. Jones & Laughlin Steel Corp., 949 F.2d 914, 917 (7th Cir. 1991) (“The proper procedure

therefore is for the judge to limit the questions asked the jurors to whether the communication was

made and what it contained, and then, having determined that the communication took place and

what exactly it said, to determine—without asking the jurors anything further and emphatically

without asking them what role the communication played in their thoughts or discussion—whether

there is a reasonable possibility that the communication altered their verdict.”). Courts cannot

avoid that analysis by speculating that an unbiased jury would come to the same verdict as a

biased one.10

       The issue here is not whether a juror engaged in misconduct, not whether some member of

the public engaged in misconduct, nor even whether a bailiff made an improper statement. The

issue is whether an elected state official using the power of her office to enter the jury room during

trial to advocate against the defendant to promote her own interests is a structural error in the

conduct under the trial, under the principle that all evidence and argument presented to the jury

must be presented in the courtroom. See Turner, 379 U.S. at 472–73 (“In a constitutional sense,


10
   Additionally, the trial court’s belief that the evidence against Mr. Murdaugh is “overwhelming”
is unsupported by the record. There was no direct evidence of Mr. Murdaugh’s guilt; during the
trial the trial court stated this is a circumstantial case. Trial Tr. 2191:4–5. The State’s evidence
against Mr. Murdaugh was his proximity to his family near the time they were murdered, actions
and behaviors by him after the murders that cast suspicion on him, and his bad character as an
admitted thief and drug addict. Crime scene and cell phone forensic evidence strongly suggests
other persons were involved in committing the murders that night. But argument regarding the
weight of the evidence presented at the six-week trial is appropriately made in the direct appeal
from that trial and not in this appeal from the one-day evidentiary hearing on the collateral issue
of Ms. Hill’s jury tampering. No argument or evidence was presented to Justice Toal in the
evidentiary hearing proceedings regarding the strength of the evidence presented at trial.


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trial by jury in a criminal case necessarily implies at the very least that the ‘evidence developed’

against a defendant shall come from the witness stand in a public courtroom where there is full

judicial protection of the defendant’s right of confrontation, of cross-examination, and of

counsel.”). That would necessarily bias a jury against the defendant. It was an abuse of discretion

for the trial court instead to reason that it does not matter whether that happened because any jury,

biased or unbiased, would reach the same verdict in this case. Again, the right at issue is the

constitutional right to trial before an unbiased jury, not a right to a correct verdict.

        The undisputed evidence and findings from the evidentiary hearing are that Ms. Hill did

engage in jury tampering. Three jurors and the alternate juror testified that Ms. Hill made

comments to them regarding the merits of Mr. Murdaugh’s testimony in his own defense.

Statement of the Case, supra, at 4–8. One juror and the alternate testified that she told them not

be “fooled by” the defense. Id. The only witness to contradict any of that testimony was Ms. Hill,

whom the trial court found to be not credible. Id. One juror even testified that Ms. Hill’s conduct

did influence her decision to vote guilty. Id.

        It has long been held to be a structural error for a state actor to engage in ex parte advocacy

to the jury during trial. “The requirement that a jury’s verdict must be based upon the evidence

developed at the trial goes to the fundamental integrity of all that is embraced in the constitutional

concept of trial by jury.” Turner, 379 U.S. 466, 472 (1965) (internal quotation marks omitted).

“The evidence developed against a defendant shall come from the witness stand in a public

courtroom where there is full judicial protection of the defendant’s right of confrontation, of cross-

examination, and of counsel . . . .” Parker, 385 U.S. at 364. In Simmons v. South Carolina, the

U.S. Supreme Court similarly held it is unconstitutional for the defendant to receive the death




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penalty “on the basis of information which he had no opportunity to deny or explain.” 512 U.S.

154, 161 (1994) (internal quotation marks omitted).

       The principle is ancient and foundational to our system of trial by jury:

       In the ultimate analysis, only the jury can strip a man of his liberty or his life. In
       the language of Lord Coke, a juror must be as ‘indifferent as he stands unsworne.’
       His verdict must be based upon the evidence developed at the trial. This is true,
       regardless of the heinousness of the crime charged, the apparent guilt of the
       offender or the station in life which he occupies. It was so written into our law as
       early as 1807 by Chief Justice Marshall in 1 Burr’s Trial 416 (1807).

Irvin v. Dowd, 366 U.S. 717, 722 (1961) (citations omitted). What is now called the Remmer

presumption is far older than the 1954 Remmer decision. “Private communications, possibly

prejudicial, between jurors and third persons, or witnesses, or the officer in charge, are absolutely

forbidden, and invalidate the verdict, at least unless their harmlessness is made to appear.” Mattox

v. United States, 146 U.S. 140, 150 (1892).11 Likewise,

       It is well settled, that it is not necessary to show that the minds of the jury, or of any
       member of it, were influenced. It is sufficient to show that intermeddling did take
       place, to set aside the verdict. Too much strictness cannot be exercised in guarding
       trials by jury from improper influence. It has been said that, “this strictness is
       necessary to give confidence to parties in the results of their causes; and every one
       ought to know that, for any, even the least, intermeddling with jurors, a verdict will
       always be set aside.”- Knight v. Freeport, 13 Mass. 220.

       This is the language of the Supreme Court of Massachusetts in a civil cause. How
       much more important is it, to guard the purity of jury trials, against improper
       influence, when the matter at stake is the life or liberty of a prisoner.

       The authorities upon this point all agree; and, as they are very numerous . . . .


11
   Maddox was superseded in 1975 by Rule 606(b) of the Federal Rules of Evidence on a separate
issue regarding the admissibility of juror testimony to impeach the verdict. But it is still currently
cited by federal appellate courts for the principle that when state officials communicate ex parte
with the jury about the merits of the case during trial, a new is required. E.g., Tarango, 837 F.3d
at 947 (“Mattox and its progeny further establish that undue contact with a juror by a government
officer almost categorically risks influencing the verdict.”).




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Pope v. Mississippi, 36 Miss. 121, 124 (Miss. Err. & App. 1858). For an even older example,

          An officer is sworn to keep the jury, without permitting them to separate, or any
          one to converse with them; for no man knows what may happen; although the law
          requires that honest men should be returned upon juries, and, without a known
          objection, they are presumed to be probi et legales homines, yet they are weak men,
          and perhaps may be wrought upon by undue applications. The evil to be guarded
          against, is improper influence; and when an exposure to such an influence is shown,
          and it is not shown that if failed of effect, then the presumption is against the purity
          of the verdict.

Lord Delamere’s Case, 4 Harg. St. T. 232 (Eng. 1685).

          Contrary to the State’s position before the trial court, the Court has not abrogated or

abandoned this foundational principle that when the State’s officials engage in ex parte

communications with the jury during trial about the merits of the case, a new trial is required. Nor

has the U.S. Supreme Court opened a door that could allow states to abandon that principle. All

that has happened is a sensible restriction of the principle to exclude improper communications

that do not bear on the merits of the issue before the jurors. See Green, 432 S.C. at 100, 851 S.E.2d

at 441.

          In the trial court, the State complained that this sort of tampering happens so commonly

that it “cannot overstate the impossibility” of considering it a structural error. Resp’t’s Br. 12.

That exactly reverses the issue. Nothing like Ms. Hill’s conduct has ever happened before this

case. Most likely it will never happen again. The impossibility is found in excusing Ms. Hill’s

conduct with post hoc reasoning that her tampering probably did not change the outcome of the

trial (even though one juror said it did).         If Ms. Hill’s misconduct is excused, then truly

anything goes.

          The public rightly sees Mr. Murdaugh’s downfall as an exposé of privilege and corruption

in South Carolina’s legal system and the citizens of South Carolina need more from this case than

confirmation of their own social-media-fed ideas about the details of a crime they did not witness.



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They need to see that their legal system actually works. Satisfying public desire to see a hated

man punished is not why we have a legal system. If Mr. Murdaugh is to be convicted of murder,

the citizens of South Carolina need to see him convicted by a process they would agree is fair if

they were the defendants. No reasonable man would agree, if he were on trial for his life, that

having the clerk of court secretly advocate against him in the jury room so she can sell books about

his conviction would be a fair trial. Providing Mr. Murdaugh with the fair trial that every citizen

of South Carolina would expect for himself is necessary assure all that no one—powerful or

humble, innocent or guilty, hated or beloved—is proscribed from due process and the equal

protection of the law.

                                          CONCLUSION

       Any person accused of a crime—even Alex Murdaugh—has a constitutional right to a fair

trial. When a fair trial is denied, he is entitled to a new, fair trial—he is not required to earn it by

proving he would have been acquitted had he been given a fair trial the first time. Judges’ opinions

regarding the strength of the State’s evidence against the accused are not a substitute for the

presentation of that evidence at a fair trial. The Court therefore should follow clearly established

federal constitutional law, which accords fully with the jurisprudence of this State, and reverse the

trial court’s denial of Mr. Murdaugh’s motion for a new trial and vacate his murder and firearms

convictions.

                                      [signature block follows]




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                        COMMONWEALTH OF MASSACHUSETTS
                            SUPREME JUDICIAL COURT

Suffolk, ss.                                                             No. SJ-2024-


                                       KAREN READ,
                                         Petitioner

                                               v.

                       COMMONWEALTH OF MASSACHUSETTS,
                                 Respondent.




                  RECORD APPENDIX OF PETITIONER KAREN READ




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September 11, 2024




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                       COMMONWEALTH OF MASSACHUSETTS

     NORFOLK, SS.                            SUPERIOR COURT DEPARTMENT
                                             OF THE TRIAL COURT


     * * * * * * * * * * * * * * * * *
                                     *
     COMMONWEALTH OF MASSACHUSETTS   *
                                     *
     vs.                             *               Indictment No.
                                     *               2282CR00117
     KAREN READ                      *
                                     *
     * * * * * * * * * * * * * * * * *




                        Day 37 - Trial with Jury
                  Before the Honorable Beverly Cannone

                  Transcript of the Charge to the Jury


     APPEARANCES:

     For The Commonwealth:
     BY: Adam Lally
         Laura McLaughlin
         Assistants District Attorney

     For Karen Read:
     BY: Alan Jackson
         David Yannetti
         Elizabeth Little
         Attorneys at Law


                                           Norfolk Superior Courthouse
                                           Dedham, Massachusetts
                                           Tuesday, June 25, 2024


                              Paula M. Mills
                     Retired Certified Court Reporter
                        and Court Transcriptionist




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 1                               P R O C E E D I N G S

 2                                   June 25, 2024

 3        (Court in session.)

 4        (Defendant present.       Jury present.)

 5                           JUDGE'S CHARGE TO THE JURY

 6                   THE COURT:     All right, jurors.           Thank you for

 7             serving on this jury and for being so attentive.

 8             You will soon deliberate for the purposes of

 9             reaching a verdict in this case.             But, before you

10             do that, it's my responsibility to give you

11             instructions concerning the law.

12                   The instructions are divided into three parts.

13             The first is general instructions that are provided

14             in every criminal case; the second, specific

15             instructions concerning the crimes alleged in this

16             case; and, third, guidelines for your

17             deliberations.       Please listen carefully to all of

18             the instructions.        Do not ignore any instruction or

19             give special attention to any other instruction.

20                   To make sure that I give you the instructions

21             accurately, I will read them to you.               You will also

22             get a written copy.        I'll probably send in three or

23             four to the jury so that you can refer to it in the

24             jury room during your deliberations.               I will try to

25             make sure that my oral instructions match the




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 1             written instructions.            If there is any difference

 2             between what I say aloud and what the written

 3             instructions say, please follow what I say aloud.

 4                   You must take the law as I give it to you.

 5             You may not quarrel with it.             You can't do that

 6             regardless of any opinion you may have as to what

 7             you think the law ought to be.              What the lawyers or

 8             witnesses may say or suggest about the law is not

 9             necessarily the law.        That's because it's my

10             responsibility as the judge and mine, alone, to

11             instruct you on what the law is.               So I now will

12             turn to part one of the instructions, the general

13             instructions that apply to all criminal cases.

14                   As I explained to you at the beginning of the

15             trial, there is a fundamental rule that applies in

16             all criminal case, including this case.                  Every

17             person who is accused of a crime is presumed to be

18             innocent of that crime.           Ms. Read is presumed

19             innocent of the charges in this case.                 That means

20             you must consider Ms. Read to be innocent unless

21             the prosecution has proved beyond a reasonable

22             doubt through evidence presented during the trial

23             that Ms. Read committed the crimes charged.                   I will

24             explain reasonable doubt in just a moment.

25                   Ms. Read does not have to do anything to




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 1             convince you that she is innocent.                She does not

 2             have to explain anything.          Ms. Read does not have

 3             to testify, call or question witnesses or provide

 4             any evidence at all because you must presume she is

 5             innocent.

 6                   Instead, it is up to the Commonwealth to prove

 7             the charges against Ms. Read beyond a reasonable

 8             doubt.    The burden of proof never shifts to the

 9             defendant.

10                   After you have considered all the evidence

11             carefully and fairly, if you have a reasonable

12             doubt about Ms. Read's guilt on a particular

13             charge, then your verdict must be not guilty on

14             that charge.      You may find Ms. Read guilty of a

15             charge only if all 12 deliberating jurors agree

16             that the Commonwealth has proved the charge beyond

17             a reasonable doubt.

18                   What is proof beyond a reasonable doubt?                 The

19             term is often used and probably pretty well

20             understood, though it is not easily defined.                  Proof

21             beyond a reasonable doubt does not mean proof

22             beyond all possible doubt for everything in the

23             lives of human beings is open to some possible or

24             imaginary doubt.

25                   A charge is proved beyond a reasonable doubt




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 1             if after you have compared and considered all the

 2             evidence, you have in your minds an abiding

 3             conviction to a moral certainty that the charge is

 4             true.

 5                   When we refer to moral certainty, we mean the

 6             highest degree of certainty possible in matters

 7             relating to human affairs based solely on the

 8             evidence that has been put before you in this case.

 9                   I have told you that every person is presumed

10             to be innocent unless and until he or she is proved

11             guilty and that the burden of proof is on the

12             Commonwealth.       If you evaluate all the evidence and

13             you still have a reasonable doubt remaining, the

14             defendant is entitled to the benefit of that doubt

15             and must be acquitted.

16                   It is not enough for the Commonwealth to

17             establish a probability, even a strong probability,

18             that the defendant is more likely to be guilty than

19             not guilty.       That is not enough.        Instead, the

20             evidence must convince you of the defendant's guilt

21             to a reasonable and moral certainty, a certainty

22             that convinces your understanding and satisfies

23             your reason and judgment as jurors who are sworn to

24             act conscientiously on the evidence.               This is what

25             we mean by proof beyond a reasonable doubt.




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 1                   Now, how do you decide whether the

 2             Commonwealth has proven each element of an

 3             indictment is true beyond a reasonable doubt?

 4             Let's talk first about the rules we all have.

 5                   You folks are the most important people in the

 6             courtroom.        It all begins and ends with your

 7             function.     You will determine the facts in this

 8             case, and that is your job and your job, alone.

 9             You are the sole and exclusive judges of the facts.

10             If there are any conflicts in the testimony, it is

11             your job to resolve those conflicts if you can do

12             so.

13                   Once you determine the facts, it is your duty

14             to apply those facts to the law as I explain it to

15             you and to determine whether the Commonwealth has

16             proven its case beyond a reasonable doubt.                  You

17             must determine the facts solely and entirely on the

18             evidence as you have heard it and seen it in this

19             courtroom and on nothing else, no prejudice, no

20             bias, no fear, no favor.

21                   You must not be swayed by personal likes or

22             dislikes.     Your deliberations are no place for

23             emotion or sympathy, passion or prejudice.                  The

24             Commonwealth and Karen Read have a right to have

25             the case judged by fair and impartial jurors.                   All




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 1             parties who come before the court stand as equals

 2             before you.       Therefore, your verdicts must be based

 3             on the law as I've given it to you and on the

 4             evidence and the facts that you find and nothing

 5             else.

 6                   You cannot allow yourselves to be influenced

 7             by any personal feelings you may have about the

 8             nature of the crimes with which Ms. Read has been

 9             charged or the consequences of your verdict, just

10             the cool, reflective and impartial sifting of the

11             evidence so that here in this courtroom justice may

12             be done.

13                   Now, your focus is on the evidence.               I am the

14             judge of the law.       My job is to teach you the law

15             that you must follow in this case.                However, I have

16             no opinion about how you decide this case.                  You

17             should not consider anything I have said or done

18             during the trial as reflecting any opinion by me

19             about how you should decide this case.

20                   If you believe that I have an opinion about

21             the facts of this case, you must disregard it.                    You

22             must decide this case based solely on the

23             evaluations of the evidence.

24                   Now, the arguments of the lawyers are not

25             evidence.     They are not witnesses.             If a lawyer




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 1             during argument made a mistake in summarizing the

 2             evidence or argued something not supported by the

 3             evidence, you must disregard it.             It is the jury's

 4             collective memory of the evidence that controls the

 5             matter.

 6                   Lawyers' objections are a proper part of the

 7             Court's procedure and are not part of the evidence.

 8             So don't hold it against the lawyers or their

 9             client if they made objections, motions or other

10             requests.     They are simply doing their job during a

11             trial.

12                   There was testimony at trial that the lawyers

13             interviewed witnesses when preparing for and during

14             the course of the trial.          You may not draw any

15             unfavorable inferences solely from that fact.

16             There is nothing improper about conducting such

17             interviews.       On the contrary.       The lawyers are

18             obliged to prepare their case as thoroughly as

19             possible and may interview witnesses.

20                   Now, the verdict must be based only on the

21             evidence and the jury's collective reasoning

22             applied to the evidence in a fair and impartial

23             manner.     The extent to which you believe or

24             disbelieve a witness or what a witness purports to

25             show, the importance to give any testimony or other




     R. 153                             R.059
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 1             evidence is entirely up to your own good judgment.

 2             The evidence consists of the testimony of the

 3             witnesses and the exhibits in the case.

 4                   There are some things you have heard about

 5             that have not been introduced into evidence such as

 6             written statements by witnesses, police reports,

 7             autopsy and accident reconstruction reports.

 8             Occasionally during the trial, you have heard

 9             references to such documents and you may naturally

10             wonder why neither side introduced any of them into

11             evidence.

12                   The answer is that under our rules of

13             evidence, such reports usually may not be admitted,

14             although the parties may refer to them for certain

15             limited purposes while questioning witnesses.                  So

16             you should not hold it against any party that you

17             do not have them, and neither should you speculate

18             on what they may or may not contain.

19                   Similarly, as you review exhibits, you may

20             find that some information has been removed because

21             it is not relevant.        Please ignore that and don't

22             try to guess what may have been removed or why.

23                   Any information that you may have read, heard

24             or seen about this case outside of the courtroom is

25             not evidence.       My instructions to you and any other




     R. 154                             R.060
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 1             comments I made, the lawyers' opening and closing

 2             statements and any comments they may have made are

 3             not evidence.       Answers that I struck from the

 4             record and told you to disregard are not evidence.

 5             Only the testimony of the witnesses, that is, their

 6             answers to questions, and the exhibits are

 7             evidence.

 8                   It is important to remind you folks that the

 9             verdict cannot be based on emotional reaction or

10             sympathy for any person or side of this case.

11             Certain of the testimony and exhibits may have

12             provoked an emotional reaction in all of us.                 You

13             may feel sympathy for the family of Mr. O'Keefe,

14             and you may feel sympathy for the defendant as she

15             sits here in this courtroom.           But your job is to

16             decide the case without bias, fear, sympathy or

17             favor, to view the evidence with a certain clinical

18             detachment and to decide the case based solely on

19             the evidence and the application of the law to that

20             evidence.

21                   I have allowed you to take notes during the

22             trial, and you may refer to those notes during your

23             deliberations.       But remember, they are not evidence

24             or a substitute for the evidence and your

25             recollection.       They are for your personal use.




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                                                                                37-12

 1             Please do not share them with other jurors.

 2                   Consider the evidence as a whole.                  Do not make

 3             up your mind about what the verdict should be until

 4             after you've gone to the jury room to decide the

 5             case and you and your fellow jurors have discussed

 6             the evidence.       Please keep an open mind until then.

 7                   You'll remember that we took a view in this

 8             case.    The purpose of the view was to help you

 9             better understand the evidence that you heard

10             during the trial and to help you appreciate the

11             locations and their surroundings.                 Your

12             responsibility in the view was to see the places,

13             observe them carefully and remember what you saw.

14                   The view is part of this case.               You may use

15             and consider the observations that you made while

16             on the view in your deliberations in reaching a

17             verdict.     The same is true about the demonstration

18             we saw from the witness stand.            The demonstration

19             was done simply to help you understand the

20             evidence, and you may consider it in your

21             deliberations.

22                   It is the jury's job to earnestly seek the

23             truth of the matter.        In doing that, the jury must

24             decide questions of credibility and reliability.

25             The jury must decide how truthful or reliable or




     R. 156                             R.062
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 1             convincing any part of the evidence is.

 2                   In deciding questions of credibility and

 3             reliability, you may rely on your common sense and

 4             reasoning powers and your life experiences.

 5             Consider a witness's testimony in the context of

 6             all the other evidence, not in isolation.                 You may

 7             consider the demeanor, candor and appearance of the

 8             witness in testifying.           Who was the witness?         What

 9             relationship do they have to the case or to the

10             other witnesses or the parties?              Did the witness

11             have any bias, reason or motive to give false or

12             shaded testimony?        If so, you may consider that

13             bias or motive in your deliberations and ultimately

14             as to whether or not it impacts the credibility of

15             the witness and the assessment of the evidence

16             presented.

17                   Is the witness someone likely to give an

18             honest and impartial account?             Consider not just

19             whether the witness was honest but also whether the

20             witness's testimony was accurate and reliable or

21             honestly mistaken.

22                   A prior statement by a witness, if

23             inconsistent with his or her trial testimony in any

24             way, may be considered on the witness's credibility

25             and reliability and only for that purpose.




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 1                   Now, you've heard some evidence suggesting

 2             that the Commonwealth did not conduct certain

 3             scientific tests or otherwise follow standard

 4             procedure during the police investigation.                 This is

 5             a factor you may consider in evaluating the

 6             evidence presented in this case.

 7                   With respect to this factor, you should

 8             consider three questions:          First, whether the

 9             omitted tests or other actions were standard

10             procedure or steps that would otherwise normally be

11             taken under the circumstances; second, whether

12             omitted tests or actions could reasonably have been

13             expected to lead to significant evidence of the

14             defendant's guilt or innocence; and, third, whether

15             the evidence provides a reasonable and adequate

16             explanation for the omission of the tests or other

17             actions.

18                   If you find that any omissions in the

19             investigation were significant and not adequately

20             explained, you may consider whether the omissions

21             tend to affect the quality, reliability or

22             credibility of the evidence presented by the

23             Commonwealth.

24                   All of these considerations involve factual

25             determinations that are entirely up to you, and you




     R. 158                             R.064
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 1             are free to give this matter whatever weight, if

 2             any, you deem appropriate based on all the

 3             circumstances.

 4                   Now, during the trial, I gave you some

 5             limiting instructions on how you were to consider

 6             some of the evidence you heard and, importantly,

 7             how you were not to consider the evidence.                  I am

 8             going to summarize those limiting instructions

 9             here.

10                   Ms. Read is not charged with committing any

11             crime other than the charges contained in the

12             indictments.        You have heard evidence about

13             interactions that Ms. Read had with Mr. O'Keefe and

14             other witnesses in Aruba.           The evidence was

15             admitted solely for your consideration as evidence

16             of the nature of the defendant's relationship with

17             Mr. O'Keefe and whether it goes to her knowledge or

18             intent or motive on January 29th, 2022.

19                   You may not consider that evidence as proof

20             that she has a criminal personality or bad

21             character.        You may not take the defendant's prior

22             acts as a substitute for proof that the defendant

23             committed the crimes charged here or to conclude

24             that if she committed the acts in Aruba, she must

25             also have committed the offenses with which she is




     R. 159                              R.065
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                                                                              37-16

 1             charged here.       You can only use the evidence for

 2             the limited purpose of how it goes to the

 3             defendant's state of mind, motive and nature of her

 4             relationship with John O'Keefe.

 5                   Before you consider any electronic

 6             communication in your deliberations, you must

 7             first find that it is more likely true than not

 8             that the persons who authored them were, in fact,

 9             John O'Keefe, the defendant, or the witnesses who

10             testified about their communication with John

11             O'Keefe and/or the defendant.

12                   If you do not find that it is more likely true

13             than not that John O'Keefe, Karen Read or the

14             witnesses who testified here before you were the

15             person who authored or transmitted the electronic

16             communications, then you may not consider the

17             electronic communications in deciding the case.

18                   Now, the Commonwealth has introduced

19             photographs into evidence.           The photographs may be

20             graphic and unpleasant.          As I told you when you

21             first saw them, your verdict must not in any way be

22             influenced by the fact that these photographs may

23             be graphic or unpleasant.          The defendant is

24             entitled to a verdict based solely on the evidence

25             and not one based on pity or sympathy.               Consider a




     R. 160                             R.066
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 1             photograph only as it may show a medical condition,

 2             the nature of the injuries or the details of the

 3             incident, itself.

 4                   You've heard evidence of statements made by

 5             John O'Keefe.       These statements were admitted only

 6             for a limited purpose of establishing John

 7             O'Keefe's state of mind.          You are not to consider

 8             this testimony as proof that the defendant has bad

 9             character or propensity to commit crimes.

10                   The testimony of witnesses recounting

11             conversations with Mr. O'Keefe or messages the

12             defendant's cell phone received from him can only

13             be used as they go to the defendant's motive or

14             intent on January 29th and only if you find that

15             the defendant was aware of John O'Keefe's state of

16             mind at the time of the crime and would be likely

17             to respond to it.

18                   There need not be direct evidence that the

19             defendant learned of Mr. O'Keefe's state of mind so

20             long as you reasonably can infer from the evidence

21             that she did learn of it.

22                   You also heard testimony about statements

23             allegedly made by Ms. Read.           Before you may

24             consider any such statement, you are going to have

25             to make a preliminary determination whether it can




     R. 161                             R.067
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 162 of 424


                                                                              37-18

 1             be considered as evidence or not and for what

 2             purpose it may be used.

 3                   You may not consider any such statement in

 4             your deliberations for the truth of any such

 5             statement unless from all the evidence in the case

 6             the Commonwealth has proven beyond a reasonable

 7             doubt that the defendant made the statement that

 8             she is alleged to have made and that she made it

 9             voluntarily, freely and rationally.

10                   In determining whether or not any statement

11             made by the defendant was voluntary, you may

12             consider all of the surrounding circumstances.                  You

13             may consider any evidence that you have heard about

14             the defendant's physical and mental condition, her

15             intelligence, age, education and experience.                  Your

16             decision does not turn on any one factor.                You must

17             consider the totality of the circumstances.

18                   Some testimony came from witnesses who saw or

19             heard something.       Some witnesses also told you

20             about opinions or conclusions they reached based on

21             some special training or experience.               But special

22             training or experience does not necessarily make

23             the witness's testimony any more believable or

24             important than any other evidence.

25                   So you should consider the same questions




     R. 162                             R.068
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 163 of 424


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 1             about witness testimony that I mentioned early,

 2             including any bias or motive these opinion

 3             witnesses may have had to testify in a certain way.

 4                   You may also consider the witness's level of

 5             experience and training and whether they base their

 6             opinions on the facts that you find to be true.

 7             There were hypothetical questions asked of some of

 8             these witnesses.        You may give whatever weight you

 9             deem appropriate to the opinion based on the

10             hypothetical but only if after careful

11             consideration you find that all the assumed facts

12             are true.

13                   Remember that witnesses, even those with

14             special training or experience, do not decide

15             cases.    Juries do.       It is up to you whether to

16             accept or reject in whole or in part any opinion or

17             conclusion that a witness offered during the trial.

18                   Now, you have the same powers with respect to

19             the exhibits that you have and the testimony of the

20             witnesses.        Look them over and decide the weight,

21             that is, the value they deserve to receive, in

22             helping you resolve the case as you make your

23             ultimate judgment about whether the Commonwealth

24             has proved its case beyond a reasonable doubt.

25                   You do not have to believe something simply




     R. 163                              R.069
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 164 of 424


                                                                               37-20

 1             because it is written on a piece of paper or

 2             appears in a photograph.           You are not, of course,

 3             required to disbelieve it because it appears there.

 4             You decide whether to believe what the exhibit

 5             purports to show and how much weight, if any, you

 6             give each exhibit.

 7                   Now, you've heard me talk about the sources of

 8             evidence in this case.           Those are the tools that we

 9             have to decide the case.           Now, with the evidence in

10             mind, what can you do with it?

11                   As jurors, you may bring to bear all your

12             knowledge and experience.           You don't check your

13             common sense at the door to the jury room; just the

14             reverse.     I instruct you to use your common sense.

15             Give the evidence a reasonable and fair

16             construction in light of your common knowledge and

17             experience.

18                   In determining the facts in this case, you may

19             draw reasonable inferences from the evidence that

20             you believe because you are entitled to rely upon

21             both direct and indirect or circumstantial

22             evidence.

23                   Direct evidence is evidence of what a witness

24             claims to have seen or heard or touched or somehow

25             perceived with their own senses.              Circumstantial




     R. 164                             R.070
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                                                                               37-21

 1             evidence exists where a witness does not testify

 2             directly to the fact that it sought to be proven

 3             but you are provided with evidence of other facts

 4             and then asked to draw reasonable inferences from

 5             them about the fact that is sought to be proved.

 6             Such inferences may be considered with all of the

 7             other evidence in reaching your verdict.

 8             Circumstantial evidence is competent to establish

 9             guilt beyond a reasonable doubt.

10                   Now, what do I mean by an inference?                An

11             inference is a logical deduction or conclusion that

12             you may but are not required to draw from evidence

13             that you have accepted as believable.

14                   Inferences are little steps in reasoning,

15             steps in which you take some known information,

16             apply your experience in life to it and then draw a

17             conclusion.        Sometimes you can draw more than one

18             inference.        You have to decide which inferences are

19             reasonable and decide which seems more reasonable

20             to you.

21                   Remember, when you are dealing with

22             inferences, you never have to infer anything.                   You

23             may but do not have to draw any inferences

24             whatsoever.        An inference drawn from circumstantial

25             evidence need not be necessary or inescapable, but




     R. 165                              R.071
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                                                                                 37-22

 1             any inference which you do draw must be reasonable

 2             and possible.        It must be logical.            It must be a

 3             natural one which is not too remote in the ordinary

 4             course of events.        You may not guess.            You may not

 5             speculate.        You may not engage is surmise.

 6                   You should not pile inference upon inference

 7             until the pile gets so high that it tips over

 8             logically or the chain gets so weak that it doesn't

 9             hold together anymore.            When you run through your

10             inferences, check the starting point and the ending

11             point to make sure that they are still reasonable.

12                   Further, when the evidence tends equally to

13             give rise to either of two inconsistent

14             propositions, the Commonwealth has established

15             neither proposition.         In order to convict the

16             defendant, you must find that all the evidence and

17             the reasonable inferences that you have drawn,

18             taken together, prove that she is guilty beyond a

19             reasonable doubt.

20                   Let me give you an example of an inference.

21             Suppose that the issue that you must decide is

22             whether the U.S. Postal Service delivered the mail

23             today.    If you go home and someone in your

24             household, a child, roommate or spouse, hands you

25             the mail and states that he or she observed the




     R. 166                              R.072
        Case 1:25-cv-10399-FDS    Document 2-1    Filed 02/18/25   Page 167 of 424


                                                                                37-23

 1             letter carrier deliver the mail and retrieved it

 2             from the mailbox, this would be direct evidence

 3             that the U.S. Postal Service delivered the mail,

 4             the witness perceived the event with his or her own

 5             senses and told you what he or she observed.                   The

 6             issue you would have to decide is whether the

 7             witness is credible.

 8                   On the other hand, if you go home from court

 9             and find mail in the mailbox, you may infer that it

10             was delivered by the U.S. Postal Service today.

11             You draw this reasonable inference based on the

12             following known facts:            The mailbox was emptied

13             yesterday.        You know that the mail is delivered by

14             the U.S. Postal Service Monday through Saturday.

15             The letters in the box are postmarked.

16                   You have exactly the same power in this case,

17             not the power to speculate or to guess but the

18             power to draw reasonable inferences warranted by

19             the evidence in the fashion I have just described.

20                   You may have noticed that the defendant did

21             not testify at this trial.            The defendant has an

22             absolute right not to testify since the entire

23             burden of proof in this case is on the Commonwealth

24             to prove that the defendant is guilty.                 It is not

25             up to the defendant to prove that she is innocent.




     R. 167                              R.073
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                                                                              37-24

 1                   The fact that the defendant did not testify

 2             has nothing to do with the question of whether she

 3             is guilty or not guilty.          You are not to draw any

 4             adverse inference against the defendant because she

 5             did not testify.       You are not to consider it in any

 6             way or even discuss it in your deliberations.                  You

 7             must determine whether the Commonwealth has proved

 8             its case against the defendant based solely on the

 9             testimony of the witnesses and the exhibits.

10                   That completes my first part of the

11             instructions.       Now I'm going to turn to the

12             elements of the charges against Ms. Read.

13                   The Commonwealth has alleged that on January

14             29th, 2022, Ms. Read did assault and beat John

15             O'Keefe with the intent to murder him and by such

16             assault and battery did kill and murder John

17             O'Keefe.     Ms. Read is charged with second degree

18             murder.

19                   In order to prove murder in the second degree,

20             the Commonwealth must prove the following elements:

21             First, the defendant caused the death of John

22             O'Keefe; two, the defendant intended to kill John

23             O'Keefe or intended to cause grievous bodily harm

24             to John O'Keefe or intended to do an act which, in

25             the circumstances know to the defendant, a




     R. 168                             R.074
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                                                                                37-25

 1             reasonable person would have known created a plain

 2             and strong likelihood that death would result.                    I

 3             will now discuss each of these requirements in more

 4             detail.

 5                   The first element is that the defendant caused

 6             the death of John O'Keefe.            A defendant's act is

 7             the cause of death where the act is a natural and

 8             continuous sequence, results in death and without

 9             which death would not have occurred.

10                   The second element is that the defendant

11             intended to kill John O'Keefe or intended to cause

12             grievous bodily harm to John O'Keefe or intended to

13             do an act which, in the circumstances known to the

14             defendant, a reasonable person would have known

15             created a plain and strong likelihood that death

16             would result.

17                   As you can see, the second element has three

18             subparts which I will call prongs, and the

19             Commonwealth satisfies its burden of proof if it

20             proves any one of the three prongs beyond a

21             reasonable doubt.

22                   The first prong is that the defendant intended

23             to kill John O'Keefe.            This means that the

24             defendant consciously and purposefully intended to

25             cause John O'Keefe's death.




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 1                   The second prong is that the defendant

 2             intended to cause grievous bodily harm to John

 3             O'Keefe.     Grievous bodily harm means severe injury

 4             to the body.

 5                   The third prong is that the defendant intended

 6             to do an act which, in the circumstances known to

 7             the defendant, a reasonable person would have known

 8             created a plain and strong likelihood that death

 9             would result.       Let me help you understand how to

10             analyze this third prong.

11                   You must first determine whether the defendant

12             intended to perform the act that caused the

13             victim's death.       If you find that she intended to

14             perform the act, you must then determine what the

15             defendant, herself, actually knew about the

16             relevant circumstances at the time she acted.

17                   Then you must determine whether under the

18             circumstances known to the defendant a reasonable

19             person would have known that the act intended by

20             the defendant created a plain and strong likelihood

21             that death would result.

22                   If you have a reasonable doubt as to whether

23             Mr. O'Keefe's death was accidental because the

24             defendant -- I'm sorry -- because the death was

25             caused by a negligent, careless or mistaken act of




     R. 170                             R.076
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 1             the defendant or resulted in a cause separate from

 2             the defendant's conduct, you may not find that the

 3             Commonwealth has proved that the defendant intended

 4             to kill, intended to cause grievous bodily harm or

 5             intended to do an act which, in the circumstances

 6             known to the defendant, a reasonable person would

 7             have known created a plain and strong likelihood

 8             that death would result.

 9                   In deciding whether the defendant intended to

10             kill, intended to cause grievous bodily harm or

11             intended to do an act which, in the circumstances

12             known to the defendant, a reasonable person would

13             have known created a plain and strong likelihood

14             that death would result, you may consider any

15             credible evidence that the defendant was affected

16             by her consumption of alcohol.

17                   If the Commonwealth has proven both elements

18             beyond a reasonable doubt, you should return a

19             verdict of guilty.        If the Commonwealth has failed

20             to prove one or more of those elements beyond a

21             reasonable doubt, you must return a verdict of not

22             guilty.

23                   The next is manslaughter while operating a

24             motor vehicle under the influence of liquor.                 In

25             order to prove manslaughter while operating a motor




     R. 171                             R.077
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 1             vehicle, the Commonwealth must prove the following

 2             five elements:       First, that the defendant operated

 3             a motor vehicle; second, that she operated the

 4             motor vehicle upon a public way or in a place in

 5             which the public has a right of access; third, that

 6             while the defendant was operating the motor

 7             vehicle, she was under the influence of

 8             intoxicating liquor and/or the percent of alcohol

 9             in the defendant's blood was a .08 or greater; --

10             you will have both of these choices on your verdict

11             slip -- fourth, that the defendant operated the

12             vehicle wantonly or recklessly so as to create a

13             high degree of likelihood that substantial harm

14             will result to another; and, fifth, that by such

15             operation of the motor vehicle, the defendant

16             caused the death of John O'Keefe.

17                   So to prove the first element, the

18             Commonwealth must prove beyond a reasonable doubt

19             that the defendant was operating a motor vehicle.

20             A person operates a motor vehicle while doing all

21             of the well-known things that drivers do as they

22             travel on a street or highway and also in doing any

23             act which directly tends to set the vehicle in

24             motion.

25                   A person is operating a motor vehicle whenever




     R. 172                             R.078
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 1             they are in the vehicle and intentionally

 2             manipulates some mechanical or electrical part of

 3             the vehicle like the gearshift or the ignition

 4             which, alone or in sequence, will set the vehicle

 5             in motion.

 6                   To prove the second element, the Commonwealth

 7             must prove beyond a reasonable doubt that the

 8             defendant operated a motor vehicle in a public way.

 9             Any street or highway that is open to the public

10             and is controlled and maintained by some level of

11             government is a public way.           This would include,

12             for example, interstate and state highways as well

13             as municipal streets and roads.

14                   In determining whether any particular street

15             or road is a public way, you may consider evidence,

16             if any, about whether it has some of the usual

17             indications of a public way.           For example, whether

18             it is paved, whether it has streetlights, street

19             signs, curbing and fire hydrants, whether there are

20             buildings along the street, whether it has any

21             crossroads intersecting it and whether it is

22             publicly maintained.

23                   To prove the third element, the Commonwealth

24             must prove beyond a reasonable doubt that while

25             operating a motor vehicle, the defendant was under




     R. 173                             R.079
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 174 of 424


                                                                                37-30

 1             the influence of intoxicating liquor, that is,

 2             alcohol, and/or the percent of alcohol in the

 3             defendant's blood was a .08 or greater.                I will now

 4             instruct you on both theories.

 5                   What does it mean to be under the influence of

 6             alcohol?     It is not illegal to drive after

 7             consuming alcohol as long as the operator is not

 8             under the influence of alcohol.             However, neither

 9             does someone have to be drunk to be under the

10             influence of alcohol.

11                   A person is under the influence of alcohol if

12             they have consumed enough alcohol to reduce their

13             ability to operate a motor vehicle safely by

14             decreasing their judgment, alertness and ability to

15             respond promptly and effectively to unexpected

16             emergencies.      The amount of alcohol necessary to do

17             this may vary from person to person.

18                   The Commonwealth is not required to prove that

19             the defendant actually drove in an unsafe or

20             erratic manner, but it is required to prove that

21             their ability to drive safely was diminished by

22             alcohol.     You may rely on your experience and

23             common sense about the effects of alcohol.                 You

24             should consider any believable evidence about the

25             defendant's alleged consumption of alcohol as well




     R. 174                             R.080
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 1             as the defendant's appearance, condition and

 2             behavior.

 3                   In deciding this first theory of whether the

 4             defendant operated a motor vehicle under the

 5             influence of alcohol, you may also consider whether

 6             a blood test showed that the defendant had consumed

 7             any alcohol.      However, no matter what the reading

 8             is, the blood test is not sufficient, itself, to

 9             prove that the defendant was under the influence of

10             alcohol.

11                   Now, under the second theory -- and, again,

12             both will be on the verdict slip and you should

13             decide each one -- the Commonwealth must prove

14             beyond a reasonable doubt that at the time of

15             operation, the percent of alcohol in the

16             defendant's blood was a .08 or greater.                The

17             Commonwealth may prove a person's blood alcohol

18             level by a chemical test or analysis of their

19             breath or blood.

20                   In deciding whether the Commonwealth has

21             proved the defendant's blood alcohol beyond a

22             reasonable doubt, you may consider evidence, if

23             any, about whether the test was administered within

24             a reasonable time of operation of the motor

25             vehicle, whether the person who administered the




     R. 175                             R.081
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 1             test was properly certified, whether and how the

 2             pre-test procedures were followed and employed;

 3             whether the testing device was working properly at

 4             the time the test was administered; and whether the

 5             test was administered properly.             You may also

 6             consider any other evidence pertaining to the test.

 7                   Mr. Court Officer?         I know it's traditional to

 8             not allow anybody in and out of the courtroom while

 9             I'm charging.       So I'm going to ask you to follow

10             that at this point.        Thank you.       It's distracting,

11             and I don't want it to be distracting for you

12             folks.    Okay?

13                   The fourth element that the Commonwealth must

14             prove beyond a reasonable doubt is that the

15             defendant operated the vehicle wantonly or

16             recklessly.       A person drives recklessly when they

17             ignore the fact that their manner of driving is

18             very likely to result in death or serious injury to

19             someone or they are indifferent to whether someone

20             is killed or seriously injured.             It is not enough

21             for the Commonwealth to prove that the defendant

22             acted negligently; that is, acted in a way that a

23             reasonably careful person would not.               It must be

24             shown that the defendant's actions went beyond mere

25             negligence and amounted to recklessness.




     R. 176                             R.082
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 1                   The defendant was reckless if she knew or

 2             should have known that such actions would pose a

 3             grave danger or death or serious injury to others

 4             but chose, nevertheless, to run the risk and go

 5             ahead.

 6                   Whenever I refer to the defendant's state of

 7             mind or her intent, you may consider any credible

 8             evidence that the defendant was affected by her

 9             consumption of alcohol.          A defendant may have the

10             requisite state of mind or intent even if she

11             consumed alcohol, but you may consider such

12             evidence in determining whether the Commonwealth

13             has proved beyond that.

14                   Here, the defendant must have intended her

15             acts in the sense that they were not accidental.

16             But it is not necessary that the defendant intended

17             or foresaw the consequences of those acts as long

18             as a reasonable person would know that they were so

19             dangerous that death or serious injury would

20             probably result.

21                   As such, the Commonwealth does not need to

22             prove that the defendant intended to kill John

23             O'Keefe; rather, this is in the category of cases

24             where public safety requires each driver, once they

25             know what the situation is, to determine and to




     R. 177                             R.083
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 1             adhere to an objective standard of behavior.

 2                   In determining whether the defendant drove

 3             recklessly, you should take into account all the

 4             facts of the situation: the defendant's rate of

 5             speed and manner of operation, the defendant's

 6             physical condition and how well the defendant could

 7             see and control the vehicle, the condition of the

 8             defendant's vehicle, what kind of road it was and

 9             who else was on the road, what was the time of day,

10             what the weather and the condition on the roads

11             were and what any other vehicles or pedestrians

12             were doing and any other factors, including the

13             defendant's consumption of alcohol that you think

14             are relevant.

15                   The fifth element that the Commonwealth must

16             prove beyond a reasonable doubt is that the

17             defendant, by her actions, caused the death of

18             John O'Keefe.       The defendant caused the death if

19             her actions directly and substantially set in

20             motion the entire chain of events that produced the

21             death.    A defendant's act is the cause of death

22             where the act, in a natural and continuous

23             sequence, results in death and without which death

24             would not have occurred.

25                   If the Commonwealth has proven all five




     R. 178                             R.084
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 1             elements beyond a reasonable doubt, you shall

 2             return a verdict of guilty.           If the Commonwealth

 3             has failed to prove one or more of these elements

 4             beyond a reasonable doubt, you must return a

 5             verdict of not guilty.

 6                   Now, the lesser offense of manslaughter while

 7             operating a motor vehicle under the influence of

 8             liquor includes the lesser offense of involuntary

 9             manslaughter.       As a matter of law, the indictment

10             that is before you which charges the defendant with

11             manslaughter while operating a motor vehicle under

12             the influence of liquor also charges her with the

13             lesser included offense.

14                   The Commonwealth may prove the lesser included

15             charge of involuntary manslaughter even if it fails

16             to prove the greater charge of manslaughter while

17             operating a motor vehicle under the influence of

18             liquor.     So I will define involuntary manslaughter.

19                   To prove that the defendant is guilty of

20             involuntary manslaughter because of wanton or

21             reckless conduct, the Commonwealth must prove the

22             following elements beyond a reasonable doubt:

23             First, that the defendant caused John O'Keefe's

24             death; second, that the defendant intended the

25             conduct that caused John O'Keefe's death; third,




     R. 179                             R.085
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 1             that the defendant's conduct was wanton or

 2             reckless.     I will now discuss each element in more

 3             detail.

 4                   The first element is that the defendant caused

 5             the death of John O'Keefe.          Remember, Ms. Read

 6             caused John O'Keefe's death if her actions directly

 7             and substantially set in motion the entire chain of

 8             events that produced the death.             A defendant's act

 9             is the cause of death where the act, in a natural

10             and continuous sequence, results in death and

11             without which death would not have occurred.

12                   The second element is that the defendant

13             intended the conduct that caused the death.                 The

14             Commonwealth is not required to prove the defendant

15             intended to cause the death.           You may consider any

16             credible evidence that the defendant was affected

17             by her consumption of alcohol.

18                   The third element is that the defendant's

19             conduct was wanton or reckless.             Wanton or reckless

20             conduct is conduct that creates a high degree of

21             likelihood that substantial harm will result to

22             another.     It is conduct involving a grave risk of

23             harm to another person that a person undertakes

24             within indifference or with disregard of the

25             consequences of such conduct.            Whether the conduct




     R. 180                             R.086
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 181 of 424


                                                                              37-37

 1             is wanton or reckless depends either on what the

 2             defendant knew or how a reasonable person would

 3             have acted knowing what the defendant knew.

 4                   If the defendant realized the grave risk

 5             created by her conduct, her subsequent act amounts

 6             to wanton or reckless conduct whether or not a

 7             reasonable person would have realized the risk of

 8             grave danger.       Even if the defendant, herself, did

 9             not realize the grave risk of harm to another, the

10             act would constitute wanton or reckless conduct if

11             a reasonable person, knowing what the defendant

12             knew, would have realized the act posed a risk of

13             grave danger to another.

14                   It is not enough for the Commonwealth to prove

15             the defendant acted negligently; that is, in a

16             manner that a reasonably careful person would not

17             have acted.       The Commonwealth must prove that the

18             defendant's actions went beyond negligence and

19             amounted to wanton or reckless conduct as I have

20             defined it.

21                   In deciding whether the defendant knew or

22             should have known her conduct created a high degree

23             of likelihood that substantial harm would result to

24             another, you may consider credible evidence that

25             the defendant was affected by her consumption of




     R. 181                             R.087
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 182 of 424


                                                                              37-38

 1             alcohol.

 2                   A defendant may have the requisite knowledge

 3             even if she consumed alcohol, but you may consider

 4             such evidence in determining whether the

 5             Commonwealth has proved this element.

 6                   Now, the offense of manslaughter while

 7             operating a motor vehicle under the influence of

 8             liquor also includes the lesser offense of motor

 9             vehicle homicide, felony OUI liquor and negligence.

10             As a matter of law, the indictment that is before

11             you which charges the defendant with manslaughter

12             while operating a motor vehicle under the influence

13             of liquor also charges her with the lesser included

14             offense.

15                   The Commonwealth may prove the lesser included

16             charge of motor vehicle homicide even if it fails

17             to prove the greater charge of manslaughter while

18             operating a motor vehicle under the influence of

19             liquor.

20                   You may find the defendant guilty of motor

21             vehicle homicide only if you are not convinced

22             beyond a reasonable doubt that the defendant is

23             guilty of manslaughter and you are convinced beyond

24             a reasonable doubt that the defendant is guilty of

25             motor vehicle homicide.          So I will define that for




     R. 182                             R.088
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 183 of 424


                                                                              37-39

 1             you now.

 2                   In order to prove the defendant guilty of

 3             motor vehicle homicide, the Commonwealth must prove

 4             the following five elements beyond a reasonable

 5             doubt:     First, that the defendant operated a motor

 6             vehicle; second, that she operated the motor

 7             vehicle upon a public way or in a place in which

 8             the public has a right of access; third, that while

 9             the defendant was operating the motor vehicle, she

10             was under the influence of intoxicating liquor

11             and/or the percent of alcohol in the defendant's

12             blood was .08 or greater; fourth, that while

13             operating a motor vehicle, the defendant did so in

14             a negligent manner so that the lives or safety of

15             the public might be in danger; fifth, that by such

16             operation of the motor vehicle, the defendant

17             caused the death of John O'Keefe.

18                   Elements 1, 2, 3 and 5 are the same as

19             manslaughter while under the influence of alcohol

20             as I've previously instructed you just moments ago.

21             The difference between manslaughter while operating

22             under the influence and motor vehicle homicide is

23             the fourth element.

24                   To prove the fourth element of motor vehicle

25             homicide, the Commonwealth must prove beyond a




     R. 183                             R.089
        Case 1:25-cv-10399-FDS   Document 2-1     Filed 02/18/25   Page 184 of 424


                                                                                37-40

 1             reasonable doubt that the defendant drove

 2             negligently in a manner that might have endangered

 3             the lives or safety of other people.                  A person

 4             acts negligently when she fails to use due care;

 5             that is, when they act in a way that a reasonable

 6             person would not act.            This can happen either by

 7             doing something that a reasonable person would not

 8             do under the circumstances or by failing to do

 9             something that a reasonable person would do.

10                   The defendant acted negligently if she drove

11             in a way that a reasonable person would not have

12             and by doing so created an unnecessary danger to

13             other people, a danger that she could have avoided

14             by driving more carefully.

15                   The defendant's intent does not matter.                  So do

16             not consider it in determining whether or not the

17             defendant was negligent.

18                   There is no requirement that the Commonwealth

19             show that the defendant intended to act negligently

20             or unlawfully.       Under our laws, public safety

21             requires each driver to determine and to adhere to

22             an objective standard of reasonable behavior.

23                   Therefore, what the defendant may or may not

24             have intended to result from her actions is

25             irrelevant.       The issue is whether or not she drove




     R. 184                             R.090
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 185 of 424


                                                                              37-41

 1             as a reasonable person would have under the

 2             circumstances.

 3                   In determining whether the defendant drove

 4             negligently in a manner that might have endangered

 5             the lives or safety of other people, you should

 6             take into account evidence, if any, about the

 7             defendant's rate of speed and manner of operation,

 8             the defendant's physical condition and how well she

 9             could see and control her vehicle, the condition of

10             the defendant's vehicle, the kind of road it was

11             and who else was on the road, the time of day, the

12             weather and the road conditions, what any other

13             vehicles or pedestrians were doing and any other

14             factors, including the defendant's consumption of

15             alcohol, that you think are relevant.

16                   The next indictment is leaving the scene of an

17             accident, resulting in death.            In order to prove

18             the defendant guilty of leaving the scene of an

19             accident resulting in death, the Commonwealth must

20             prove six things beyond a reasonable doubt:                 First,

21             that the defendant operated a motor vehicle;

22             second, that she operated on a public way or in a

23             place in which the public has a right of access;

24             third, that the defendant knowingly collided with

25             John O'Keefe; fourth, that the collision caused




     R. 185                             R.091
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 186 of 424


                                                                              37-42

 1             injury to John O'Keefe, resulting in his death; and

 2             fifth, that after causing such injury, the

 3             defendant failed to stop and provide name, home

 4             address and registration number of the motor

 5             vehicle; and, six, that the defendant failed to do

 6             so for the purpose of avoiding prosecution or

 7             apprehension.

 8                   Jurors, I've already instructed you on the

 9             first and second elements.           The other four elements

10             should be given their plain meaning, and the

11             parties agree that I do not need to define them any

12             further.     That will save a little time for you.

13                   As a general rule, you are permitted but not

14             required to infer that a person who intentionally

15             uses a dangerous weapon on another person intends

16             to kill that person or cause him grievous bodily

17             harm or intends to do an act which, in the

18             circumstances known to him, a reasonable person

19             would know creates a plain and strong likelihood

20             that death would result.

21                   An item that is normally used for innocent

22             purposes can become a dangerous weapon if it is

23             used in a dangerous or a potentially dangerous

24             fashion.     The law considers an item, in this case,

25             a motor vehicle, to be used in a dangerous fashion




     R. 186                             R.092
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 187 of 424


                                                                               37-43

 1             if it is used in a way that it reasonably appears

 2             to be capable of causing serious injury or death to

 3             another person.

 4                   In deciding whether an item was used as a

 5             dangerous weapon, you may consider the

 6             circumstances surrounding the alleged crime, the

 7             nature, size and shape of the item and the manner

 8             in which it was handled or controlled.

 9                   Now, that completes the second part of my

10             instructions.        I will now turn to the final

11             instructions.

12                   In order for a jury to return a verdict, that

13             is, to reach a decision in a criminal case, the law

14             provides that there may only be 12 persons on the

15             deliberating jury, and you will note that there are

16             still 14 of you.

17                   To avoid the need for a new trial if one or

18             more jurors becomes ill or has to be excused for

19             some good reason, we customarily impanel extra

20             jurors at the beginning of a trial as we did in

21             this case.        However, when you begin your

22             deliberations, the law of Massachusetts is that

23             there can only be 12 jurors.

24                   Therefore, at the conclusion of my

25             instructions, the clerk will reduce your number to




     R. 187                              R.093
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 188 of 424


                                                                              37-44

 1             12 on a random basis.        The jurors not selected to

 2             serve on the jury will become the alternate jurors.

 3                   If you are selected as an alternate juror,

 4             please do not feel that your efforts in this case

 5             have been wasted because, as I've indicated, it is

 6             important that we have extra jurors in the case of

 7             an emergency.       If we did not impanel extra jurors

 8             and a juror became ill or for some other reason had

 9             to be excused, we would have to try the case all

10             over again with a new jury.

11                   In the event that a juror has to be excused

12             once the jury starts deliberating, then an

13             alternate juror will be chosen to take that juror's

14             position and the jury will be required to start

15             their deliberations all over again from the very

16             beginning.

17                   Therefore, it is important that the alternates

18             not discuss the case with anyone, including each

19             other, for if an alternate becomes a member of the

20             jury for deliberations, the alternates' views

21             should be his or her own and not influenced by

22             anyone else.

23                   Now, different states and jurisdictions use

24             different means to select a foreperson of the jury.

25             In some jurisdictions, the jurors select their own




     R. 188                             R.094
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 189 of 424


                                                                               37-45

 1             foreperson.       In Massachusetts, the judge is

 2             responsible for selecting a foreperson.                 A

 3             foreperson of a jury has been described as the

 4             first among equals.        He or she is responsible for

 5             organizing the deliberations, communicating with

 6             the Court if necessary during deliberations and

 7             presenting the verdict following your

 8             deliberations.       The foreperson has no greater say

 9             or vote in the jury's deliberations.                However, in

10             that sense, he's exactly equal with all of the

11             jurors.

12                    I am going to ask the juror in Seat No. 1,

13             Juror No. 400, would you be our foreperson, please,

14             sir?

15                    THE JUROR:    I will.

16                    THE COURT:    Thank you.       When you return to the

17             jury room to deliberate, the court officers will

18             deliver to you all of the exhibits in this case as

19             well as the verdict slips that you will use in

20             returning your verdict.           Your foreperson will be

21             given verdict slips setting forth the charges

22             against the defendant.           Twelve jurors must agree

23             before you have a decision as to any charge.                  That

24             means that to find the defendant guilty, all 12

25             must agree.       To find the defendant not guilty, all




     R. 189                             R.095
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 190 of 424


                                                                              37-46

 1             12 must agree.       You should continue deliberating

 2             until you have reached a final verdict on each

 3             charge.     You should not begin deliberating until

 4             all 12 jurors are together in the jury room and

 5             should cease deliberating if any one juror is not

 6             present in the jury room.

 7                   It is important that you not communicate with

 8             anyone outside the jury room about the

 9             deliberations or about anything concerning this

10             case.    Further, I instruct you that no juror is

11             better qualified to determine the truth of the

12             facts in dispute or to deliberate on a verdict

13             solely because of education, background or

14             experience.

15                   The parties and I have chosen each of you as

16             fair and impartial jurors and your voices have

17             equal weight.       To reach a unanimous verdict, each

18             juror must agree.       Jurors have a duty to consult

19             with one another and to deliberate with a view to

20             reaching an agreement if it can be done without

21             violence to individual judgment.             At the same time,

22             each juror must decide the case for himself or

23             herself but only after impartially considering the

24             evidence with his or her fellow jurors.                Don't

25             hesitate to re-examine your views and change your




     R. 190                             R.096
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 191 of 424


                                                                              37-47

 1             opinion if convinced it is wrong, but no juror

 2             should surrender an honest conviction to the

 3             opinion of fellow jurors simply for the purpose of

 4             returning a verdict.

 5                   Although how you conduct your deliberations is

 6             up to you, I urge you not to begin conducting an

 7             immediate straw vote; rather, I encourage you not

 8             to take any votes until you have completed a

 9             careful and thorough collective view of all of the

10             evidence.

11                   At this point, I want to remind you of an

12             important issue that I raised with you at the

13             beginning of this trial.          I told you that our

14             system of justice depends on judges like me and

15             jurors like you being able and willing to make

16             careful and fair decisions.           All people deserve

17             fair and equal treatment in our system of justice,

18             regardless of their race, national origin,

19             religion, age, ability, gender, sexual orientation,

20             education, income level or any other personal

21             characteristic.

22                   I also pointed out that we all have our own

23             built-in expectations and assumptions, even if we

24             are not consciously aware of them, and I talked

25             about some of the ways we can try to deal with




     R. 191                             R.097
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 192 of 424


                                                                               37-48

 1             them.

 2                   First, slow down.          Do not rush to a decision.

 3             Hasty decisions are the most likely to reflect

 4             stereotypes or hidden biases.             Take time to

 5             consider all of the evidence.

 6                   Second, as you start to draw conclusions,

 7             consider what evidence, if any, supports the

 8             conclusions you are drawing and whether any

 9             evidence casts doubt on those conclusions.                  Double-

10             check whether you are actually using unsupported

11             assumptions instead of the evidence.

12                   Third, as you think about the people involved

13             in this case, consider them as individuals rather

14             than as a member of a particular group.

15                   Fourth, I might ask myself, would I view the

16             evidence differently if the people were from

17             different groups such as different racial, ethnic

18             or gender identity groups?

19                   Fifth, listen to your fellow jurors.                They may

20             have different points of view.             If so, they may

21             help you determine whether you are focusing on the

22             facts or making assumptions perhaps based on

23             stereotypes.      Of course, your fellow jurors could

24             be influenced by their own unstated assumptions.

25             So don't be shy or hesitate to speak up.




     R. 192                             R.098
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 193 of 424


                                                                               37-49

 1                   You should participate actively, particularly

 2             if you think the other jurors are overlooking or

 3             undervaluing evidence you find important.                  In fact,

 4             when you explain your thoughts out loud to other

 5             jurors, you are also helping yourself to focus on

 6             the evidence instead of assumptions.                If you use

 7             these strategies, you will do your part to reach a

 8             decision that is as fair as humanly possibly.                   That

 9             is your responsibility as jurors.

10                   Now, during the course of your deliberations,

11             you might have a question concerning the law in

12             this case.        I'm not suggesting that you will but

13             you might.        Perhaps I said something you did not

14             understand.        If you have any questions, please feel

15             free to bring them to my attention by writing a

16             note dated and signed by the foreperson and sending

17             it to me by way of the court officer.

18                   Because your role as the jury is to determine

19             the facts of the case, I cannot answer any

20             questions you have concerning the facts of the

21             case.    I have no role in this case when it comes to

22             deciding what the facts are, neither is it possible

23             to provide you with a transcript of the testimony,

24             even though we have had a phenomenal court reporter

25             throughout this whole trial.




     R. 193                              R.099
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 194 of 424


                                                                              37-50

 1                   If you send a question to me, I will respond

 2             after consulting with the lawyers.                Please do not

 3             ask a court officer or anyone else to answer any

 4             questions concerning anything material to the case.

 5             We will not answer a question or take a verdict

 6             between one and two.        You will have lunch brought

 7             in to you and decide whether you want to stop your

 8             deliberations during lunch or deliberate.

 9                   At the end of the day if you're still

10             deliberating, I'll send in a note asking if you

11             want to continue deliberating or break for the day

12             and return tomorrow morning.            Don't tell anyone,

13             including me, how the jury stands numerically or

14             otherwise on the questions before such time as you

15             have reached a unanimous verdict.

16                   You are going to notice shortly that the court

17             officers are going to take an oath, and you will

18             hear from that that they, too, as well as all other

19             persons, are forbidden to communicate in any way or

20             manner with any member of this jury on any subject

21             touching on the merits of this case.

22                   Remember that the decision of the jury must be

23             unanimous and the foreperson should be certain that

24             each member of the jury is in complete agreement

25             with the verdict.




     R. 194                             R.100
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 195 of 424


                                                                               37-51

 1                   After the final vote of the jury, the

 2             foreperson should check the appropriate boxes as to

 3             each charge, then sign and date the verdict slips

 4             and notify the court officer that you have reached

 5             a unanimous verdict.        You will then be brought back

 6             into the courtroom, where the foreperson will

 7             deliver the verdicts to the Court.

 8                   I am going to see counsel before we reduce

 9             your number to 12.

10             SEALED SIDEBAR

11                   THE COURT:     So, Mr. Clerk, will you choose the

12             alternates, please?

13                   THE CLERK:     Could the juror sitting in Seat

14             No. 3, Juror 79, step down and take your place as

15             an alternate?       And the juror sitting in Seat No. 2,

16             Juror 14.

17                   THE COURT:     Ladies and gentlemen, we need to

18             swear in the court officers.           They are going to be

19             in charge of you during your deliberations.                 I

20             suggest that you listen to the oath that they are

21             taking so that you can be aware of their

22             responsibilities.

23                   You can swear them, Mr. Clerk.

24                   THE CLERK:     Do you swear that you will keep

25             this jury and alternates in a separate but




     R. 195                             R.101
        Case 1:25-cv-10399-FDS   Document 2-1     Filed 02/18/25   Page 196 of 424


                                                                                37-52

 1             convenient place until they agree, that they do not

 2             suffer any person to speak to them or speak to them

 3             yourselves or ask them if they have agreed, nor

 4             suffer them to disperse until they discharge their

 5             verdict except by order of the Court, so help you

 6             God?

 7                    THE COURT OFFICERS:         So help me God (in

 8             unison).

 9                    THE CLERK:    Thank you.

10                    THE COURT:    All right.        So, jurors, I need not

11             remind you that you have an important

12             responsibility, but I believe that you will bring

13             to bear all the wisdom and the judgment and

14             conscience that you possess in reaching your

15             verdict in this case.            All that we can expect from

16             you is that you decide the case with integrity and

17             with principle.

18                    We all expect you to reach an impartial

19             verdict dictated by your logic without bias,

20             without prejudice or sympathy, and not prompted by

21             any facts except those that you have heard in here

22             in the court during trial.            We are looking for

23             impartial judgment dictated by your reasoning in

24             the fullest discharge of your oaths as jurors.

25                    You may now retire and deliberate your




     R. 196                             R.102
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 197 of 424


                                                                              37-53

 1             verdict.

 2             (Whereupon, the jury exits the courtroom to

 3             commence deliberations at 1:25 p.m.)

 4                   THE COURT:     So, counsel, I'll give you a few

 5             minutes to work with Mr. McDermott on the verdict

 6             slip, and then I'll come back.

 7             (Whereupon, there was a brief recess taken.)

 8        (Court resumes.)

 9        (Defendant present.       Jury not present.)

10                   THE CLERK:     Back on the record in 22-117,

11             Commonwealth versus Karen Read.

12                   THE COURT:     I don't have my charge, all the

13             typos, finished yet.         So I'll have to do that.

14             It's in the process.         It's almost done.         So we'll

15             get that back to the jury.

16                   THE CLERK:     Counsel, having looked at the

17             verdict slips, are they acceptable?

18                   MR. LALLY:     The Commonwealth is content.

19                   MR. JACKSON:      We are content.

20                   THE COURT:     All right.      Just give me a minute.

21                   MR. JACKSON:      I did have one question, Your

22             Honor, when you are done looking.

23                   THE COURT:     Okay.

24                   MR. JACKSON:      So in my entire career, Judge,

25             I've never seen it done this way, but it was done




     R. 197                             R.103
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                                                                               37-54

 1             this way in the last trial that I had before this

 2             one where it was a superior court case with lesser

 3             included charges.        The clerk read off the offense

 4             as charged and asked the jury if it was guilty or

 5             not guilty.       They came back not guilty.            And I

 6             thought that charge was done.             And then the clerk

 7             asked the jury is the defendant guilty or not

 8             guilty of the lesser included charge.

 9                   And so to get to the ultimate -- I can't even

10             remember if that was one of the charges that she

11             was convicted of.       But my point is to get to the

12             ultimate not guilty for that charge, we had to go

13             through four separate charges.             I imagine that's

14             not the way it will be done here?

15                   THE COURT:     So I always told my clients

16             forever, do not get either your hopes up or upset

17             until you hear everything.            This is a very long

18             process.

19                   MR. JACKSON:      Of course.

20                   THE COURT:     So we will go through it the way

21             Mr. McDermott always goes through it, starting from

22             top to bottom, Jim?

23                   THE CLERK:     Yes.

24                   THE COURT:     Okay.       So that is how it is going

25             to be done.




     R. 198                             R.104
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 199 of 424


                                                                               37-55

 1                   MR. JACKSON:       So they're not going to be asked

 2             with regard to each lesser included charge guilty

 3             or not guilty?        That's my question.

 4                   THE COURT:      It depends on what the answer is

 5             for the first one, right, Jim?

 6                   THE CLERK:      Yes.

 7                   THE COURT:      You don't get to the lesser

 8             included if it's a guilty on the first one, right?

 9                   MR. JACKSON:       True.    But, if it's a not

10             guilty, then they are going to be asked about the

11             lesser includeds individually?

12                   THE COURT:      Yes.

13                   MR. JACKSON:       Okay.    Then that raises the

14             question on the verdict form, and maybe I'm missing

15             something.        Then shouldn't there be a guilty or not

16             guilty for each of the lessers and they're

17             instructed you don't even get to these --

18                   THE CLERK:      Yes.    That's right.

19                   MR. JACKSON:       That's got to be on every one of

20             them.

21                   THE COURT:      Yes.    Yes.

22                   MR. JACKSON:       Okay.

23                   THE COURT:      I'm at a loss.        I don't have my

24             instructions.        I was in the middle of typing them.

25             I thought I was coming out for the exhibits.                  So




     R. 199                              R.105
        Case 1:25-cv-10399-FDS    Document 2-1    Filed 02/18/25    Page 200 of 424


                                                                                 37-56

 1             yes, I agree.

 2                   MR. JACKSON:       Okay.

 3                   THE COURT:      Actually, Jim, do you have --

 4                   MR. JACKSON:       I'm sorry, Your Honor?

 5                   THE CLERK:      No.    She is asking me.

 6                   MR. JACKSON:       Oh.      Sorry.    Sorry.

 7                   THE COURT:      What does the Commonwealth say?

 8                   MR. LALLY:      On the verdict slips, Your Honor?

 9                   THE COURT:      Yes, on the lesser includeds on

10             Offense 2.        It just says, not guilty, guilty of the

11             offense charged and then guilty of the lesser

12             included, guilty of the lesser included, without a

13             not guilty option.

14                   MR. LALLY:      That's how it is.             That's

15             typically how I've seen it.             But if that's what

16             counsel is requesting, I don't have any issue with

17             that.

18                   THE COURT:      Any objection, Mr. Lally, to

19             putting a "not guilty" on that?

20                   MR. LALLY:      For each of the lesser includeds?

21                   THE COURT:      Yes.

22                   MR. LALLY:      No, Your Honor.

23                   THE COURT:      But it would have to follow --

24             instead of it being not guilty first, it would have

25             to be guilty or not guilty.




     R. 200                              R.106
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25    Page 201 of 424


                                                                               37-57

 1                   MR. LALLY:     Correct.      Yes.

 2                   THE COURT:     So it would be reversed and it

 3             would draw attention to it?

 4                   THE CLERK:     Three not guilties on one

 5             indictment?

 6                   THE COURT:     Yes.

 7                   THE CLERK:     They would check not guilty on all

 8             three times as opposed to just checking not guilty

 9             once?

10                   MR. JACKSON:      That then leaves open the

11             question for the subsequent, the subordinate lesser

12             includeds.

13                   THE CLERK:     Not guilty is not guilty.

14                   MR. JACKSON:      No, it's not.

15                   THE COURT:     Of the first one.            And then if

16             they --

17                   THE CLERK:     Yes.    That's right.

18                   MR. JACKSON:      They have to find her not guilty

19             of the superior charge to even get to the

20             subordinate charges.        And then they have to have a

21             choice of guilty or not guilty on each of the

22             subordinate charges.        And my suggestion would be it

23             has to be in the same order.           In other words, not

24             guilty comes first, then guilty as charged.                  Then

25             the subordinate charge, not guilty of the




     R. 201                             R.107
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 202 of 424


                                                                               37-58

 1             subordinate and guilty of the subordinate.

 2                   THE COURT:     All right.       So let's hold the

 3             verdict slips.       I'm sure you're all tired, but let

 4             me take a look at this.           I've been trying to get my

 5             instructions ready.        So let me take a look at this.

 6                   MR. YANNETTI:      We are going to be around.

 7             We are going to go across the street and have

 8             lunch, but I have given my cell phone number to

 9             Mr. McDermott.

10                   THE COURT:     I'll see counsel at sidebar.

11             SEALED SIDEBAR

12                   MR. JACKSON:      Also, for the record, may we be

13             excused until --

14                   THE COURT:     Not until we do whether the

15             exhibits are in order.

16                   THE CLERK:     Counsel and I had a chance to go

17             over the exhibits and they are ready to go to the

18             jury.

19                   MR. JACKSON:      Yes.      For the defense, I have.

20                   MR. MCLAUGHLIN:        Yes, Your Honor.         For the

21             Commonwealth, I've personally gone through all of

22             the exhibit books, and I am content that all of the

23             exhibits are there.

24                   THE COURT:     Okay.       There was one that had not

25             been redacted.       Has that been done?




     R. 202                             R.108
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 203 of 424


                                                                               37-59

 1                   THE CLERK:     That particular exhibit needs to

 2             go back into the book.           It's already evidence.

 3                   THE COURT:     All right.       Thank you.       Just make

 4             sure the court officers have your cell phone

 5             numbers.

 6                   THE CLERK:     I need to put one more thing on

 7             the record.       The case always goes with the laptop

 8             -- it's clean.       That's the case here, correct?

 9                   MR. LALLY:     Yes.    All that's in there is a

10             clean laptop, as well as a charger.

11                   THE COURT:     All right.       We are still in

12             session.     Is the defense content?

13                   MR. JACKSON:      We're content.         Yes.

14                   THE COURT:     No.    There was another question.

15                   MR. JACKSON:      I'm sorry.

16                   THE CLERK:     The laptop.

17                   MR. JACKSON:      Yes, we are.

18                   THE COURT:     All right.       Thank you.

19             (Whereupon, there was a luncheon recess taken.)

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     R. 203                             R.109
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25    Page 204 of 424


                                                                               37-60

 1                        A F T E R N O O N       S E S S I O N

 2        (Court resumes at 4:11 p.m.)

 3        (Defendant present.       Jury not present.)

 4                   THE COURT:     All right.      So I want to bring

 5             that alternate juror in.          So that is what we are

 6             going to do first.        And, actually, too, I came out

 7             here on three different occasions.                I think it was

 8             one on verdict slips, one to send my charge in and

 9             nobody was around.        Certainly by 10 minutes of

10             4:00, you all should have been around.

11                   Please don't shake your head.               Your lawyers

12             probably don't want to see you shaking your head at

13             me on that.       All right, Ms. Read?

14                   So tomorrow morning, counsel, all counsel must

15             remain in the building from 9:00 until 10:00, at

16             least, until I tell you you can leave, and, at the

17             end of the day from 3:30 to 4:30, and we will take

18             it from there.       Okay?

19                   Mr. Yannetti, you certainly know that when

20             jurors are going out, oftentimes there are things

21             that need to be done.          So I would have liked to

22             have talked to this juror before now.

23                   MR. YANNETTI:      Oh.

24                   THE COURT:     And I sent a note in to the jurors

25             at 4:00.     There was nobody here when I wanted to




     R. 204                             R.110
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25    Page 205 of 424


                                                                                37-61

 1             send that note in.        So there was a note that was

 2             sent to the jurors at 4:00 o'clock about whether

 3             they want to go home.        They do want to go home.

 4             Okay?

 5                    MR. YANNETTI:     That will not happen again.

 6                    THE COURT:    Okay.       Thank you.        So let's bring

 7             that juror in and then you can bring whoever, the

 8             public.     But let's bring the juror in first.

 9                    THE COURT OFFICER:         Yes, Your Honor.

10                    THE COURT:    Why don't counsel come on over as

11             she's coming in.

12             SEALED SIDEBAR

13                    THE COURT:    Bring in all of the jurors.

14             (Whereupon, the jury entered the courtroom at

15             4:22 p.m.)

16                    THE COURT:    All right, jurors.             So as you

17             know, I sent you in a note at 4:00, asking if you

18             wanted to go home and come back tomorrow.                  You said

19             yes.    I apologize it took us so long to get

20             everybody together to do this.

21                    So I am going to excuse you for today.                When

22             you come back tomorrow, you will start again after

23             coming into the courtroom.            So I do have to give

24             you those three cautions.           And the cautions also

25             concern the alternates.           So please do not discuss




     R. 205                             R.111
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 206 of 424


                                                                              37-62

 1             this case or any aspect of this case with anybody.

 2             Do not do any independent research or investigation

 3             into this case.       If you happen to see, hear or read

 4             anything about this case, please disregard it and

 5             let us know.

 6                   You've all worked so hard for this last eight,

 7             nine, 10 weeks, however long it is.               Let's just

 8             make sure that you continue to be as secure in how

 9             you've done things as you have been.               We really

10             appreciate it.       So we will see you tomorrow

11             morning.     Have a good night.

12             (Whereupon, the jury exits the courtroom.)

13             (Whereupon, juror communication was entered and

14             marked Exhibit "OOO" for Identification.)

15                   THE COURT:     All right.      We'll see everybody

16             tomorrow.

17             (Whereupon, the Court adjourned.)

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     R. 206                             R.112
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 207 of 424


                                                                              37-63

 1                               C E R T I F I C A T E

 2

 3                   I, Paula M. Mills, retired certified court

 4             reporter, do hereby certify that the foregoing

 5             pages, page 37-3 to 37-62, is a true and accurate

 6             transcription of the voice recording in the

 7             aforementioned matter to the best of my skill and

 8             ability.

 9                   This, the 12th day of July, 2024.

10

11

12

13                                     Paula M. Mills

14                                     Retired Certified Court Reporter

15                                     and Court Transcriptionist

16

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     R. 207                             R.113
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 208 of 424




                                                   Volume:   XXXVIII
                                                   Pages:    23
                                                   Exhibits: (See Index)


                       COMMONWEALTH OF MASSACHUSETTS

     NORFOLK, SS.                            SUPERIOR COURT DEPARTMENT
                                             OF THE TRIAL COURT


     * * * * * * * * * * * * * * * * *
                                     *
     COMMONWEALTH OF MASSACHUSETTS   *
                                     *
     vs.                             *               Indictment No.
                                     *               2282CR00117
     KAREN READ                      *
                                     *
     * * * * * * * * * * * * * * * * *




                        Day 38 - Trial with Jury
                  Before the Honorable Beverly Cannone




     APPEARANCES:

     For The Commonwealth:
     BY: Adam Lally
         Laura McLaughlin
         Assistants District Attorney

     For Karen Read:
     BY: Alan Jackson
         David Yannetti
         Elizabeth Little
         Attorneys at Law


                                           Norfolk Superior Courthouse
                                           Dedham, Massachusetts
                                           Wednesday, June 26, 2024


                              Paula M. Mills
                     Retired Certified Court Reporter
                        and Court Transcriptionist




R. 208                             R.114
   Case 1:25-cv-10399-FDS   Document 2-1     Filed 02/18/25   Page 209 of 424



                                                                                38-2

                                     I N D E X

     WITNESS:               DIRECT       CROSS        REDIRECT        RECROSS

     (None)


                               E X H I B I T S

     NUMBER                                                               PAGE

     "PPP"       Communication from the jury                              38-5

     "QQQ"       Communication from the jury                              38-9

     "RRR"       Additional written jury charge                           38-19

     "SSS"       Initial verdict slip for Count 2                         38-20
                 in sealed envelope

     "TTT"       Communication from the jury                              38-21




R. 209                               R.115
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 210 of 424


                                                                               38-3

 1                               P R O C E E D I N G S

 2                                   June 26, 2024

 3        (Court in session at 9:12 a.m.)

 4        (Defendant present.       Jury present.)

 5                   THE CLERK:     22-117, the Commonwealth versus

 6             Karen Read.

 7                   THE COURT:     All right.      Good morning, counsel.

 8             Good morning, Ms. Read.          Good morning, jurors.

 9                   So I have to ask you all, including the

10             alternates, three questions:            Were you all able to

11             follow the instructions and refrain from discussing

12             this case with anyone since we left the courtroom

13             yesterday?

14                   Everyone said "yes" or nodded affirmatively.

15                   Were you also able to follow the instructions

16             and refrain from doing an independent research or

17             investigation into this case?

18                   Everyone said "yes" or nodded affirmatively.

19                   Did anyone happen to see, hear or read

20             anything about this case since we left here

21             yesterday?

22                   Everyone said "no" or shook their heads.

23                   All right.     With that, we'll send you back out

24             to deliberate.       Thank you.

25             (Whereupon, the jury exited the courtroom to resume




     R. 210                             R.116
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 211 of 424


                                                                                38-4

 1             deliberations at 9:13 a.m.)

 2                   THE COURT:      All right.      So, counsel, I don't

 3             want the jury to have to wait for us for anything

 4             today.     So you are to stay in the building until

 5             10.    I need you back here for the afternoon no

 6             later than 3:30.        You will be free to leave during

 7             the day as long as you can definitely be in here,

 8             in your seats, ready to go on five minutes notice.

 9             Okay?    So we'll see you then.

10             (Whereupon, there was a brief recess taken at

11             9:14 a.m.)

12        (Court resumes at 9:29 a.m.)

13        (Defendant present.        Jury not present.)

14                   THE CLERK:      Judge, we are back on the record

15             on 22-117.        I believe we have a question from the

16             jury.

17                   THE COURT:      Yes.    It is simply, "Good morning.

18             The jury is kindly requesting to conclude

19             deliberations in time to board the bus at 4:00 p.m.

20             A juror has a long-existing scheduling conflict."

21                   So I'm just going to simply say yes and send

22             it back.

23                   MR. JACKSON:       No objection.

24                   MR. LALLY:      That's fine, Your Honor.

25                   THE COURT:      Could you mark this, please?




     R. 211                              R.117
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 212 of 424


                                                                               38-5

 1                   THE COURT REPORTER:        Sure.     That would be

 2             "PPP" for Identification.

 3                   THE COURT:     Thank you.

 4             (Whereupon, communication from the jury was entered

 5             and marked Exhibit "PPP" for Identification.)

 6                   THE COURT:     All right.      We will send it back

 7             in with you, Officer Delano.           All set.

 8             (Whereupon, there was a brief recess taken at

 9             9:30 a.m.)

10        (Court resumes at 10:02 a.m.)

11        (Defendant present.       Jury not present.)

12                   THE CLERK:     22-117.

13                   THE COURT:     So why are we out here?

14                   MR. JACKSON:      Your Honor, I just saw the

15             verdict forms and, as we discussed yesterday, the

16             amendments that the Court indicated it would make

17             on the verdict forms have not been made.

18                   THE COURT:     Oh, no, no, no.        Okay.     I did not

19             say I'd make it.       I said I would think about it.               I

20             said I was tired and I needed to think about it.

21                   MR. JACKSON:      Well, what you said before you

22             were tired and you needed to think about it was you

23             agreed that there needs to be not guilty options

24             for the subordinate charges under Count 2.

25                   THE COURT:     I said that it made sense to me.




     R. 212                             R.118
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 213 of 424


                                                                               38-6

 1             But no.     I did not change it upon looking at it

 2             because the verdict slip, this verdict slip as

 3             submitted to the jury, is exactly how it always is

 4             in Massachusetts.

 5                   MR. JACKSON:      Well, can I ask you a question,

 6             then?     I don't really care how it always in is

 7             Massachusetts.       I care about whether or not it is

 8             appropriate.

 9                   THE COURT:     It's appropriate.

10                   MR. JACKSON:      Those are two different things.

11                   THE COURT:     It's appropriate.

12                   MR. JACKSON:      Let me make my argument, if you

13             wouldn't mind, Judge, why it's not appropriate.

14                   For a superior charge, they have to decide

15             that she is not guilty of the superior charge, and

16             that is the starting point of whether or not she is

17             guilty or not guilty of any subordinate charge,

18             often called a lesser included.

19                   Once they decide that she's not guilty of the

20             superior charge, now there's two additional charges

21             that they've been instructed they must decide

22             whether she's guilty or not guilty of.               How do they

23             decide that she's not guilty of the first

24             subordinate charge, involuntary manslaughter?

25                   THE COURT:     Anything else you want to say,




     R. 213                             R.119
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 214 of 424


                                                                               38-7

 1             Mr. Jackson?

 2                   MR. JACKSON:      I'd like an answer from the

 3             Court.    How do they decide that she's to guilty of

 4             involuntary manslaughter on that verdict form?

 5                   THE COURT:     That's their decision to make.

 6                   MR. JACKSON:      And how do they make it if they

 7             don't have an option to check a box that says "not

 8             guilty"?     I don't --

 9                   THE COURT:     They don't check the box that says

10             "guilty," do they?        And then when they go to the

11             next block, they don't check the block that says

12             "guilty."     And, on the top, you're left with not

13             guilty.     Okay?

14                   MR. JACKSON:      So it's the absence of the check

15             mark that the Court determines is the not guilty

16             finding by the jury?

17                   THE COURT:     Yes.    That's what the verdict slip

18             reads.    It reads "not guilty."          If they don't check

19             Block 2, 3 or 4, the verdict slip reads "not

20             guilty."     Okay?

21                   MR. JACKSON:      That is --

22                   THE COURT:     That's how it is, Mr. Jackson.

23                   MR. JACKSON:      Well, apparently that's how it's

24             going to be because Court's ordered it.                But that's

25             not how it should be, and it's over our strong




     R. 214                             R.120
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 215 of 424


                                                                                38-8

 1             objection.        They need to see that there is a not

 2             guilty option for the subordinate charges.                  If they

 3             come back guilty on, for instance, involuntary

 4             manslaughter, that's immediately appealable.                   They

 5             didn't have an option on the verdict form to find

 6             her not guilty.        It's almost like the Court is

 7             directing a verdict of the subordinate charges.

 8                   THE COURT:      I disagree with you.

 9                   Mr. Yannetti, you've seen verdict slips

10             exactly like this?

11                   MR. YANNETTI:       I actually haven't, Your Honor.

12                   THE COURT:      You've had no lesser includeds?

13                   MR. YANNETTI:       No.     We've always had lesser

14             includeds, but I have not seen a verdict slip there

15             where not guilty is not an option for a lesser

16             included.

17                   THE COURT:      I disagree.

18                   MR. JACKSON:       And I don't see the --

19                   THE COURT:      Excuse me?      This is funny,

20             Ms. Read?

21                   All right.      We're done.

22             (Whereupon, a brief recess is taken.)

23        (Court resumes at 11:49 a.m.)

24        (Defendant present.        Jury not present.)

25                   THE COURT OFFICER:          Court is back in session.




     R. 215                              R.121
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 216 of 424


                                                                                38-9

 1             You may be seated.

 2             (Whereupon, jury communication was entered and

 3             marked "QQQ" for Identification.)

 4                   THE CLERK:     Judge, we have a question from the

 5             jury.    It's been marked "QQQ" for Identification.

 6                   THE COURT:     Okay.       The question, "Can we

 7             request the SERT report detailing the search

 8             performed?"

 9                   So they can request it, but they can't get it.

10             So I'm just going to say, you have all of the

11             evidence in this case.

12                   We will figure that out.           I'll get some

13             language from you.

14                   But, Mr. Jackson, after our hearing this

15             morning, I considered what you said.                I went back

16             and I read the jury instructions I gave yesterday.

17             So I do appreciate the concern about the confusion

18             this might cause the jury. I think it is easily

19             clarified with a supplemental instruction.                  I don't

20             think it's the verdict slip.            I think it's how they

21             are to follow the verdict slip.

22                   So what I've written up, this is a very rough

23             draft.    I'll read it to you.          I'll take a break and

24             let you consider it if you want, but this works out

25             -- I received this about 15 minutes ago, the letter




     R. 216                             R.122
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 217 of 424


                                                                              38-10

 1             -- the question from the jury, so it seems a good

 2             time.    So I was working on this.           It seems a good

 3             time to bring them in for an answer to the

 4             question.

 5                   And I would say, "As long as I have you here,

 6             I want to clarify my instructions regarding your

 7             verdict as to Count 2 of the indictment.

 8                   "As I instructed you yesterday, there are two

 9             lesser offenses of that crime which are involuntary

10             manslaughter and motor vehicle homicide, felony,

11             OUI liquor and negligence.           Therefore, Count 2

12             encompasses three separate charges, the most

13             serious of which is manslaughter while operating a

14             motor vehicle under the influence of liquor.

15                   "In considering Count 2, you should first

16             focus on the crime of manslaughter while operating

17             a motor vehicle under the influence of liquor and,

18             if the Commonwealth has failed to prove that crime

19             beyond a reasonable doubt, then you are to consider

20             the remaining lesser included offenses in

21             descending order.

22                   "The lead charge is manslaughter while

23             operating a motor vehicle under the influence of

24             liquor.     If you find that the Commonwealth has

25             proved all five elements, proven all five elements




     R. 217                             R.123
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 218 of 424


                                                                              38-11

 1             of this charge beyond a reasonable doubt, then your

 2             verdict shall be guilty of manslaughter while

 3             operating a motor vehicle under the influence of

 4             liquor.

 5                   "If, however, you find that the Commonwealth

 6             has not proven all five elements of manslaughter

 7             while operating a motor vehicle under the influence

 8             of liquor, then you are to consider whether the

 9             Commonwealth has proven beyond a reasonable doubt

10             the three elements of the lesser included offense

11             of involuntary manslaughter.

12                   "If the Commonwealth has proven the three

13             elements of involuntary manslaughter, then your

14             verdict shall be guilty on the lesser included

15             offense of involuntary manslaughter.               If, however,

16             you find the Commonwealth has failed to prove

17             beyond a reasonable doubt the crime of manslaughter

18             while operating a motor vehicle under the influence

19             of liquor and the lesser included offense of

20             involuntary manslaughter, then you are to consider

21             whether the Commonwealth has proven beyond a

22             reasonable doubt the five elements of motor vehicle

23             homicide, felony, OUI, liquor and negligence.

24                   "If the Commonwealth has proven beyond a

25             reasonable doubt the five elements of motor vehicle




     R. 218                             R.124
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 219 of 424


                                                                              38-12

 1             homicide, then your verdict shall be guilty of the

 2             lesser included offense of motor vehicle homicide,

 3             OUI, liquor and negligence.           If, however, the

 4             Commonwealth has failed to prove beyond a

 5             reasonable doubt all elements of manslaughter while

 6             operating a motor vehicle under the influence of

 7             liquor and has failed to prove all of the elements

 8             of the lesser included offenses of involuntary

 9             manslaughter or motor vehicle homicide, felony,

10             OUI, liquor and negligence, then your verdict must

11             be not guilty to Count 2.

12                   MR. JACKSON:      May I have just a moment?

13                   THE COURT:     Yes.

14             (Whereupon, there was a brief pause.)

15                   MR. JACKSON:      Thank you, Your Honor.           May I be

16             heard?

17                   THE COURT:     Yes.

18                   MR. JACKSON:      I deeply appreciate the Court's

19             additional clarifying language.             I would simply ask

20             for one very simple amendment; and, that is, at the

21             top of the verdict slip, it says the two words "not

22             guilty."     We would ask that the verdict slip read,

23             "Not guilty of the offense charged or any lesser

24             included offense."

25                   That's it.     And I think that and the Court's




     R. 219                             R.125
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 220 of 424


                                                                              38-13

 1             clarifying instruction would satisfy the defense.

 2             Not I think.      I know it will.       That's all we ask.

 3             And I can repeat that if the Court wishes.

 4                    THE COURT:    So there are some like minor

 5             changes we have to make to the verdict slip anyway.

 6             It has to be consistent.          So the manslaughter while

 7             operating a motor vehicle under the influence, the

 8             tab needs to -- actually, Tori -- so there needs to

 9             be some physical changes in the verdict slip

10             anyway.     It needs to be indented.          There needs to

11             be a colon after "guilty of offense charged."                  It's

12             not complete.       It doesn't have "under the influence

13             of liquor."       It just says "under the influence."

14             So there are some minor changes that need to be

15             made to the verdict slip.

16                    Does the Commonwealth oppose the suggestion

17             made by Mr. Jackson which seems like a reasonable

18             one?

19                    MR. LALLY:    No, Your Honor.

20                    THE COURT:    All right.      So it will be not

21             guilty -- so tell me again how you want it?

22                    MR. JACKSON:     Sure.    "Not guilty of the

23             offense charged or any lesser included offense."

24                    THE COURT:    I think the clarifying language

25             that I proposed is important.




     R. 220                             R.126
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 221 of 424


                                                                                38-14

 1                   MR. JACKSON:       I do too, and I appreciate that.

 2             I think with that amendment to the slip and the

 3             clarifying language, I think coupling those up is

 4             exactly what the defense was asking for, and I

 5             appreciate that.

 6                   THE COURT:      So I need to -- I'd like to send

 7             in a written copy of what I just read.                There are a

 8             couple of things bolded.           I need to fix this up a

 9             little bit.        It was just done quickly.

10                   MR. JACKSON:       Okay.

11                   THE COURT:      The jury has been waiting.            Why

12             don't we bring them in and I will tell them that a

13             new verdict slip will be in.

14                   MR. JACKSON:       Thank you, Your Honor.

15                   THE COURT:      I do, though, have to make a

16             finding that the verdict slip as is was proper.

17             All right.        So we will just leave it at that.              I

18             will read the amendment that you wanted.                 That is

19             my fault.

20                   MR. JACKSON:       Thank you, Your Honor.           Just

21             from a logistics standpoint, once the new verdict

22             slip is prepared and ready --

23                   THE COURT:      We all need to see it.

24                   MR. JACKSON:       I was just going to ask.           Can we

25             have that emailed to us or something?




     R. 221                              R.127
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 222 of 424


                                                                                  38-15

 1                   THE COURT:     Yes.     We all need to see it.           I

 2             will work -- all right.           Bring the jurors in,

 3             please.

 4                   I'm sorry.     Suggested language on the SERT

 5             report?

 6                   MR. JACKSON:      I'm sorry, Judge?

 7                   THE COURT:     Any suggested language on their

 8             question?

 9                   MR. JACKSON:      No.      I think the Court's

10             correct, that in terms of the SERT report request,

11             the Court's answer is right on point, which is you

12             are directed to review the evidence that is in

13             front of you and that's it, or however you --

14                   THE COURT:     I am just going to say, you have

15             all the evidence in this case.

16                   MR. JACKSON:      Yes.      Yes.   I was stumbling.

17             (Whereupon, the jury enters the courtroom at

18             11:58 a.m.)

19                   THE COURT:     All right.       So, jurors, we are in

20             receipt of your question, "Can we request the SERT

21             report detailing the search performed?"

22                   I take this as a request, and the answer is

23             that you folks, you have all the evidence in the

24             case.    So what you have is the evidence in this

25             case.    You won't be receiving any additional




     R. 222                             R.128
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 223 of 424


                                                                              38-16

 1             evidence.     But, as long as I have you here, I want

 2             to clarify my instructions regarding your verdict

 3             as to Count 2 of the Indictment.

 4                   As I instructed you yesterday, there are two

 5             lesser offenses of that crime which are involuntary

 6             manslaughter and motor vehicle homicide, felony,

 7             OUI, liquor and negligence.

 8                   Therefore, Count 2 encompasses three separate

 9             charges, the most serious of which is manslaughter

10             while operating a vehicle under the influence of

11             liquor.

12                   In considering Count 2, you should first focus

13             on the crime of manslaughter while operating a

14             motor vehicle under the influence of liquor and, if

15             the Commonwealth has failed to prove that crime

16             beyond a reasonable doubt, then you are to consider

17             the remaining lesser included offenses in

18             descending order.        So the lead charge is

19             manslaughter while operating a motor vehicle under

20             the influence of liquor.

21                   If you find that the Commonwealth has proven

22             all five elements of this charge beyond a

23             reasonable doubt, then you verdict shall be guilty

24             of manslaughter while operating a motor vehicle

25             under the influence of liquor.




     R. 223                             R.129
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 224 of 424


                                                                              38-17

 1                   If, however, you find that the Commonwealth

 2             has not proven all five elements of manslaughter

 3             while operating a motor vehicle under the influence

 4             of liquor, then you are to consider whether the

 5             Commonwealth has proven beyond a reasonable doubt

 6             the three elements of the lesser included offense

 7             of involuntary manslaughter.

 8                   If the Commonwealth has proven the three

 9             elements of involuntary manslaughter, then your

10             verdict shall be guilty on the lesser included

11             offense of involuntary manslaughter.

12                   If, however, you find the Commonwealth has

13             failed to prove beyond a reasonable doubt the crime

14             of manslaughter while operating a motor vehicle

15             under the influence of liquor and the lesser

16             included offense of involuntary manslaughter, then

17             you are to consider whether the Commonwealth has

18             proven beyond a reasonable doubt the five elements

19             of motor vehicle homicide, felony, OUI, liquor and

20             negligence.

21                   If the Commonwealth has proven beyond a

22             reasonable doubt the five elements of motor vehicle

23             homicide, then your verdict shall be guilty of the

24             lesser included offense of motor vehicle homicide,

25             OUI, liquor and negligence.




     R. 224                             R.130
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 225 of 424


                                                                               38-18

 1                   If, however, the Commonwealth has failed to

 2             prove beyond a reasonable doubt all the elements of

 3             manslaughter while operating a motor vehicle under

 4             the influence of liquor and has failed to prove all

 5             the elements of the lesser included offenses of

 6             involuntary manslaughter or motor vehicle homicide,

 7             felony, OUI, liquor and negligence, then your

 8             verdict must be not guilty to Count 2.

 9                   So I am going to send in a new verdict slip on

10             Count 2.     It's just a little bit different and we

11             have to sort of change the -- we have to indent

12             something and change the spacing a little bit to

13             make it a little bit clearer for you.                Okay?

14                   So we will get that in to you in the next 10

15             minutes.     All right?      Thank you all very much.

16             (Whereupon, the jury exits the courtroom to resume

17             deliberations at 12:02 p.m., and a brief recess is

18             taken.)

19        (Court resumes at 12:45 p.m.)

20        (Defendant present.        Jury not present.)

21                   THE COURT OFFICER:          Court is back in session.

22             You may be seated.

23                   THE CLERK:      Judge, we are back on the record

24             in 22-117.        Counsel have both had an opportunity to

25             look at the new verdict slip.




     R. 225                              R.131
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 226 of 424


                                                                               38-19

 1                   THE COURT:     All right.       So does the defense

 2             say the verdict slip is in order?

 3                   MR. JACKSON:      It is, Your Honor.          Thank you,

 4             and we appreciate the Court.

 5                   THE COURT:     Okay.       Does the Commonwealth say

 6             the verdict slip is in order?

 7                   MR. LALLY:     Yes, Your Honor.

 8                   THE COURT:     All right.       So the verdict slip

 9             will go in.       Officer Delano, I'll let you do what

10             you do.

11                   So the verdict slip will go in to the jury and

12             I instruct you or Officer Lydon to remove the

13             verdict slip for Count No. 2 from the jury.                  Have

14             the jurors fold it, put it in an envelope and seal

15             it.    And we will bring that in and we will mark

16             that for identification.

17                   I am also going to send in a transcript of the

18             supplemental instruction I gave this morning.                   May

19             we mark that, Madam Court Reporter, please?

20                   THE COURT REPORTER:          Yes, Your Honor.        That is

21             "RRR" for Identification.

22             (Whereupon, additional written jury charge was

23             entered and marked Exhibit "RRR" for

24             Identification.)

25                   THE COURT:     I have copies for counsel.




     R. 226                             R.132
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 227 of 424


                                                                              38-20

 1                   MR. JACKSON:      May I approach?

 2                   THE COURT:     Yes.    All right.       So with that, we

 3             will be in recess.        And you'll remember that the

 4             jurors were instructed that we won't take any

 5             questions or verdict from 1:00 o'clock to 2:00

 6             o'clock.

 7                   MR. JACKSON:      I missed that last part, Judge.

 8                   THE COURT:     The jurors were instructed in the

 9             instructions I gave yesterday that we will not take

10             a verdict or a question from one to two.

11                   MR. JACKSON:      Understood.

12                   THE COURT:     So everybody is free.

13                   MR. LALLY:     Thank you.

14                   MR. JACKSON:      Thank you, Your Honor.

15                   THE COURT REPORTER:        "S" for identification is

16             the initial verdict slip on Count 2 in a sealed

17             envelope brought by Officer Paul Delano.

18                   To correct the record, it is marked "SSS" for

19             Identification.

20             (Whereupon, initial verdict slip for Count 2 in

21             sealed envelope was entered and marked Exhibit

22             "SSS" for Identification.)

23             (Whereupon, there was a luncheon recess taken at

24             12:55 p.m.)

25




     R. 227                             R.133
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 228 of 424


                                                                              38-21

 1                       A F T E R N O O N        S E S S I O N

 2        (Court resumes at 3:35 p.m.)

 3        (Defendant present.       Jury not present.)

 4                   THE COURT OFFICER:         Court is back in session.

 5             You may be seated.

 6                   THE COURT:     So the jurors have indicated they

 7             want to go home.

 8                   THE COURT REPORTER:         This will be "TTT" for

 9             Identification.

10             (Whereupon, communication from the jury was entered

11             and marked Exhibit "TTT" for Identification, and

12             the jury entered the courtroom at 3:38 p.m.)

13                   THE COURT:     All right, jurors.           You've been

14             working hard today.        I understand you want to go

15             home.    So we will suspend for the day and we will

16             see you tomorrow morning, ready to start right at

17             nine.

18                   So please follow those same three

19             instructions.       Do not discuss this case with

20             anyone.     Don't do any independent research or

21             investigation into this case.            If you happen to

22             see, hear or read anything about this case, please

23             disregard it.       Put the whole case out of your mind

24             until tomorrow.       We will see you tomorrow morning.

25             Thank you.




     R. 228                             R.134
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 229 of 424


                                                                              38-22

 1             (Whereupon, the jury exited the courtroom.)

 2                   THE COURT:     All right.      We will see you

 3             tomorrow.

 4             (Whereupon, the Court adjourned.)

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     R. 229                             R.135
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 230 of 424


                                                                              38-23

 1                               C E R T I F I C A T E

 2

 3                   I, Paula M. Mills, retired certified court

 4             reporter, do hereby certify that the foregoing

 5             pages, page 38-3 to 38-22, is a true and accurate

 6             transcription of the voice recording in the

 7             aforementioned matter to the best of my skill and

 8             ability.

 9                   This, the 9th day of June, 2024.

10

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12

13                                     Paula M. Mills

14                                     Retired Certified Court Reporter

15                                     and Court Transcriptionist

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     R. 230                             R.136
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 231 of 424




R. 231                             R.137
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 232 of 424




R. 232                             R.138
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 233 of 424




R. 233                             R.139
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 234 of 424




R. 234                             R.140
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 235 of 424




R. 235                             R.141
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 236 of 424




R. 236                             R.142
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 237 of 424




R. 237                             R.143
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 238 of 424




R. 238                             R.144
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 239 of 424




R. 239                             R.145
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 240 of 424




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                                                   Pages:    7
                                                   Exhibits: (See Index)


                       COMMONWEALTH OF MASSACHUSETTS

     NORFOLK, SS.                            SUPERIOR COURT DEPARTMENT
                                             OF THE TRIAL COURT


     * * * * * * * * * * * * * * * * *
                                     *
     COMMONWEALTH OF MASSACHUSETTS   *
                                     *
     vs.                             *               Indictment No.
                                     *               2282CR00117
     KAREN READ                      *
                                     *
     * * * * * * * * * * * * * * * * *




                        Day 39 - Trial with Jury
                  Before the Honorable Beverly Cannone




     APPEARANCES:

     For The Commonwealth:
     BY: Adam Lally
         Laura McLaughlin
         Assistants District Attorney

     For Karen Read:
     BY: Alan Jackson
         David Yannetti
         Elizabeth Little
         Attorneys at Law


                                           Norfolk Superior Courthouse
                                           Dedham, Massachusetts
                                           Thursday, June 27, 2024


                              Paula M. Mills
                     Retired Certified Court Reporter
                        and Court Transcriptionist




R. 240                             R.146
   Case 1:25-cv-10399-FDS   Document 2-1     Filed 02/18/25   Page 241 of 424



                                                                                39-2

                                     I N D E X

     WITNESS:               DIRECT       CROSS        REDIRECT        RECROSS

     (None)


                               E X H I B I T S

     NUMBER                                                               PAGE

     "UUU"       Communication from the jury                              39-5




R. 241                               R.147
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 242 of 424


                                                                               39-3

 1                               P R O C E E D I N G S

 2                                   June 27, 2024

 3        (Court in session at 9:03 a.m.)

 4        (Defendant present.       Jury present.)

 5                   THE COURT OFFICER:         Hear ye, hear ye, hear ye.

 6             All persons having any business before the

 7             Honorable Beverly Cannone, Justice of the Norfolk

 8             Superior Court and for the County of Norfolk, draw

 9             near, give your attendance.           You shall be heard.

10             God save the Commonwealth of Massachusetts.                  This

11             court is now open.        You may be seated.

12                   THE CLERK:     22-117, Commonwealth versus

13             Karen Read.

14                   THE COURT:     Good morning, counsel.           Good

15             morning, Ms. Read.        Good morning, jurors.

16                   THE JURORS:      Good morning (in unison).

17                   THE COURT:     I have those same three questions

18             for you.     Were you all able to follow the

19             instructions and refrain from discussing this case

20             with anyone since we left yesterday?

21                   Everyone said "yes" or nodded affirmatively.

22                   Were you also able to follow the instructions

23             and refrain from doing any independent research or

24             investigation into this case?

25                   Everyone said "yes" or nodded affirmatively.




     R. 242                             R.148
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 243 of 424


                                                                               39-4

 1                   Did anyone happen to see, hear or read

 2             anything about this case since we left here

 3             yesterday?

 4                   Everyone said "no" or shook their heads.

 5                   All right.     With that, Mr. Foreman, I am

 6             sending you and the rest of the jurors out to

 7             deliberate.

 8             (Whereupon, the jury exited the courtroom to resume

 9             deliberations at 9:04 a.m.)

10                   THE COURT:     All right.      The same as yesterday.

11             Please stay in the building until 10:00 o'clock.

12             Be back here at 3:30.        If you leave the building,

13             let the court officers know where you are going to

14             be and be prepared to be back in your seats within

15             five minutes.       Okay?   Thank you.

16                   MR. JACKSON:      Thank you, Your Honor.

17                   MR. LALLY:     Thank you.

18             (Whereupon, there was a brief recess taken.)

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     R. 243                             R.149
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 244 of 424


                                                                               39-5

 1                       A F T E R N O O N        S E S S I O N

 2        (Court resumes at 3:39 p.m.)

 3        (Defendant present.       Jury not present.)

 4                   THE COURT OFFICER:         Court is back in session.

 5             You may be seated.

 6                   THE COURT:     The jury indicates they want to go

 7             home, but I'd like to see counsel at sidebar,

 8             please.

 9             SEALED SIDEBAR

10                   THE COURT REPORTER:         "UUU."

11             (Whereupon, communication from the jury was entered

12             and marked Exhibit "UUU" for Identification.)

13             (Whereupon, the jury entered the courtroom at

14             3:42 p.m.)

15                   THE COURT OFFICER:         Court is in session.

16             Please be seated.

17                   THE COURT:     Okay, jurors.        We all appreciate

18             how hard you've been working and I understand you'd

19             like to stop for the day.          So we will certainly do

20             that.    We appreciate everything you're doing.

21                   I do have to give you those same three

22             cautions.     Please do not discuss this case with

23             anyone.     Don't do any independent research or

24             investigation into this case.            If you happen to

25             see, hear or read anything about this case, please




     R. 244                             R.150
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 245 of 424


                                                                               39-6

 1             disregard it and let us know.            Clear your heads.

 2             We'll see you tomorrow morning.             Thank you very

 3             much.

 4             (Whereupon, the jury exited the courtroom.)

 5                   THE COURT:     All right.      We will see everybody

 6             tomorrow morning.

 7                   MR. JACKSON:      Thank you, Your Honor.

 8             (Whereupon, the Court adjourned.)

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     R. 245                             R.151
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 246 of 424


                                                                               39-7

 1                               C E R T I F I C A T E

 2

 3                   I, Paula M. Mills, retired certified court

 4             reporter, do hereby certify that the foregoing

 5             pages, page 39-3 to 39-6, is a true and accurate

 6             transcription of the voice recording in the

 7             aforementioned matter to the best of my skill and

 8             ability.

 9                   This, the 13th day of July, 2024.

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13                                     Paula M. Mills

14                                     Retired Certified Court Reporter

15                                     and Court Transcriptionist

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     R. 246                             R.152
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 247 of 424




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                                                   Pages:    11
                                                   Exhibits: (See Index)


                       COMMONWEALTH OF MASSACHUSETTS

     NORFOLK, SS.                            SUPERIOR COURT DEPARTMENT
                                             OF THE TRIAL COURT


     * * * * * * * * * * * * * * * * *
                                     *
     COMMONWEALTH OF MASSACHUSETTS   *
                                     *
     vs.                             *               Indictment No.
                                     *               2282CR00117
     KAREN READ                      *
                                     *
     * * * * * * * * * * * * * * * * *




                        Day 40 - Trial with Jury
                  Before the Honorable Beverly Cannone




     APPEARANCES:

     For The Commonwealth:
     BY: Adam Lally
         Laura McLaughlin
         Assistants District Attorney

     For Karen Read:
     BY: Alan Jackson
         David Yannetti
         Elizabeth Little
         Attorneys at Law


                                           Norfolk Superior Courthouse
                                           Dedham, Massachusetts
                                           Friday, June 28, 2024


                              Paula M. Mills
                     Retired Certified Court Reporter
                        and Court Transcriptionist




R. 247                             R.153
   Case 1:25-cv-10399-FDS   Document 2-1     Filed 02/18/25   Page 248 of 424



                                                                                40-2

                                     I N D E X

     WITNESS:               DIRECT       CROSS        REDIRECT        RECROSS

     (None)


                               E X H I B I T S

     NUMBER                                                               PAGE

     "VVV"       Communication from the jury                              40-7

     "WWW"       Communication from the jury                              40-9

     "XXX"       Two envelopes Re: media                                  40-10




R. 248                               R.154
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25     Page 249 of 424


                                                                                  40-3

 1                               P R O C E E D I N G S

 2                                   June 27, 2024

 3        (Court in session at 9:06 a.m.)

 4        (Defendant present.       Jury present.)

 5                   THE CLERK:     Hear ye, hear ye, hear ye.              All

 6             parties that have anything to do before the

 7             Honorable First Justice Beverly Cannone, now

 8             sitting in the Dedham Superior Court, within and

 9             for the County of Norfolk, draw near, give your

10             attendance and you shall be heard.                 God save the

11             Commonwealth and this court.

12                   Thank you.     You may be seated.            Court is now

13             in session.

14                   THE CLERK:     Good morning, Your Honor.              22-117,

15             Commonwealth versus Karen Read.

16                   THE COURT:     Good morning.        Counsel, good

17             morning.     Good morning, Ms. Read.              Good morning,

18             jurors.

19                   I want to thank you for getting here promptly.

20             I do have those three questions for you.                  Were you

21             all able to follow the instructions and refrain

22             from discussing this case with anyone since we left

23             yesterday?

24                   Everyone said "yes" or nodded affirmatively.

25                   Were you also able to follow the instructions




     R. 249                             R.155
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 250 of 424


                                                                               40-4

 1             and refrain from doing any independent research or

 2             investigation into this case?

 3                   Everyone said "yes" or nodded affirmatively.

 4                   Did anyone happen to see, hear or read

 5             anything about this case since we left yesterday?

 6                   Everyone said "no" or shook their heads.

 7                   With that, Mr. Foreman, I'm going to send you

 8             all back out to deliberate.

 9             (Whereupon, the jury exited the courtroom to resume

10             deliberations at 9:08 a.m. and a brief recess was

11             taken.)

12        (Court resumes at 12:10 p.m.)

13        (Defendant present.       Jury not present.)

14                   THE COURT OFFICER:         Thank you.       Please be

15             seated.     Court is in session.

16                   THE CLERK:     We are back on the record on

17             22-117, Commonwealth versus Karen Read.

18                   THE COURT:     All right.      So, counsel,

19             you're aware of our note from the jury.                "Dear

20             Judge Cannone:       I am writing to inform you on

21             behalf of the jury that despite our exhaustive

22             review of the evidence and our diligent

23             consideration of all disputed evidence, we have

24             been unable to reach a unanimous verdict," signed

25             by the foreperson.




     R. 250                             R.156
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 251 of 424


                                                                                40-5

 1                    So I want to hear from counsel your view on

 2             whether there has been due and thorough

 3             deliberations.       So let's start with the

 4             Commonwealth.

 5                    MR. LALLY:    My answer would be "no," Your

 6             Honor.    There simply hasn't been sufficient time

 7             yet.

 8                    THE COURT:    And what does the defense say?

 9                    MR. JACKSON:     We believe that there has been

10             sufficient time.

11                    THE COURT:    All right.       So I'll hear from both

12             of you in more detail.           Mr. Lally, I will hear you.

13                    MR. LALLY:    Your Honor, the jury received this

14             case earlier this week.           They've had slightly

15             shortened days, and I'm not in any way, shape or

16             form suggesting that they haven't conducted their

17             due diligence in regard to their deliberative

18             process.     But I would submit that it is far, far,

19             far too early in their deliberative process to even

20             consider giving them any kind of Tuey-Rodriguez

21             instruction or anything close to that.

22                    Furthermore, the note doesn't really indicate

23             affirmatively that they can't come to a conclusion.

24             It just says that they haven't come to a conclusion

25             through their deliberative process at this time.



     R. 251                             R.157
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 252 of 424


                                                                                 40-6

 1             They are not even asking for one, is what I would

 2             say.

 3                    THE COURT:    All right.      Thank you.

 4                    Mr. Yannetti, I'll hear you.

 5                    MR. YANNETTI:     Your Honor, I would disagree

 6             with Mr. Lally's characterization of the note.                    The

 7             word "exhaustive" is the word I think that's

 8             operative here.       They are communicating to the

 9             Court that they've exhausted all manner of

10             compromise, all manner of persuasion and they are

11             at an impasse.

12                    You know, this is a case where the jury has

13             the legal instructions.          They've only really asked

14             one question, which was to try to get a report that

15             they were not allowed to get.            And I think the

16             message has been received that the evidence is

17             closed.     They won't get anything more.

18                    They've been working essentially nonstop over

19             the last, you know, three, four days.               You know, we

20             are approaching a weekend.           They didn't come back

21             with this at 3:00 o'clock or 4:00 o'clock.                 They

22             are at 12:00 o'clock, and they have nowhere to

23             turn.

24                    So our position is the jury should be read the

25             Tuey-Rodriguez model instruction and go from there.



     R. 252                             R.158
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25    Page 253 of 424


                                                                                 40-7

 1                    THE COURT:    Okay.       All right.        So you all know

 2             that it is within my discretion.              I decide.       So a

 3             case that has been -- it is a long case.                  This is

 4             our fourth day of deliberations, but Tuesday was a

 5             short afternoon, maybe two and a half hours.

 6             Wednesday, they left early because of an

 7             appointment.      Yesterday was also shortened a little

 8             bit.    And this note arrived with less than three

 9             hours of deliberations today, so that the length of

10             the trial, the length of the deliberations -- I

11             know the case had -- we heard from 74 witnesses.

12             There are 657 exhibits, very complex issues in this

13             case.

14                    I am not prepared to find that there have been

15             due and thorough deliberations at this point.                    So I

16             am going to send them back out.              We will bring them

17             in, and we will do that now.

18             (Whereupon, communication from the jury was entered

19             and marked Exhibit "VVV for Identification.)

20             (Whereupon, the jury entered the courtroom at

21             12:14 p.m.)

22                    THE COURT:    All right.       So, jurors, I am in

23             receipt of your note. "I am writing to inform you

24             on behalf of the jury that despite our exhaustive

25             review of the evidence and our diligent




     R. 253                             R.159
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 254 of 424


                                                                               40-8

 1             consideration of all disputed evidence, we have

 2             been unable to reach a unanimous verdict," signed

 3             by your foreperson.

 4                   We all know how hard you've been working.

 5             Lunch will be arriving shortly.             When it comes, I

 6             would ask you to clear your heads, have lunch and

 7             begin your deliberations again or continue your

 8             deliberations.       All right?      So I am sending you

 9             back up.

10             (Whereupon, the jury exited the courtroom to resume

11             deliberations at 12:16 p.m.)

12                   THE COURT OFFICER:         Thank you.       Be seated.

13             Court is still in session.

14                   THE COURT:     All right.      So the note has been

15             marked for identification and we will see you all

16             either at 3:30 or when you get a phone call.

17                   THE COURT REPORTER:         For the record, that is

18             "VVV" for Identification.

19                   THE CLERK:     "VVV."      Thank you.

20             (Whereupon, there was a brief recess taken.)

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     R. 254                             R.160
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25     Page 255 of 424


                                                                                   40-9

 1                       A F T E R N O O N        S E S S I O N

 2        (Court resumes at 3:42 p.m.)

 3        (Defendant present.       Jury not present.)

 4                   THE COURT:     All right.      So I sent the note in

 5             at 3:30 like I've done each day, asking if they

 6             want to go home or continue.           They indicated that

 7             they want to continue until 4:15.                 So we will

 8             continue until 4:15.

 9                   Madam Court Reporter?

10                   THE COURT REPORTER:        Yes, Your Honor.           That

11             will be "WWW."

12             (Whereupon, communication from the jury was entered

13             and marked Exhibit "WWW" for Identification.)

14                   THE COURT:     All right.      So I'll see you at

15             4:15.

16             (Whereupon, there was a brief recess taken.)

17        (Court resumes at 4:17 p.m.)

18        (Defendant present.       Jury present.)

19                   THE COURT:     All right.      So, jurors, we all

20             know how hard you've been working.                 It's been a

21             long day.     We are going to let you go home.                We

22             will see you Monday morning at 9:00 o'clock.                   To

23             the extent that you can, please just not think

24             about this case this weekend.            Clear your heads.

25             We will start fresh on Monday.




     R. 255                             R.161
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                                                                              40-10

 1                   So please follow those instructions.               Do not

 2             discuss this case with anyone.            Don't do any

 3             independent research or investigation into the

 4             case.    If you happen to see, hear or read anything

 5             about the case, please disregard it.               We'll see you

 6             Monday morning.       Thank you.

 7             (Whereupon, the jury exits the courtroom.)

 8             (Whereupon, two envelopes Re: Media were entered

 9             and marked "XXX" for Identification.)

10                   THE COURT REPORTER:         For the record, that's

11             "XXX" for Identification.)

12                   THE COURT OFFICER:         Please be seated.        Court

13             is still in session.

14                   THE COURT:     All right.      We will see you Monday

15             morning.

16             (Whereupon, the Court adjourned.)

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     R. 256                             R.162
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 257 of 424


                                                                              40-11

 1                               C E R T I F I C A T E

 2

 3                   I, Paula M. Mills, retired certified court

 4             reporter, do hereby certify that the foregoing

 5             pages, page 40-3 to 40-10, is a true and accurate

 6             transcription of the voice recording in the

 7             aforementioned matter to the best of my skill and

 8             ability.

 9                   This, the 13th day of July, 2024.

10

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12

13                                     Paula M. Mills

14                                     Retired Certified Court Reporter

15                                     and Court Transcriptionist

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     R. 257                             R.163
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                                                   Pages:    14
                                                   Exhibits: (See Index)


                       COMMONWEALTH OF MASSACHUSETTS

     NORFOLK, SS.                            SUPERIOR COURT DEPARTMENT
                                             OF THE TRIAL COURT


     * * * * * * * * * * * * * * * * *
                                     *
     COMMONWEALTH OF MASSACHUSETTS   *
                                     *
     vs.                             *               Indictment No.
                                     *               2282CR00117
     KAREN READ                      *
                                     *
     * * * * * * * * * * * * * * * * *




                        Day 41 - Trial with Jury
                  Before the Honorable Beverly Cannone




     APPEARANCES:

     For The Commonwealth:
     BY: Adam Lally
         Laura McLaughlin
         Assistants District Attorney

     For Karen Read:
     BY: Alan Jackson
         David Yannetti
         Elizabeth Little
         Attorneys at Law


                                           Norfolk Superior Courthouse
                                           Dedham, Massachusetts
                                           Monday, July 1, 2024


                              Paula M. Mills
                     Retired Certified Court Reporter
                        and Court Transcriptionist




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                                                                                41-2

                                     I N D E X

     WITNESS:               DIRECT       CROSS        REDIRECT        RECROSS

     (None)


                               E X H I B I T S

     NUMBER                                                               PAGE

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     "ZZZ"       Communication from the jury                              41-10

     "AAAA"      Communication from the jury                              41-12




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                                                                                 41-3

 1                               P R O C E E D I N G S

 2                                    July 1, 2024

 3        (Court in session.)

 4        (Defendant present.       Jury present.)

 5                   THE COURT OFFICER:         Hear ye, hear ye, hear ye.

 6             All parties having anything to do before the

 7             Honorable First Justice Beverly Cannone, now

 8             sitting in the Dedham Superior Court, in and for

 9             the County of Norfolk, draw near, give your

10             attendance and you shall be heard.                God save the

11             Commonwealth and this honorable court.                 Court is

12             now in session.

13                   THE CLERK:     22-117, Commonwealth versus

14             Karen Read.

15                   THE COURT:     Good morning, counsel.            Good

16             morning, Ms. Read.        Good morning, jurors.           Welcome

17             back.

18                   We will ask you those same three questions.

19             Was everyone able to follow the instructions and

20             refrain from discussing this case with anyone since

21             we left here Friday?

22                   Everyone said "yes" and nodded affirmatively.

23                   Were you also able to follow the instructions

24             and refrain from doing any independent research or

25             investigation into this case?




     R. 260                             R.166
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                                                                               41-4

 1                   Everyone said "yes" or nodded affirmatively.

 2                   Did anyone happen to see, hear or read

 3             anything about this case since we left here on

 4             Friday?

 5                   All right.     So, Mr. Foreman, we are going to

 6             send you folks back out.          Thank you.

 7             (Whereupon, the jury exits the courtroom to resume

 8             deliberations.)

 9                   THE COURT:     All right.      Thank you, everybody.

10             (Whereupon, there was a brief recess.)

11        (Court resumes.)

12        (Defendant present.       Jury not present.)

13                   THE CLERK:     We are back on the record on

14             Karen Read, Your Honor.          We have a question from

15             the jury.

16                   THE COURT:     All right.      So, Mr. Lally, I'd

17             like to hear from the Commonwealth first about due

18             and thorough deliberations.

19                   MR. LALLY:     I'm sorry.      I didn't hear that,

20             Your Honor.

21                   THE COURT:     I'd like to hear from the

22             Commonwealth first about your view on whether the

23             jury has conducted due and thorough deliberations.

24                   MR. LALLY:     Your Honor, while I understand

25             that they have been at this for a while, I would




     R. 261                             R.167
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25   Page 262 of 424


                                                                                41-5

 1             submit that they have not and I would ask the Court

 2             not to make such a finding.

 3                   The reasons for that, Your Honor, is this jury

 4             heard, I believe, about 29 days or so of testimony,

 5             657 different exhibits marked as evidence, 74

 6             different witnesses who testified before them.

 7             And, while I believe they've been out for somewhere

 8             in the vicinity of 22 or 23 hours, what I would

 9             submit to the Court, based on all of that, as well

10             as the complexity of the issues presented to them,

11             they really haven't even had one hour of

12             deliberation equivalent to one day of testimony, to

13             each of the days of testimony that they've heard.

14                   So while they have been at it for a while, I

15             would submit that based on the evidence and

16             testimony and witnesses and the complexity of

17             issues in this case, I would submit that they have

18             not done a thorough deliberation up to this point.

19                   THE COURT:     Mr. Yannetti?

20                   MR. YANNETTI:      Our view is that it's time for

21             a Tuey-Rodriguez, Your Honor.             They have come back

22             now twice, indicating essentially that they are

23             hopelessly deadlocked.           The content of this latest

24             message is that they have been over all the

25             evidence.     The previous message said they did an



     R. 262                             R.168
        Case 1:25-cv-10399-FDS   Document 2-1    Filed 02/18/25    Page 263 of 424


                                                                                 41-6

 1             exhaustive review.        This time they said that we

 2             have, they have, fundamental disagreements about

 3             what the evidence means and it's a matter of

 4             opinion.     It's not a matter of lack of

 5             understanding.

 6                   This Court, when you sent the jury out,

 7             encouraged them not to take a straw vote,

 8             encouraged them to go over all of the evidence in a

 9             very methodical manner.           I think all indications

10             are that they've done that, and this is what

11             Tuey-Rodriguez is for.           We'd ask the Court to give

12             it.

13                   THE COURT:     I think this has been an

14             extraordinary jury.        I've never seen a note like

15             this reporting to be at an impasse.                 I do find that

16             they are now, with the additional time that they

17             went out without coming back Friday, saying that

18             they were deadlocked, is due and thorough

19             deliberations.       So I am going to give Tuey-

20             Rodriguez.

21                   So are they ready to come in?                So why don't I

22             take a recess.

23                   Nancy, you need this.

24                   THE COURT REPORTER:         Communication from the

25             jury is "YYY" for Identification.



     R. 263                             R.169
        Case 1:25-cv-10399-FDS   Document 2-1     Filed 02/18/25    Page 264 of 424


                                                                                  41-7

 1             (Whereupon, communication from the jury was entered

 2             and marked Exhibit "YYY" for Identification.)

 3             (Whereupon, there was as brief recess taken.)

 4        (Court resumes.)

 5        (Defendant present.       Jury present.)

 6                   THE COURT OFFICER:          Please rise for the jury.

 7             Court is in session.        Please be seated.

 8                   THE COURT:     All right.        So, jurors, I am in

 9             receipt of your note.            "Judge Cannone, despite our

10             commitment to the duty entrusted to us, we find

11             ourselves deeply divided by fundamental differences

12             in our opinions and state of mind.                  The divergence

13             in our views are not rooted in a lack of

14             understanding or effort but deeply held convictions

15             that each of us carry, ultimately leading to a

16             point where consensus is unattainable.                   We

17             recognize the weight of this admission and the

18             implications it holds."

19                   So, Mr. Foreman and members of the jury, I

20             have an instruction for you.             Our Constitution and

21             laws provide that in a criminal case, the principal

22             method for deciding questions of fact is the

23             verdict of a jury.        In most cases, and perhaps

24             strictly speaking in all cases, absolute certainty

25             cannot be attained nor is it expected.




     R. 264                             R.170
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                                                                               41-8

 1                   The verdict to which each juror agrees must,

 2             of course, be his or her own verdict, the result of

 3             his or her own convictions and not merely an

 4             acquiescence in the conclusions of the other

 5             jurors.

 6                   Still, in order to bring 12 minds to a

 7             unanimous result, you must examine the issues you

 8             have to decide with candor and with a proper regard

 9             and respect for each other's opinions.               You should

10             consider that it is desirable that this case be

11             decided.     You have been selected in the same manner

12             and from the same source as any future jury would

13             be selected.

14                   There is no reason to suppose that this case

15             will ever be submitted to 12 persons who are more

16             intelligent, more impartial or more competent to

17             decide it than you are, or that more or clearer

18             evidence will be produced in another trial.

19                   With all this in mind, it is your duty to

20             decide this case if you can do so conscientiously.

21             In order to make a decision more attainable, the

22             law always imposes the burden of proof on the

23             Commonwealth to establish every essential element

24             of each indictment beyond a reasonable doubt.                  If

25             you are left with a reasonable doubt as to any




     R. 265                             R.171
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 1             essential element of any indictment, then the

 2             defendant is entitled to the benefit of that doubt

 3             and must be found not guilty on that indictment.

 4                   In conferring together, you are to give proper

 5             respect to each other's opinions and listen with an

 6             open mind to each other's arguments.               Where there

 7             is disagreement, those jurors who would find the

 8             defendant not guilty should consider whether the

 9             doubt in their own minds is a reasonable one if it

10             makes no impression upon the minds of the other

11             jurors, who are equally honest and equally

12             intelligent, who have heard the same evidence with

13             the same attention, who have an equal desire to

14             arrive at the truth and who have taken the same

15             oath as jurors.

16                   At the same time, those jurors who would find

17             the defendant guilty ought seriously to ask

18             themselves whether they may not reasonably doubt

19             the correctness of their judgment if it is not

20             shared by other members of the jury.               They should

21             ask themselves whether they should distrust the

22             weight or sufficiency of the evidence if it has

23             failed to convince the minds of their fellow jurors

24             beyond a reasonable doubt.

25                   I will now ask you, Mr. Foreman and members of




     R. 266                             R.172
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 1             the jury, to return to your deliberations with

 2             these instructions in mind.           And, as with my final

 3             instructions and the supplemental instructions I

 4             sent in, I will send in a copy of this charge, as

 5             well.

 6                   All right.     So may that be marked, Madam Court

 7             Reporter, please?

 8                   THE COURT REPORTER:         Yes, Your Honor.

 9             (Whereupon, communication from the jury was entered

10             and marked Exhibit "ZZZ" for Identification.)

11                   THE COURT:     We will send you folks back out to

12             deliberate.

13             (Whereupon, the jury exits the courtroom to resume

14             deliberations, and a brief recess was taken.)

15        (Court resumes.)

16        (Defendant present.       Jury not present.)

17                   THE COURT OFFICER:         Please be seated.        Court

18             is in session.

19                   THE CLERK:     22-117, Commonwealth versus

20             Karen Read.

21                   THE COURT:     All right.      The jury is at an

22             impasse.

23                   THE COURT OFFICER:         Please rise for the jury.

24             (Whereupon, the jury enters the courtroom.)

25                   THE COURT OFFICER:         This court is in session.




     R. 267                             R.173
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                                                                                 41-11

 1             Please be seated.

 2                   THE COURT:      All right.        Mr. Foreman, I am in

 3             receipt of your note.             "Judge Cannone, despite our

 4             rigorous efforts, we continue to find ourselves at

 5             an impasse.        Our perspectives on the evidence are

 6             starkly divided.        Some members of the jury firmly

 7             believe that the evidence surpasses the burden of

 8             proof, establishing the elements of the charges

 9             beyond a reasonable doubt.              Conversely, others find

10             the evidence fails to meet this standard and does

11             not sufficiently establish the necessary elements

12             of the charges.

13                   The deep division is not due to a lack of

14             effort or diligence but, rather, a sincere

15             adherence to our individual principles and moral

16             convictions.        To continue to deliberate would be

17             futile and only serve to force us to compromise

18             these deeply held beliefs."

19                   I am not going to do that to you, folks.                   Your

20             service is complete.         I am declaring a mistrial in

21             this case.        I will be in to see you privately in a

22             few minutes, and thank you so much for your

23             service.

24             (Whereupon, the jury exits the courtroom and is

25             discharged.)




     R. 268                              R.174
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                                                                              41-12

 1                   THE COURT REPORTER:        "AAAA" for

 2             Identification.

 3             (Whereupon, communication from the jury was entered

 4             and marked Exhibit "AAAA" for Identification.)

 5                   THE COURT:     All right.      I'd like to pick a

 6             status date to find out what our next move is.                  So

 7             I'd like to come back sometime maybe the end of

 8             July.    I understand people have vacation schedules.

 9             Can we come in the week of the 21st?

10                   THE LALLY:     That's fine.

11                   MR. YANNETTI:        Your Honor, I'm just looking at

12             my calendar.       Could we do the 22nd at 2:00 p.m.,

13             Your Honor?       And I would appear for my client.

14                   THE COURT:     Is there another day that week?

15             Could you do the 25th or 26th?

16                   MR. YANNETTI:        Unfortunately, I think I am

17             supposed to leave for vacation on the 25th.

18                   THE COURT:     The 22nd and the 24th are not

19             great dates.

20                   MR. YANNETTI:        What about the 19th at nine?

21             Is that whole week not good?

22                   THE COURT:     No.    That week is not good.          I'm

23             teaching and I cannot get out of it.

24                   MR. YANNETTI:        Can we do August 7th, 8th, 9th,

25             any of those days?




     R. 269                             R.175
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 1                   THE COURT:     No.    We'll do the 22nd.          We'll go

 2             back to the 22nd.

 3                   MR. JACKSON:      Your Honor, so the Court knows,

 4             Ms. Little and I are not available on the 22nd.                      We

 5             have a hearing in Los Angeles on the 22nd.                  We

 6             would be proposing to appear remotely, anyway.

 7                   THE COURT:     Okay.

 8                   MR. JACKSON:      But, for a status conference, I

 9             don't want the Court to think it's disrespectful to

10             the Court, but Ms. Little and I probably will not

11             appear.

12                   THE COURT:     Okay.       So you and your client will

13             be here in person, Mr. Yannetti?

14                   MR. YANNETTI:        Yes.

15                   THE COURT:     All right.       Thank you.       We'll see

16             you then.

17             (Whereupon, the Court adjourned.)

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     R. 270                             R.176
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                                                                              41-14

 1                               C E R T I F I C A T E

 2

 3                   I, Paula M. Mills, retired certified court

 4             reporter, do hereby certify that the foregoing

 5             pages, page 41-3 to 41-13, is a true and accurate

 6             transcription of the voice recording in the

 7             aforementioned matter to the best of my skill and

 8             ability.

 9                   This, the 13th day of July, 2024.

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13                                     Paula M. Mills

14                                     Retired Certified Court Reporter

15                                     and Court Transcriptionist

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                            COMMONWEALTH OF MASSACHUSETTS

    NORFOLK, SS                               SUPERIOR COURT DEPARTMENT

    **********************************
                                     *
    COMMONWEALTH OF MASSACHUSETTS    *
                                     *                DOCKET NO.
    v.                               *                2282CR00117
                                     *
    KAREN READ                       *
                                     *
    **********************************

                      NON-EVIDENTIARY HEARING TO DISMISS
                   BEFORE THE HONORABLE BEVERLY J. CANNONE

    APPEARANCES:

    For the Commonwealth:

    Norfolk County District Attorney’s Office
    45 Shawmut Road
    Canton, MA 02021
    By: Adam C. Lally, Assistant District Attorney
         Laura McLaughlin, Esq.

    For the Defendant:                          For the Defendant:

    Yannetti Criminal Defense Law Firm          Martin G. Weinberg, P.C.
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    By: David Yannetti, Esq.                    By: Martin G. Weinberg, Esq.




                                         Friday, August 9, 2024
                                         Courtroom 25
                                         Dedham, MA


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 1                                  P R O C E E D I N G S

 2

 3       (Court in session at 2:00 p.m.)

 4

 5            THE CLERK:         Judge, 22117, Commonwealth v. Karen Read.

 6            Counsel, identify themselves, starting with the

 7       Commonwealth.

 8            MR. LALLY:         Adam Lally for the Commonwealth.

 9            Good afternoon, Your Honor.

10            THE COURT:         Good afternoon, Mr. Lally.

11            MS. MCLAUGHLIN:         Good afternoon, Your Honor.

12            Laura McLaughlin for the Commonwealth.

13            THE COURT:         Good afternoon, Ms. McLaughlin.

14            MR. WEINBERG:         Good afternoon, Your Honor.

15            Martin Weinberg on behalf of Karen Read, who sits

16       to my left, and co-counsel David Yannetti.

17            THE COURT:         Good afternoon Mr. Weinberg, good

18       afternoon Mr. Yannetti, good afternoon Ms. Read.

19

20                       NON-EVIDENTIARY HEARING TO DISMISS

21

22            THE COURT:         All right.       Mr. Weinberg, I will hear

23       you on your Motion.

24            MR. WEINBERG:         Thank you, your Honor.

25            May I use the podium?




     R. 334                               R.240
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                                                                                   4
 1            THE COURT:     Of course.

 2            MR. WEINBERG:      Thank you.

 3            Judge, there are two central issues.

 4            THE COURT:     I don’t know if there’s a microphone

 5       there.   Is there a microphone?

 6            THE CLERK:     There’s not one for amplification.

 7       There is one for recording.

 8            THE COURT:     If I could ask you to keep you voice

 9       up or turn off the air-conditioning, please.

10            THE CLERK:     Yes, Your Honor.

11            THE COURT:     I just want to make sure that I hear

12       everything.

13            MR. WEINBERG:      On a day like this, I’ll keep my

14       voice up.

15            THE COURT:     Okay.

16            MR. WEINBERG:      And thank you, Your Honor.

17            There are two central issues that raised by the

18       Motion to Dismiss and the Supplemental Affidavits that

19       have been filed on behalf of Ms. Read.

20            The first of them is whether or not where there’s

21       strong and I contend uncontradicted evidence that the

22       jury reached to unanimous decision, even if it wasn’t

23       formalized into a vote or into a polling announcement

24       to the Court, but it’s strong and uncontradicted as a

25       result of the juror declarations that were made through



     R. 335                             R.241
        Case 1:25-cv-10399-FDS     Document 2-1   Filed 02/18/25   Page 336 of 424
                                                                                     5
 1       counsel to the Court, one to by counsel, that the jury

 2       reached a unanimous verdict on two of the three counts

 3       of the three-count indictment.

 4            So, the legal issue is in the face of that evidence,

 5       you know, whether or not Ms. Read can again be re-

 6       prosecuted for the same offense by the same prosecutor

 7       who we contend failed to prove her guilt to even one,

 8       much less twelve jurors in trial one.

 9            And when I address that, Judge, I will, you know,

10       make a proposal to Your Honor that’s close to the

11       procedural pathway used by other judges --

12            THE COURT:     Okay.

13            MR. WEINBERG:        -- in cases similar to this in

14       terms of just how do we transform representations in

15       attorney affidavits into a hard proof that we believe

16       will convince the Court, and in fact, believe it will

17       convince Mr. Lally and the District Attorney’s Office

18       that that jury, a jury that Your Honor described as an

19       extraordinary jury, reached a decision --

20            THE COURT:         Okay.

21            MR. WEINBERG:         -- that will be consistent with

22       their jury service and consistent with respecting that

23       jury service that would give at least the jurors who

24       are willing to appear before the Court anonymously the

25       opportunity to inform the Court that this was a final



     R. 336                               R.242
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 337 of 424
                                                                                   6
 1       unanimous decision, t didn’t get further deliberation.

 2       It was a unanimous decision on two of the three counts,

 3       and the impasse was, in fact, on the third count, which

 4       was Count II of the lesser included of the manslaughter

 5       count.

 6            The second of the legal issues that I want to address,

 7       and they both together center under double jeopardy

 8       clause, is unique history, and it’s discouraging, if

 9       not deterring, if not prohibiting second trials when

10       there’s any rationale that would justify the verdict of

11       the first jury or the continuation of the first jury’s

12       deliberations, is whether or not now that we have

13       evidence that the jury was not at an impasse, evidence

14       that was not known to Your Honor at the time that you

15       ordered that they be disbanded and ordered a mistrial,

16       evidence not known to Mr. Lally of the prosecution or

17       the defense, that, in fact, the note they wrote to

18       Your Honor, after the two-week charge on July 1, was

19       not unambiguous as Mr. Lally wrote in his pleading.

20       It was ambiguous.       It was subject to two constructions.

21            One that their impasse covered all three counts

22       and therefore would lead ineluctably to a mistrial

23       declaration, or two, that the impasse was on one count

24       with multiple lesser included charges that did not

25       encompass Counts I and III.



     R. 337                             R.243
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                                                                                   7
 1            Your Honor didn’t know what was in the jury’s mind,

 2       what was in their mind when they authored a note to

 3       the Court, neither did counsel.           But the issue now --

 4       and, again, it’s in the context of double jeopardy,

 5       which is such a historic and important clause, it was

 6       enacted by our Founding Fathers to give them some

 7       protection against the sovereign at that point that

 8       came against simply choosing to mistrial prosecutions

 9       that weren’t going well.

10            And the Founding Fathers wanted citizens not to

11       have to face re-prosecution.           They understood the ordeal

12       and anxiety and the risks of having to prove to a second

13       jury what they had proven to a first jury, which is that

14       they were not guilty.

15            And so, the real reason issue here is legally what

16       do we do when we now know that jurors are declaring to

17       the Court that they believed they reached a verdict of

18       not guilty.     What can we do on August 8 th , if I’ve got

19       the date correct, you know, six weeks after the July 1

20       trial that Your Honor presided over a lengthy trial with

21       an exceptional jury.

22            And I contend, Judge, that we don’t -- we can’t

23       just accept the fiction that the jury was at an impasse

24       on all three Counts when four jurors are saying to you

25       through counsel there was not, a fifth juror saying



     R. 338                             R.244
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25    Page 339 of 424
                                                                                    8
 1       to counsel indirectly they were not.

 2            We have to embrace the fact that these are now

 3       facts.   And yes, they come after the end of the trial,

 4       but it doesn’t mean that there’s not some procedural

 5       pathway to integrate those facts into Your Honor’s

 6       decision-making.

 7            And the second one, the manifest necessity issue

 8       has got a lot more SJC and Supreme Court guidance.

 9       It’s been the subject of lots of cases.                 We’re walking

10       a little bit down a pathway that has some precedence

11       about jurors and their being reconvened, but it doesn’t

12       have the clarify of the precedence regarding the manifest

13       necessity standards, guidelines, principles that we’ll

14       address second.

15            But here, what we know is that four jurors reached

16       out to defense counsel.        Jurors A, B, D, and E, I think

17       as the way they’ve been described by Mr. Jackson, who

18       received calls from three of the jurors, and Mr. Yannetti,

19       who received the call from one juror, and talked to

20       somebody who himself or herself spoke to a fifth juror.

21            We also have the corroboration, not just internally,

22       where these four jurors are essentially saying the same

23       thing, we reached a decision, we didn’t announce it.

24       Some said we felt bad about it.           We didn’t know what

25       to do, but they are internally consistent and not self-



     R. 339                             R.245
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 340 of 424
                                                                                    9
 1       contradictory, and that makes them more trustworthy.

 2       They corroborate each other.

 3            And I contend that the voicemail left on                 Mr.

 4       Lally’s phone, which he responsively shared with counsel

 5       and shared with the Court, essentially saying this is

 6       probably one of the four jurors, but we don’t know for

 7       sure, said essentially the same thing.               We reached a

 8       decision that Ms. Read was not guilty on murder, the

 9       most serious charge that can be brought, a charge that

10       would imperil her for the rest of her life if there

11       was a conviction.

12            Other jurors tried to reach the prosecutor.                    They

13       didn’t succeed.         The prosecutor made a decision that

14       he couldn’t promise anonymity, which every juror seems

15       to want, and that’s understandable given the level of

16       media and public attention on this case.

17            And I understand the Court gave several -- gave them

18       discretion, and Your Honor made an Order that the defense

19       didn’t dispute, that they were entitled to that anonymity.

20       That the public interest did not weigh the interest of

21       the jury in anonymity.

22            But we now have the declarations of the jurors

23       through defense counsel.         We have a voicemail of one

24       juror through Mr. Lally.         We have e-mails of other

25       jurors who only wanted anonymity as a condition precedent



     R. 340                              R.246
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 341 of 424
                                                                                   10
 1       to talking to the prosecutor.

 2            And this case, because it has catalyzed so much

 3       publicity, it’s plausible to believe, if not compelling

 4       to believe, that other jurors who sat through so many

 5       weeks of testimony, this was probably one of the

 6       monumental, central events of their life.

 7            Not many people, certainly not people that go into

 8       military service have opportunities to at least to serve

 9       their community like these jurors did, not one of them,

10       to our knowledge, has picked up the phone to defense

11       counsel and said those jurors that you’re memorializing

12       in affidavits and in motions, I don’t agree with that.

13            No one has called the District Attorney, nobody

14       has e-mailed anybody.        Nobody has called Your Honor

15       through the Court Clerks.         Nobody disputes -- in other

16       words, none of the seven or eight jurors that are not,

17       you know, represented by the series of affidavits of

18       defense counsel dispute the truth of the representations

19       made by counsel.

20            We don’t have certainty.          We only have the reasonable

21       inferences from the absence of other declarations, which

22       is that this jury was unanimous in its acquittal of Ms.

23       Read on Counts I and III.

24            So, then we get to the legal issue, and again as

25       I tried to say, the legal framework here, the landscape



     R. 341                             R.247
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                                                                                   11
 1       is not quite as crystal clear as it is in standards of

 2       manifest necessity and whether or not double jeopardy

 3       commits a re-prosecution in the context of this unique

 4       case.

 5            But what we have is Court decisions saying, for

 6       instance, what constitutes in criminal is not to be

 7       controlled by the form of a judge’s actions.                We’re

 8       not bound by labels.       That’s the SJC in Commonwealth

 9       v. Taylor.

10            We have Justice Ginsburg joining Justice Sotomayor

11       and Justice Kagan in a decent in the Blueford case saying

12       in ascertaining whether an acquittal has occurred, form

13       is not to be exalted over substance.

14            And they are making that point.            I mean, I’ve done

15       this for 52 years, and procedures is important and form

16       sometimes governs, and it’s the recognition that double

17       jeopardy is different.

18            For instance, as I get to in the manifest necessity

19       phase of the argument, all of the courts put a heavy

20       burden on the prosecutor to justify a mistrial, to

21       justify a re-prosecution.         Ordinarily, I’m used to the

22       burden speaking on me as a defense counsel.                I’m used

23       to having an affirmative obligation to lay out for an

24       Appeals Court exactly what I want.

25            But in this unique area, the disincentive to



     R. 342                             R.248
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                                                                                    12
 1       re-prosecuting somebody, the same prosecutor for the

 2       same offense, when there’s evidence of an acquittal

 3       or evidence that the jury wasn’t at an impasse overall

 4       counts is so significant, it’s so core to our values

 5       that they put the burden on the prosecutor, and I will

 6       get to the cases that support that, what I call the

 7       central proposition, which is where’s the default.

 8            Is the default from not asking the jury about these

 9       other counts, Ms. Read goes to trial again, or is the

10       default instead that the prosecution simply cannot again

11       re-prosecute her when there is not manifest necessity

12       in the first place for the Counts I and III.

13            The Supreme Court 67 years ago, and I remember it

14       because it was the tail end of the Warren Court, and

15       it revolutionized criminal justice, and it talked about

16       Miranda rights.         Nobody knew to Mr. Miranda back in the

17       1950s, Gideon gave right to counsel rights, Mapp v. Ohio

18       extended suppression remedies, the Fourth Amendment

19       violations.     These were all unknown until the Warren

20       Court.

21            The Warren Court in the case of Green v. The United

22       States, and it’s in our pleadings, said -- and it’s

23       important, that double jeopardy was designed to protect

24       an individual from being subjected to the hazards of

25       trial more than once, that the State with all its power



     R. 343                              R.249
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                                                                                   13
 1       should not subject the citizen to the ordeal of living

 2       in a, quote, “continuing state of anxiety,” as well as

 3       enhancing the possibility that even though innocent,

 4       he may be found guilty by a second jury.

 5            So, what we do in a world where we have facts not

 6       known on July 1 that are known on August 8 th , nd we’re

 7       not -- this is not completely novel territory.

 8            For instance, the First Circuit of the Federal Court

 9       of Appeals, it’s eleven years since the Boston Marathon

10       bombing, and they’re still dealing because of capital

11       punishment with whether the punishment should be life

12       or death for Tsarnaev that was arrested and survived.

13       And they recently in a lengthy opinion of over a hundred

14       pages said bring back these two jurors where we have a

15       principle basis to question their impartiality.

16            The SJC just four years ago in a case dealing with

17       a lawyer’s allegation that there had been a racial

18       statement, I think it’s called the McCulloch case, 485,

19       Mass. 790, said to the defense counsel did the judge

20       authorize you to re-contact that juror and get an

21       affidavit, and if there’s any skepticism regarding the

22       truth of the Affidavit, we will have a hearing and make

23       decisions.

24            The nation was affixed to the Murdaugh case from

25       South Carolina, where a lawyer was accused of killing



     R. 344                             R.250
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 1       his family, and there, there was evidence recently,

 2       according to the media, that a Clerk spoke to a juror,

 3       and the judge convened the hearing, questioned the

 4       people who were connected to it in order to make a

 5       decision.

 6            In other words, regularly, judges who receive

 7       reliable evidence that there was extrinsic evidence

 8       that a marshal talked to a juror, there was a juror

 9       bias, was the questionnaire fair, did something happen

10       during -- did the jurors access the internet when

11       they were judicially prohibited from doing so, Courts

12       reconvene hearings, and I can attest that it can be

13       done anonymously, it doesn’t have to ineluctably lead

14       to the identity of jurors.

15            And we’re going to ask the Court to do just that,

16       because without in any way diminishing the centrality

17       and the importance of an impartial jury that tells

18       the truth on voir dire, it’s not being ethnically or

19       racially biased.        There’s nothing more central about

20       making sure that jury was not influenced adversely by

21       something from the outside or even by something from

22       the internal discussions that reflected on a juror’s

23       racial and ethnic impartiality.

24            Why isn’t that acquittal entitled to just the same

25       kind of deference.       You know, we have not evidence that



     R. 345                             R.251
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                                                                                   15
 1       the jury was not impartial or that they were influenced

 2       externally, we have hard evidence that they reached

 3       a decision.

 4            We’re not asking to have any inquiry, whether by

 5       counsel or the Court, into the content or deliberations,

 6       into their reasoning, into all of those matters that

 7       are forever private, but here, we’re asking that no

 8       more than Your Honor could have asked by polling them,

 9       which is, did you reach your verdict on Count I, what

10       was that verdict?       What about Count II, no.          What about

11       Count III, yes.

12            So, there is precedent, although it’s slightly

13       different, but we contend no less important to Your

14       Honor making a decision.        If Your Honor is skeptical

15       in any way of the attorneys declarations, if you cannot

16       accept them because they’re not the sworn affidavits

17       of lawyers -- of the jurors, I’m sorry, I acquiesce,

18       authorize them to do what they haven’t, which is to

19       reinitiate a call to these four or five jurors, ask

20       them whether they would read the lawyers’ Affidavits

21       and affirm if they’re accurate.

22            Or alternatively authorize the lawyers to ask the

23       jurors whether or not they would execute an Affidavit.

24       It could be two sentences.         We reached a final decision

25       unanimously to acquit Ms. Read of Counts I and III.



     R. 346                             R.252
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                                                                                    16
 1            Your Honor doesn’t have to accept 4 out 12 or 5

 2       out of 12.    Your Honor has a lot of discretion in terms

 3       of how to get to the bottom line, which is what is the

 4       truth here.

 5            Your Honor could schedule a hearing and have the

 6       four jurors in.         They would remain anonymous.          We would

 7       even waive public trial, I’m not sure the media would,

 8       but to keep this private and keep this confidential,

 9       because we don’t want the jurors to, you know, risk

10       identity.

11            Your Honor could do in it, you know, in any number

12       of ways.    You know, we have responsible Court Officers

13       that can meet four jurors anywhere Your Honor selects.

14       We have responsible lawyers and responsible prosecutors.

15       This doesn’t have to be an event that challenges the

16       jurors’ anonymity.

17            I guess what I’m saying is that we’re asking the

18       Court not to close the door to this new evidence and

19       literally adopting a fiction that the impasse was on

20       all three counts when we now know that there’s strong

21       corroborated, trustworthy evidence that was not.

22            To establish a procedure consistent with McCulloch,

23       consistent with Tsarnaev, consistent with the Supreme

24       Court decision in Reyna, and take those cases where

25       jurors do come in after the fact, when there’s credible,



     R. 347                              R.253
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 348 of 424
                                                                                   17
 1       responsible evidence that they were either biased or

 2       that they had some extrinsic evidence, whether through

 3       the Internet or from improper an contact with a third

 4       party, and help us investigate this.

 5            I don’t believe that if the Norfolk DA was convinced

 6       from that process, and it could be 4 jurors, it could

 7       be 12, but if all of them tell the Court we made a final

 8       decision, we never went back like the Blueford case or

 9       to re-examine it.       There was not an immediate decision,

10       it was a final decision.        All of our impasse was about

11       Count II and the multiple lesser includeds.

12            I am hopeful that the prosecution would join with

13       us in not seeking a new trial.          If they were convinced

14       by these jurors, under oath, to what they’ve not yet

15       been convinced by, which is defense counsel, this was

16       a hard-fought case, and I’m not being critical with the

17       DA, but I’ve done this for a long time, and I believe

18       in our system of justice.        People say it’s not perfect,

19       but it’s the best that the world has.             You know, this,

20       to me, is hallowed ground in a courthouse named after

21       someone I was a friend, who I deeply respected.

22            I want the prosecutor to get the facts in the best

23       way we can at this point in the case, which is through

24       Your Honor.     Order a hearing, Judge.          Don’t make Ms. Read

25       be the first person in the history of the Commonwealth



     R. 348                             R.254
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                                                                                    18
 1       to face re-prosecution for murder by the same prosecutor’s

 2       office that tried her once and failed to persuade the

 3       jury she was guilty.

 4            They’ve not given a single case with facts like

 5       this have been ignored.        Not a single precedent have

 6       they raised, nationwide, State Courts, murder cases,

 7       50 States, Federal, where there’s been this kind of

 8       demonstration that we were silent when we shouldn’t

 9       be, but she was acquitted.

10            They’ve got Commonwealth v. a Juvenile where there

11       was a verdict slip, nobody knows when it was written.

12       We have Blueford, that there, there was clearly further

13       jury deliberation after a juror told the Judge that

14       we had reached a decision on two counts.

15            I’m convinced perhaps, you know, through many years

16       of doing this, that acquittals count, and if she was

17       acquitted, nobody wants to re-prosecute her on the

18       Counts for which she’s been acquitted.

19            And form is important, procedure is important,

20       but what’s more important is substance.                 What’s more

21       important is to find out whether that jury, in fact,

22       voted to acquit, and it was a final vote.                And then

23       I hope there’s no dispute.         I hope Mr. Lally will stand

24       up in front of you and join me in asking that those

25       two charges not be re-prosecuted.



     R. 349                             R.255
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 350 of 424
                                                                                   19
 1            But let me switch from the equivalent and its

 2       implications, the manifest necessity.

 3            In this case, we have explicit guidelines which

 4       have been set out by the Supreme Judicial Court that

 5       look to whether or not there was manifest necessity

 6       for the declaration of the mistrial.             And manifest

 7       is a word that says to show clearly, and whether the

 8       mistrial order was avoidable, whether there were any

 9       viable options, whether the Court essentially had no

10       choice, no options.

11            And here a minimum with 4 or 5 jurors saying, you

12       know, we believed her to be innocent, and we believe

13       there was a vote, there’s no evidence from those

14       declarations that there was an impasse on Counts I

15       and III, an impasse that would have rationalized and

16       justified the order of the mistrial.

17            The notice, I said, was believed to be unambiguous

18       by the prosecutor, but in truth was ambiguous.                 It led

19       to one or two constructions.

20            So, this really becomes a burden of proof issue.

21       You know, who bears the burden when there was an

22       understanding by the Court that the note reflected an

23       impasse encompassing all charges when we now know there

24       was a rational alternative of explanation for the note,

25       a logical one, which is we were addressing only the



     R. 350                             R.256
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 351 of 424
                                                                                   20
 1       charges in Count II, the multiple charges, the multiple

 2       decisions within the manslaughter count.

 3            Here’s where the Court helps us.             The Supreme Court

 4       in Arizona v. Washington placed the heavy burden on

 5       the government, on the prosecutor to justify a mistrial.

 6       The SJC has issued multiple opinions, and I’ll read

 7       just a couple, because I think the burden of proof

 8       issue is central, Judge.

 9            Commonwealth v. Steward, which goes back to 1985,

10       and was one of the central decisions that started

11       formulating the jurisprudence around double jeopardy

12       and manifest necessity, says, “The prosecutor must

13       shoulder the burden of justifying the mistrial if he

14       is to avoid the double jeopardy bar.             His burden is

15       a heavy one, citing to Arizona v. Washington.

16              Cruz v. Commonwealth, SJC 2012, “The heavy burden

17       of proving that a mistrial was due to manifest necessity

18       lies with the Commonwealth.”

19              Commonwealth v. Nicoll, 452 Mass. 816, 2008, “The

20       Commonwealth is unable to satisfy its heavy burden of

21       proving that there was manifest necessity for declaring

22       a mistrial, and the Commonwealth is therefore barred by

23       the principles of double jeopardy from retrying Nicoll.”

24       And I have a copy of the Nicoll decision, because it’s

25       the one that is not referenced yet for Your Honor’s



     R. 351                             R.257
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25    Page 352 of 424
                                                                                    21
 1       consideration.

 2              Nicoll is an interesting case.            It was driving

 3       case, jury of 6, and there was belief that one of the

 4       jurors should not be sitting because he knew a witness,

 5       if I’m recalling the facts correctly.             And everybody

 6       considered it and thought there was no procedure to

 7       allow the trial to continue with the jury of 5.                  The

 8       defense counsel thought that and the Court thought

 9       that, and the Court, therefore, declared a mistrial.

10              Afterward, everybody discovered that it was, in

11       fact of rule of Criminal Procedure and the defendants

12       could waive a jury of 6 just like they could waive a

13       jury of 12.

14              And the Court determined, as I just read, that

15       there was no manifest necessity because there was a

16       viable option to the declaration of a mistrial that

17       the Court have asked the defendant whether or not they

18       would agree to a jury of 6, but they didn’t recognize

19       it at the time.

20             And then the Court had a decision.                Are they going

21       to blame the defendant and make them go to trial a second

22       time in the face of double jeopardy’s manifest necessity

23       requirement, or are we going to put the burden on the

24       prosecutor to have advised us of that rule.

25             This case is similar, Judge, because what you



     R. 352                             R.258
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 353 of 424
                                                                                   22
 1       weren’t advised of is Mass. Rule 27B.             See, everybody

 2       focused on Roth and Juvenile and Blueford, where all

 3       of them were single counts with lesser includeds.

 4       In the Roth case, the SJC decided that it prohibited

 5       judges like yourselves from inquiring into the vote.

 6       You couldn’t ask the jury, well, if you haven’t decided

 7       on manslaughter, what about involuntary manslaughter,

 8       what about OUI.

 9             But this is different because we had three counts,

10       not one.    And Rule 27B that you were not advised of,

11       and we contend, of course, the burden was on the table

12       of the side that wants to re-prosecute her, says as

13       follows, “The judge may declare a mistrial as to any

14       charges upon which the jury cannot agree upon a verdict

15       provided, however, that the judge may first require the

16       jury to return verdicts on those charges upon which the

17       jury can agree and direct that such verdicts be received

18       and recorded.”

19             The advisory note is even more explicit.                “This

20       rule also provides that the Court may declare a mistrial

21       in cases where the jury is unable to reach a verdict,

22       however, it must first receive and record the verdicts

23       which the jury can agree on.”

24             That rule, had it been brought to the Court’s view,

25       provided a viable option to a declaration of a mistrial.



     R. 353                             R.259
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 354 of 424
                                                                                   23
 1       It would have justified the Court’s -- it would have

 2       required the Court, as well as justify, to ask the jury

 3       whether or not there was an impasse on all counts or

 4       rather than just one.

 5             So, the Supreme Court not only puts the heavy

 6       burden on the prosecutor, it provides a set a guidelines

 7       in which were established back by the Steward case and

 8       repeated most recently by the Taylor case, and they even

 9       called them two principles guiding our review of manifest

10       necessity.     One is counsel must have been given -- and

11       the word “must” implies it as a mandatory, as in

12       imperative, quote, “Counsel must have been given full

13       opportunity to be heard,” and I’ll address that second.

14       And, quote, “The trial judge must have given careful

15       consideration to alternatives to a mistrial.”

16             These are the legal imperatives, and we contend

17       respectfully, for a variety of reasons, that neither

18       of those two guiding principles were met by the evidence

19       of what occurred on July 1, where we have the chronology

20       of Your Honor taking argument from counsel regarding the

21       first -- the morning note, and the prosecutor didn’t

22       want a Tuey instruction, defense counsel did, Your Honor

23       elected to give Tuey instruction.

24             And four hours later, the jury sent a second note,

25       and unfortunately, there was no convening of counsel



     R. 354                             R.260
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 355 of 424
                                                                                   24
 1       and no request of counsel’s position, no opportunity

 2       for Mr. Yannetti and Jackson to speak to Ms. Read,

 3       after all, it’s her rights, not just theirs.

 4             And there was this lack of consideration, careful

 5       consideration of Rule 27B, which the prosecutor failed

 6       to bring to the Court’s attention.

 7             Again, usually, this would be an issue where the

 8       defense counsel could be criticized when they don’t

 9       object to instructions, after trial instructions.

10       The Court of Appeals makes it very hard for appellate

11       lawyers to succeed in reversing the judge’s not providing

12       an instruction that later they wanted.

13             But this is double jeopardy.           This is different.

14       This is why all of those cases, the U.S. Supreme Court

15       in Arizona, the Supreme Judicial Court in Steward and

16       Nicoll, the Appeals Court in a case Commonwealth v.

17       Horrigan that we cited, “In light of the importance to

18       the defendant’s right to be free of exposure to second

19       jeopardy, the burden of justifying a mistrial rests on

20       the prosecutor.”

21             And so, again, it’s the default.             If these procedural

22       guidelines, these principles where the Court must consider

23       any viable alternative, the Judge may not know every

24       rule at every moment, just like the judge in Nicoll

25       didn’t, it’s on the Commonwealth to have advised you,



     R. 355                             R.261
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 356 of 424
                                                                                   25
 1       Judge.

 2             So, this was a case that really comes down to

 3       whether or not there can be deference to a judicial

 4       ruling when it was made without meeting the criteria,

 5       a full opportunity for the defense to be heard before

 6       the Court read the final note and issued its final

 7       order, and a full opportunity for the Court to consider

 8       the alternatives to the declaration of mistrial.

 9             I would say to Your Honor that this is not easy.

10       This was a long trial.        The prosecutor’s got strong

11       evidence that the jury was in fact deadlocked, in fact

12       at an impasse on Count II.         The prosecutor has strong

13       evidence that, in fact, the jury was not at an impasse

14       on Counts I and III.

15             They have to meet a burden of demonstrating to the

16       Court that they gave you all of the alternatives to the

17       declaration of mistrial.        And they should want, I submit,

18       that a search for justice in this courthouse, where we

19       don’t want somebody who’s found innocent wants to face

20       the second trial for the very same offense.

21             That’s the whole principle, the centrality of double

22       jeopardy, Justice Douglas and Black’s words in Green.

23       They should join us in asking the Court to establish a

24       procedure in Your Honor’s discretion that either allows

25       the defense lawyers to supplement the declarations with



     R. 356                             R.262
        Case 1:25-cv-10399-FDS    Document 2-1    Filed 02/18/25   Page 357 of 424
                                                                                     26
 1       juror affidavits or cut right to it, that the attorney

 2       declarations satisfy our burden of production that Ms.

 3       Read was acquitted, bring the jurors in, Judge, hear

 4       from them.    I beg you, it’s the right thing to do.

 5             Thank you, very much.

 6             THE COURT:        All right.      Thank you.

 7             MR. LALLY:        Good afternoon, Your Honor.

 8             THE COURT:        Good afternoon.

 9             MR. LALLY:        Do you want me there or over there.

10             THE COURT:        Wherever you want to be.

11             MR. LALLY:        Your Honor, the Commonwealth would

12       ask -- request that the Defendant’s Motion to Dismiss

13       be denied, as there was not a verdict returned.

14             Counsel had more than adequate opportunity to be

15       heard and object to the declaration of the mistrial

16       in this case, and then a mistrial was declared as a

17       manifest of necessity.

18             To that last point, as it applies to where counsel

19       was referencing in regard to Rule 27B, what I would

20       submit there is there’s a stalk difference between what

21       Rule 27B encompasses and what counsel is asking for the

22       Court to do.     And what I would say is there’s a difference

23       between what Rule 27B talks about, which is taking or

24       the right of the Court to take partial verdicts, which

25       certainly the Court is entitled to do if there were at



     R. 357                              R.263
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 358 of 424
                                                                                   27
 1       any point in time indicated in any of the communications

 2       from the jury or if there had been any communication

 3       whatsoever from the jury that they had reached a partial

 4       verdict.

 5             So, Rule 27B has to do with taking of those partial

 6       verdicts, not inquiring or trying to extract or coerce

 7       a partial verdict by polling the jury who has declared

 8       repeatedly to the Court that they’re at an impasse.

 9       So, simply put, Rule 27B just does not apply.

10             When it comes to each of those respective points,

11       the jury in this case, number one, did not return a

12       verdict; number two, counsel had adequate an ample

13       opportunity to object to the declaration of a mistrial;

14       and three, that the mistrial was declared out of clear

15       manifest necessity, which the Court, in caselaw, after

16       repeatedly stated, there’s the typical sort of evidence

17       or example of what manifest necessity is.

18             But to those points, it is backed by decades if not

19       centuries, of caselaw.        And counsel and the defendant

20       in the Memorandum and in argument does quite a twisting

21       of logic into sort of a pretzel in order to have the

22       circumstances of this case fit into the precedent, and

23       there’s a reason for that, because there is clear and

24       unequivocal precedent on each of those points that goes

25       back decades, if not centuries.



     R. 358                             R.264
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 359 of 424
                                                                                   28
 1             Commonwealth v. a Juvenile is a case directly on

 2       point.   And as the Court is well aware, that’s a case

 3       in which following jury deliberations and the defendant

 4       having been convicted after trial, one of the Court

 5       Officers found a verdict slip in the jury deliberation

 6       room in which the verdict slip was marked as not guilty.

 7             That case stands for the proposition that where

 8       those slips were in contradiction of the jury’s report

 9       to the judge in open court that they were deadlocked,

10       that that does not -- the not guilty finding on the

11       verdict slips does not contravene or overrule the

12       verdict as it is applied in open court.

13             In quoting from that case, and I think it’s directly

14       applicable to what’s been provided to the Court so far,

15       it states, “It is not enough to show that the jury may

16       have agreed on some issues at some time.                If that limited

17       showing were to control, uncertainties would be invited.”

18       And that’s exactly what the defendant is asking the Court

19       to do in this case, is in contravention to that caselaw

20       and in a Juvenile, in Blueford, in Roth, in Ray.

21             In all of the cases over the decades and centuries

22       dealing with this, Blueford itself, states very clearly,

23       “The very object of the jury system, after all, is to

24       secure unanimity by comparison of views and by arguments

25       among the jurors themselves.           A single juror’s change



     R. 359                             R.265
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 360 of 424
                                                                                   29
 1       of mind is all it takes to require to the jury to

 2       reconsider a greater offense.”           And that also comes

 3       from Commonwealth v. Carnes, as well.

 4             But it states, Your Honor, this jury was instructed

 5       -- not only instructed orally for a lengthy time, but

 6       was provided with written copies of those instructions

 7       that the Court gave, that stated on at least 9 or 10

 8       different times exactly what a unanimous verdict was

 9       and how to come to that unanimous verdict and how to

10       record that unanimous verdict, and there is no verdict

11       slip returned stating anything in this case.

12             In particular, the two charges that the defendant

13       now complains of dealt with simple choice.               There was

14       a box for guilty and a box for not guilty, and neither

15       was checked, neither was returned to the Court at any

16       point in time.     There is no verdict in this case.

17             Now, as far as whatever those communications that

18       the jurors are referenced, what the Commonwealth would

19       submit, Your Honor, is the jurors did nothing wrong in

20       this case, the Court did nothing wrong in this case.

21       The Court applied the law as it exists to this case.

22             There is nothing special about this case, there

23       is no special application or procedure that needs to

24       be developed, created, or employed as it applies to

25       this case or this defendant.           This defendant in this



     R. 360                             R.266
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 361 of 424
                                                                                   30
 1       case should be treated as any similarly situated defendant

 2       or any similarly situated case within the court system.

 3             These jurors, as the Court refers to them as an

 4       extraordinary juror, and I know the Court had opportunity

 5       to observe the jury throughout the course of a lengthy

 6       trial and to review the many communications that the

 7       jury submitted to the Court, which the Commonwealth

 8       would submit were thoughtful, were deliberate, were

 9       intelligent, were insightful.

10             This jury told the Court on multiple times that

11       they had reached an impasse as far as their deliberations

12       were concerned, as it pertained to the charges.                 In the

13       final note that was submitted to the Court, they refer

14       to the charges in the plurality twice within that note,

15       as it pertains to exactly what they were stuck on.

16             When it comes to what they were communicating and

17       reporting to be at an impasse in regard to, they refer

18       to it as the charges multiple times.

19             Whatever point jurors may have felt -- the other

20       thing I would say about the jury is, and this goes to

21       the precise reason of why the procedures suggested by

22       counsel are completely inappropriate in direct

23       contradiction of what the caselaw says, I can’t imagine

24       whatever the jurors have undergone since July 1 st as

25       far as extraneous influences, whether they be personal,



     R. 361                             R.267
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 362 of 424
                                                                                   31
 1       professional, who they’ve talked to, what they talked

 2       about, how those things have formulated in their minds.

 3       The intense pressure that they felt just looking at the

 4       Affidavit from the one juror in regard to the impoundment

 5       that the Court had allowed with reference to the jurors’

 6       information remaining anonymous at least for the time

 7       being.

 8             With respect to that is exactly what the caselaw

 9       advises against and governs against as far as taking

10       this sort of post-hoc weeks or months after a verdict

11       has been returned or not returned and then asking people

12       to put themselves back in a position and indicate to

13       the Court exactly what was going on in that deliberative

14       process.

15             Asking them how they voted or what their vote was

16       is infringing into that deliberative process that is

17       specifically excluded from any sort of point of contention

18       or inquiry by counsel, by the Court at any point in time.

19             When it comes to the adequate opportunity that

20       counsel has to object or to suggest anything else, this

21       is a very first time that the jury gave any sort of

22       note or indication beyond their first note asking for

23       a report, Mr. Yannetti was asking for a Tuey-Rodriguez,

24       and understanding that asking for a Tuey-Rodriguez is

25       not equivalent to requesting a mistrial, it’s the first



     R. 362                             R.268
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 363 of 424
                                                                                   32
 1       step in that process, and experienced counsel knows that.

 2             And even in that first note, the jury had not

 3       indicated that their deliberations were done or that

 4       they had done thorough deliberations.              They weren’t

 5       asking anything.        They were just reporting to the Court

 6       simply where they were in their deliberative process

 7       at that point, reported to be at an impasse.

 8             Counsel, and these are Mr. Yannetti’s own words,

 9       on both occasions, indicated that from that or argued

10       Tuey-Rodriguez on both of those first two notes that

11       came from the jury, that this jury was emphatic and

12       that they were, quote/unquote, “hopelessly deadlocked.”

13       That is what counsel was asking for.              What counsel is

14       intimating there, making an argument about, is for a

15       mistrial at those particular points, or at least leading

16       down there.

17             Now, as far -- and this is also, again, as I stated

18       backed by the caselaw, Ray v. Commonwealth, states,

19       “Counsel’s request for a Tuey-Rodriguez instruction

20       permits,” quote, “the inference that both parties were

21       provided an opportunity to be heard on possible

22       alternatives to a mistrial”.           Commonwealth v. Pereira

23       is on point with that particular point, as well.

24             And I think it’s also important to consider this

25       in the context of this particular case, in this particular



     R. 363                             R.269
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 364 of 424
                                                                                   33
 1       trial.   This is counsel who did -- was not shy, did not

 2       have any misgivings about presenting any sort of argument

 3       or any sort of argument against the Court’s decisions

 4       when it came to anything that was even perceived a slight

 5       or measure against the defendant’s interest, and I would

 6       direct the Court to the verdict slip argument that was

 7       made post-trial, as well.

 8             Getting to the manifest necessity, Your Honor,

 9       as I stated what the caselaw clearly states, is that

10       a prototypical example of the manifest necessity is

11       a deadlocked jury or a hung jury, and that is what we

12       have in this case.       It’s clear and unambiguous from

13       all the communications, even Mr. Yannetti, during his

14       arguments for the Tuey-Rodriguez, recognized the same.

15             The dangers of coercion when it comes to a deadlocked

16       jury are amply stated throughout the caselaw as far as

17       Ray, as far Cruz.       The Court was never required and has

18       never been required, and that goes from the Blueford

19       decision, from the United States Supreme Court, to the

20       Supreme Judicial Court of this Commonwealth, that there

21       is no requirement that the Court makes any sort of

22       polling or has any sort of asking when it comes to those

23       -- how the jury stands or whether or not they have a

24       vote or whether or not they have a partial verdict.

25             And I would also submit, Your Honor, that counsel’s



     R. 364                             R.270
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 365 of 424
                                                                                   34
 1       argument is a little disingenuous when it comes to

 2       indicating that those cases only apply when you’re

 3       talking about charges with lesser includeds or charges

 4       that have a multiplicity of different findings that

 5       the jury can make, because it ignores the fact that

 6       there are those two, and two very charges or indictments

 7       that the defendant is seeking to dismiss here were very

 8       simple, not guilty or guilty.          Those were the two boxes

 9       to be checked.

10             So, in those instances, it may be permissible for

11       the Court to inquire and poll.          But the coercion and

12       the fear of that that developed through the caselaw

13       is inherent within the second count which had all of

14       those lesser included charges, which is exactly what the

15       caselaw and the rules prescribe as far as not allowing

16       for the Court to inquire in those types of scenarios.

17             So, I guess the defendant’s position is the Court

18       should has to have polled only as to Indictments I and

19       III and not to Indictment Number II, but again I don’t

20       know that there’s any requirement for the Court to do

21       that, and I don’t know exactly how the Court is to do

22       that when it comes to those types of coercive pollings

23       of the jury while they’re still deliberating.

24             The notes and the communications from the jury again

25       on three separate occasions and very deliberately as



     R. 365                             R.271
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 366 of 424
                                                                                   35
 1       far as the language that was used to declare themselves

 2       to be at an impasse on three separate occasions, the

 3       last of which included language to the effect that any

 4       further deliberations would be futile.              That is the

 5       very definition of manifest necessity, and left this

 6       Court with absolutely no alternative other than to

 7       declare a mistrial.

 8             And that is clear from the language of the jury’s

 9       communications to the Court, and it’s clear from the

10       caselaw and the rules and the law itself as far as what

11       the Court can do.

12             The two areas that counsel is talking about and

13       sort of asking for an extension or creation of new law

14       again, sort of special or differential treatment to this

15       case or this defendant, the two areas in which the Court

16       can make post-trial inquiry have to do with some sort

17       of bias, if there’s an issue raised in regard to whether

18       it’s due to racial discrimination, gender discrimination,

19       or some other protected class, so that sort of bias

20       implicit in the jury’s deliberative processes, or in an

21       instance -- I’m sorry, Your Honor, one moment -- and in

22       an instance in which there is some sort of allegation

23       or some sort of evidence of extraneous inference.                  The

24       defendant is not raising either of those issues.

25             Specifically within those cases, what the Court



     R. 366                             R.272
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 367 of 424
                                                                                   36
 1       states, which is obviously binding on your Honor, is

 2       that those carve-outs for extraneous influences or bias

 3       on the parts of the deliberating jurors are permissible

 4       areas for post-trial inquiry.

 5             What all those cases also say is any inquiry into

 6       the deliberative process or exactly what counsel is

 7       proposing here is specifically prohibited by those

 8       caselaw, by those cases that have developed over the

 9       decades.

10             Commonwealth v. Morris states specifically that,

11       “Massachusetts continues to adhere to common law

12       principles, barring inquiry into the contents of jury

13       deliberations, and any impeachment of jury verdicts

14       based on information gained from such inappropriate

15       inquiry.”

16             Now, the reason that the Commonwealth did not

17       respond directly to the jurors when it came to them

18       expressing or wishing to have discussions about their

19       deliberative process or their votes is specifically

20       for that.    Rule of Professional Conduct 3.5C states

21       specifically that inquiries into those topics are not

22       allowed.    The caselaw that is derived around that and

23       since that corroborates.

24             Simply because someone called you first does not

25       then allow for that inquiry to occur.              So, whether or



     R. 367                             R.273
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 368 of 424
                                                                                   37
 1       not you initiate the call to the juror or the juror

 2       calls you, it still does not allow for counsel or the

 3       Court to then have these conversations with these jurors

 4       that delve into their deliberative processes or their

 5       deliberations.

 6             The specific type of coercion that is feared by

 7       the Courts when it comes into this, and I’ll sort of

 8       condense the quote from Commonwealth v. Roth, and it

 9       states simply, “One cannot assume from the mere report

10       of deadlock that there is any final verdict lurking

11       within that deadlock that may be extracted.

12             Such inquiries of the jury may succeed in extracting

13       a partial verdict, but we could not have confidence that

14       that partial verdict was the product of a thoughtful and

15       thorough deliberation process.

16             The risk of jurors’ coercion are too high and the

17       liability of any such partial verdict returned is too

18       low to warrant such an approach to salvaging some partial

19       result from a deadlocked jury.”

20             Simply put, Your Honor, what counsel is proposing

21       as far as what the Court should do is prohibited by the

22       rules, it’s prohibited by the law, it’s prohibited by

23       the development of caselaw over decades and centuries

24       as to what is permitted.

25             Certainly, the Commonwealth nor anyone wants to



     R. 368                             R.274
        Case 1:25-cv-10399-FDS    Document 2-1    Filed 02/18/25   Page 369 of 424
                                                                                     38
 1       try someone who has been acquitted by jury of their

 2       peers or retry them in the same offense.                  That’s not

 3       what happened here.        There was no verdict returned by

 4       this jury.

 5             Counsel had more than an adequate opportunity to

 6       address the Court in relation to the declaration of

 7       mistrial, and the Court did absolutely nothing wrong

 8       in finding manifest necessity as the only alternative

 9       that could have been employed in that particular instance,

10       polling the jury then, polling the jury now, it’s simply

11       not permitted by the rules, it’s not appropriate, and

12       therefore, the defendant’s motion should be denied.

13             Thank you.

14             THE COURT:        Thank you.

15             MR. WEINBERG:        May I reply.

16             THE COURT:        Yes.

17             MR. WEINBERG:        There were two cases that Mr. Lally

18       relied on, and they both stand for very different

19       propositions of law.           Commonwealth v. a Juvenile --

20       it’s actually A Juvenile v. Commonwealth, at 392 Mass.

21       52, 1984, says, “The judge was under no duty to inquire

22       as to the status of the jury’s deliberations on each of

23       the lesser included charges within the murder complaint.”

24             Footnote one of that opinion says, quote, “We deal

25       here with the Complaint charging a single murder.



     R. 369                               R.275
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 370 of 424
                                                                                   39
 1       Where a complaint or indictment, in multiple counts,

 2       charges multiple crimes (e.g., two separate murders),

 3       a general verdict could be returned as to one of the

 4       counts, despite deadlock on other counts.”

 5             Commonwealth v. a Juvenile was as if Count II in

 6       this case was the only count, and they discouraged and

 7       kind of the Court questions as to where the jury stood

 8       on lesser included.

 9             And that’s the principle of Commonwealth v. Ross

10       -- v. Roth, the other case that Mr. Lally quoted.

11       That case created a dichotomy where the Court was asked

12       whether or not a judge was permitted to ask the jury

13       about lesser includeds, and because of the fear that

14       a Court’s mere question could have a kind of domino

15       effect coercing jurors to reach compromises as to

16       lesser includeds, the Court prohibited such questioning

17       as to less included.

18             But the Court distinguished throughout this lengthy

19       SJC command, our case.        We’re now dealing with one count

20       verdict with multiple charges, we’re dealing horizontally

21       with three separate charges.

22             Blueford and a Juvenile had evidence that the

23       unanimous verdict that the defense was claiming occurred

24       before the end of deliberations.           In a Juvenile, weeks

25       or days later, the Court Officer found some verdict



     R. 370                             R.276
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 371 of 424
                                                                                   40
 1       slips.   Nobody knew when they were written.

 2             In Blueford, the Supreme Court case, where there

 3       was a statement to the Court that we’ve reached a

 4       decision on one count, the Count sent them out under

 5       our initial because they hadn’t decided, you know,

 6       just what -- they needed to decide all the different

 7       allegations within a single charge, and they came back

 8       and said that we’re deadlocked on everything.

 9             But there’s no risk of jury coercion when a Court

10       is asking the jury whether they reached a verdict on

11       other charges other than the one they were deadlocked

12       on.   There’s no risk of jury coercion saying does your

13       note should reflect all charges rather than one.

14             Your Honor instructed the jury, page 46 of the

15       instructions, “You should continue deliberating until

16       you have reached a final verdict on each charge.”                  We

17       don’t know whether the jury understood that instruction

18       to mean that we can’t come back and tell the Court

19       affirmatively that we’ve reached two decisions, two

20       general verdicts, but we’re at an impasse on a third one.

21             The Commonwealth talked about the risks that some

22       of the jurors might be exposed to the media, and that’s

23       certainly more than true in the Tsarnaev case where

24       they’ve had, you know, just an overwhelming amount of

25       media regarding the catastrophe of the Boston Marathon



     R. 371                             R.277
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 372 of 424
                                                                                   41
 1       in 2013, the government’s investigation, the trials,

 2       jurors knew what one jury decided, and yet the First

 3       Circuit said that’s not a prohibition about a court

 4       exercising authority to ask the right questions.

 5             Judge, you’re an experienced jurist.              I trust you

 6       to be able to determine whether or not a juror telling

 7       you they reached a verdict, to determine whether it was

 8       final or whether it was somehow influenced by the media.

 9       Your Honor does that every day when you pick jurors on

10       the front end to determine whether they’re biased or

11       unbiased.    It’s certainly not a prohibition that should

12       insulate a requittal and allow a re-prosecution.

13             The question at the end for the jurors would not

14       be a, in fact, a deliberative process.              I understand

15       Mr. Lally’s citation to lure and discomfort of rules

16       that say jurors should not be asked questions by anyone

17       regarding, you know, why did the Commonwealth not persuade

18       you that Ms. Read was guilty, or what did you think of

19       this witness’s credibility, or why did you vote a certain

20       way, or what did the other 11 jurors say.               A deliberating

21       jury is not a focus group, it’s not a place for lawyers

22       to ask about the views of 12 jurors, even if you were

23       one juror.

24             But Your Honor is being asked to do no more than

25       ask them what you would ask if they came out and said



     R. 372                             R.278
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 373 of 424
                                                                                   42
 1       we have a verdict, which is did you unanimously determine

 2       as a final determination that Ms. Read is innocent on

 3       Counts I and III.       Was your decision unanimous, did any

 4       juror dispute it?       That’s very different than probing

 5       the subjective state of mind or probing for what other

 6       jurors said that caused somebody to reach that unanimous

 7       verdict.

 8             If Mr. Lally is concerned it wasn’t a final verdict,

 9       Your Honor can ask the question, was it a final verdict,

10       was there ever a deliberation again after you reached

11       that unanimous decision?

12             In terms of the argument about Tuey and Mr. Yannetti

13       saying, well, if they’re deadlocked, if he wanted the

14       mistrial, he could have asked for a mistrial, and Your

15       Honor would have, of course, had the discretion to deny

16       it after four or five days of deliberation.

17             He asked for a Tuey instruction, and it’s inferred

18       by a Tuey-Rodriguez instruction in the State Court, Tuey

19       is the 19 th Century Federal case, is that you have hope

20       when you’re asking for the Tuey instruction.

21             My experience, usually the prosecutor is confident

22       in the jury that once the Tuey instruction to try to get

23       the juror to overcome the minority and get to a guilty

24       verdict, here you have the defense lawyer asking for

25       a Tuey instruction reflecting that he wanted further



     R. 373                             R.279
        Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 374 of 424
                                                                                   43
 1       deliberations.

 2               So, there’s no answer, and the Ray case does not

 3       say that when you ask for a Tuey instruction, you are

 4       really asking for something more than a Tuey instruction.

 5       Tuey means, I want this jury to reach a decision, and

 6       that’s what Mr. Yannetti was saying during those two

 7       colloquies on the Friday before and then on July 1.

 8               We’re not asking the jury to impeach a verdict.

 9       We’re not asking for an inquiry that would be prohibited.

10       I know the Federal Rule 606B, I think, state it might

11       be about the same way in terms of asking the jury for

12       their state of mind.       We’re asking the Court to conduct

13       a voir dire that Mr. Lally agreed with the done.                 If our

14       argument is 1 of the 12 jurors was biased, our argument

15       was well, we now have new evidence one the jurors read

16       an Internet.

17               We have evidence here that the jury acquitted Ms.

18       Read.    What could be more central to the core values

19       of our criminal justice system than to make a judicial

20       determination with a respected and experienced Superior

21       Court Judge whether that’s so or not, and if it’s so,

22       stop her re-prosecution, because that would be a horror

23       to make her convince 24 jurors of her innocence a second

24       trial when she’s already convinced the first trial.

25               Thank you, Judge.



     R. 374                             R.280
        Case 1:25-cv-10399-FDS    Document 2-1   Filed 02/18/25   Page 375 of 424
                                                                                    44
1              THE COURT:        Thank you.

2              Any response, Mr. Lally, or are you all set?

3              MR. LALLY:        No, thank you.

4              THE COURT:        Okay.   All right.     Thank you very much.

5        I’ll take this under advisement.

6              MR. WEINBERG:        Judge, I have the Nicoll case if

7        you want it.

8              THE COURT:        Sure.   Thank you.

 9       (Hearing Concluded at 3:04 p.m.)

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     R. 375                              R.281
   Case 1:25-cv-10399-FDS   Document 2-1   Filed 02/18/25   Page 376 of 424
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                               C E R T I F I C A T E


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                         COMMONWEALTH OF MASSACHUSETTS
                             SUPREME JUDICIAL COURT

Suffolk, ss.                                                                 No. SJ-2024-


                                         KAREN READ,
                                           Petitioner

                                                 v.

                         COMMONWEALTH OF MASSACHUSETTS,
                                   Respondent.


MOTION FOR LEAVE TO FILE TRANSCRIPT OF MAY 24, 2024 SEALED SIDEBAR
                           UNDER SEAL

       Now comes the Petitioner, Karen Read, by and through undersigned counsel, and hereby

respectfully requests leave to file the attached transcript of a May 24, 2024 sealed sidebar under

seal in this Court. As grounds and reasons for this request, Ms. Read states that the May 24,

2024 transcript is referenced in her Petition, and the transcript remains under seal in the Norfolk

County Superior Court.

       Wherefore, the Petitioner respectfully requests that this Court grant her leave to file the

May 24, 2024 transcript under seal.

                                                      Respectfully Submitted,
                                                      For the Petitioner,
                                                      Karen Read
                                                      By her attorney,


                                                      /s/ Martin G. Weinberg
                                                      Martin G. Weinberg, Esq.
                                                      BBO #519480
                                                      20 Park Plaza, Suite 1000
                                                      Boston, MA 02116
                                                      (617) 227-3700




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                                CERTIFICATE OF SERVICE

       I, Martin G. Weinberg, do hereby certify that on this day, September 11, 2024, I have
served a copy of this Motion and the attached transcript via email on Assistant District Attorney
Adam Lally.


                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg




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                      COMMONWEALTH OF MASSACHUSETTS
                  SUPREME JUDICIAL COURT FOR SUFFOLK COUNTY

SUFFOLK, ss.                                                SJC-2024-

                                                            Norfolk Superior Court
__________________________________________                  No. 2282CR00117
                                          )
                                          )
KAREN READ,                               )
                                          )
Petitioner                                )
                                          )
v.                                        )
                                          )
THE COMMONWEALTH OF                       )
MASSACHUSETTS,                            )
                                          )
Respondent                                )
                                          )
__________________________________________)

                   MOTION FOR PRO HAC VICE ADMISSION OF
                ALAN JACKSON IN THE SUPREME JUDICIAL COURT

       David R. Yannetti, of the Yannetti Criminal Defense Law Firm and a member in good

standing of the Massachusetts bar, hereby moves to admit pro hac vice Alan Jackson (“Attorney

Jackson”) in the Supreme Judicial Court so that he may associate as counsel of record for

Petitioner Karen Read in connection with the Petition for Relief Pursuant to G.L. c. 211, §3,

which was filed in this Court on September 11, 2024. Attorney Jackson seeks pro hac vice

admission in this Court on the following grounds:

       1.      Attorney Jackson is a Partner at the California law firm of Werksman Jackson &

Quinn LLP, 888 West Sixth Street, Fourth Floor, Los Angeles, CA 90017. His telephone number

is 213-688-0460. Attorney Jackson’s email address is ajackson@werksmanjackson.com. He is

admitted to practice law in the State of California, and his membership is in good standing. Mr.




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Jackson is admitted pro hac vice in Norfolk County Superior Court, and represents Defendant

Karen Read in connection with Norfolk Superior Court Docket No. 2282CR00117.

       2.      Defendant/Petitioner Karen Read herein requests that Mr. Jackson be associated

in as counsel of record for the c. 211 § 3 petition, which is currently pending before the Supreme

Judicial Court of Massachusetts.

       3.      Good cause exists to grant this motion because Attorney Jackson has institutional

knowledge regarding the facts of this case, and has specialized skills representing

Petitioner/Defendants in criminal appeals.

       4.      Should the Court grant this motion, I will act as co-counsel during the pendency

of this matter, along with attorneys Michael Pabian (BBO # 684589) and Martin Weinberg (BBO

# 519480).

       5.      In conjunction with this motion, counsel previously paid the Board of Bar

Overseers registration fees of $355 per attorney, as required by Supreme Judicial Court Rule

3:15. Attached hereto as Exhibit A is the Registration Statement for Attorney Jackson issued by

the Board of Bar Overseer in connection with Norfolk Superior Court Docket No.

2282CR00117.

       WHEREFORE, for good cause shown, David Yannetti respectfully requests that this

Motion for Admission Pro Hac Vice of Alan Jackson in the Supreme Judicial Court of

Massachusetts be granted.

//

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                                                  Respectfully Submitted,



                                                  _________________________________
                                                  David R. Yannetti
                                                  Yannetti Criminal Defense Law Firm
                                                  44 School Street
                                                  Suite 1000A
                                                  Boston, MA 02108
                                                  Tel: (617) 338-6006
                                                  Fax: (617) 451-2570
                                                  law@davidyannetti.com




                                    Certificate of Service

      I, David Yannetti, hereby certify that a copy of the above document was served on ADA
Adam C. Lally, Norfolk County District Attorney’s Office 45 Shawmut Road Canton, MA
02021 on September 11, 2024.



                                                  ______________________________
                                                  David Yannetti




                                              3

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                    COMMONWEALTH OF MASSACHUSETTS

NORFOLK, SS.                                        SUPREME JUDICIAL COURT
                                                        FOR SUFFOLK COUNTY

                            )
COMMONWEALTH,               )
      Respondent,           )
                            )
v.                          )              No. SJ-2024-0332
                            )
KAREN READ,                 )
      Defendant-Petitioner. )
                            )


                      PROPOSED BRIEFING SCHEDULE


     At a hearing held in this matter on September 12, 2024, the

Single Justice (Dewar, J.) indicated that she intends to reserve

and report this case, without decision, for determination by the

Supreme Judicial Court for the Commonwealth.            The Single Justice

directed the parties to submit a proposed schedule for briefing

to the full Court, with briefing to be completed by October 25

to allow for oral argument in November 2024.            The parties have

conferred and hereby submit the following agreed-upon, proposed

schedule:

     1.     Defendant’s principal brief due by September 25, 2024.

     2.     Commonwealth’s brief due by October 16, 2024.

     3.     Defendant’s reply brief due by October 25, 2024.




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     For scheduling purposes, the Commonwealth further notes

that its counsel will be out of State and unavailable to argue

on November 7 and 8.


Respectfully submitted for              Respectfully submitted for
Karen Read by her counsel,              the Commonwealth,

/s/ Martin G. Weinberg                  Michael W. Morrissey
Martin G. Weinberg                      District Attorney for the
BBO #519480                             Norfolk District
20 Park Plaza, Suite 1000
Boston, MA 02116                        /s/ Caleb J. Schillinger
(617) 227-3700                          Caleb J. Schillinger
                                        Assistant District Attorney
Michael Pabian                          BBO #676592
BBO #684589                             45 Shawmut Road
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(617) 227-3700

Alan J. Jackson
Admitted Pro Hac Vice
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(213) 688-0460

David R. Yannetti
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44 School Street, Suite 1000A
Boston, MA 02108
(617) 338-6006




Dated:   September 17, 2024




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                    COMMONWEALTH OF MASSACHUSETTS

NORFOLK, ss.                                       SUPREME JUDICIAL COURT
                                                     FOR THE COMMONWEALTH

                                                              No. SJC-13663

                              COMMONWEALTH,
                                       Appellee

                                   vs.

                               KAREN READ,
                                       Appellant


                      STATEMENT OF AGREED FACTS

     As directed by the Single Justice’s reservation and report

of this case to the full Court (No. SJ-2024-0332, Paper #10),

the parties hereby submit this statement of the following agreed

facts:

     On June 9, 2022, a Norfolk County grand jury indicted the

defendant, Karen Read, for murder in the second degree, G.L.

c. 265, § 1; manslaughter while operating a motor vehicle under

the influence of alcohol or having a blood alcohol concentration

of 0.08 percent or greater, G.L. c. 265, § 131/2; and leaving the

scene of personal injury resulting in death, G.L. c. 90,

§ 24(2)(a1/2)(2).

     A jury trial on the three indictments began on April 16,

2024, with the Honorable Beverly J. Cannone presiding.             On June

25, 2024, the thirty-seventh day of trial, the jury began their




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deliberations.    On July 1, 2024, the trial judge declared a

mistrial and discharged the jury.

     On July 8, 2024, the defendant moved to dismiss on double

jeopardy grounds the charges of second-degree murder and leaving

the scene.   The motion was accompanied by two affidavits from

her attorneys.    The Commonwealth filed a written opposition to

the motion, and the defendant filed a reply.           The defendant also

filed three supplemental memoranda in further support of her

motion to dismiss, each accompanied by an affidavit of counsel.

The Commonwealth filed a post-trial notice of disclosure.

     On August 9, 2024, the trial judge heard oral arguments on

the motion to dismiss.      In a written memorandum of decision and

order dated August 22, 2024, and entered the next day, the trial

judge denied the motion.

     The defendant’s retrial is currently scheduled to begin on

January 27, 2025.

     The parties may additionally rely on other facts reflected

in the record materials, including the transcripts of the trial

court proceedings.




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Respectfully submitted for              Respectfully submitted for
Karen Read by her counsel,              the Commonwealth,

/s/ Martin G. Weinberg                  Michael W. Morrissey
Martin G. Weinberg                      District Attorney for the
BBO #519480                             Norfolk District
20 Park Plaza, Suite 1000
Boston, MA 02116                        /s/ Caleb J. Schillinger
(617) 227-3700                          Caleb J. Schillinger
                                        Assistant District Attorney
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Dated:   September 23, 2024




                                    3

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                     COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, ss.                                    SUPREME JUDICIAL COURT
                                                FOR SUFFOLK COUNTY
                                                No. SJ-2024-0332

                                                Norfolk Superior Court
                                                No. 2282CR00117



                                 COMMONWEALTH

                                     vs.

                                  KAREN READ


                            RESERVATION AND REPORT

     This matter came before the court, Dewar, J., on a petition

for extraordinary relief, pursuant to G. L. c. 211, § 3.               Upon

consideration thereof, 1 I hereby reserve and report this case,

without decision, for determination by the Supreme Judicial Court

for the Commonwealth.       The parties shall prepare and file in the

full court a comprehensive statement of agreed facts necessary to

resolve the issues raised by the petition.           The statement shall be

prepared in time for inclusion in the parties' record appendix.


     1 At a scheduling conference held on September 12, 2024,
following this court's review of the petition as well as its
record appendix (containing, among other things, the relevant
papers filed by the Commonwealth before the Superior Court), the
court expressed its intention to reserve and report this matter to
the full court. The court also (a) requested that the parties
confer regarding a briefing schedule before the full court, and
(b) gave the Commonwealth until September 18, 2024, to file a
response to the petition in the county court, if any. The parties
jointly filed a proposed briefing schedule on September 17, 2024.



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     The record before the full court shall consist of the

following:

  (1)    all papers filed in SJ-2024-0332;

  (2)    the docket sheet for SJ-2024-0332;

  (3)    the parties' statement of agreed facts; and

  (4)    this court's reservation and report.

     This matter shall proceed in all respects in conformance with

the Massachusetts Rules of Appellate Procedure.              The defendant-

petitioner shall be designated the appellant, and the Commonwealth

shall be designated the appellee.          The defendant's principal brief

shall be filed no later than September 25, 2024.             The

Commonwealth's brief shall be filed no later than October 16,

2024.    The defendant's reply brief, if any, shall be filed no

later than October 25, 2024.      Enlargements of time should not be

anticipated.    Oral argument shall take place in November 2024, or

such other time as the full court may order.



                                           By the Court,

                                           /s/ Elizabeth N. Dewar
                                           Elizabeth N. Dewar
                                           Associate Justice


Entered:    September 19, 2024




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